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                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION

IN RE:                                                              Case No:      14-30153-HDH-13
Cheryl Lynn DeClouet                                                DATED:        1/13/2014
                                                                    Chapter:      13
Debtor(s)                                                           EIN:
Attorney Phone No:     (214) 810-5294                               Judge:


                               DEBTOR'S(S') CHAPTER 13 PLAN AND MOTION FOR VALUATION
                                                      SECTION I
                                 DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                               FORM REVISED 11-4-2012

This Plan contains non-standard provisions in Section IV (last page):       yes      no

A.   DEBTOR PAYMENTS           DEBTOR(S) PROPOSES TO PAY TO THE TRUSTEE THE SUM OF:

                               MONTHS 1 TO 60                      $200.00 PER MONTH

                               FOR A TOTAL OF         $12,000.00        ("BASE AMOUNT").                .

                               FIRST PAYMENT IS DUE                           .

                               THE ESTIMATED UNSECURED CREDITORS POOL IS
                                    $0.00          calculated as:      $0.00        (Disposable
                               income per § 1325(b)(2)) x      36 months      (Applicable
                               Commitment Period per § 1325(b)(4)), but not less than
                               Debtor's equity in non-exempt property:    $15,793.36
                               pursuant to § 1325(a)(4).
B.   ADMINISTRATIVE AND DSO CLAIMS:

     1.   CLERK'S FILING FEE: Total filing fees paid through the plan, if any, are         $0.00        and shall be paid in full
          prior to disbursements to any other creditor.

     2.   TRUSTEE FEES AND NOTICING FEES: Trustee fees and any noticing fees shall be paid first out of each disbursement
          and as provided in General Order 2010-01.

     3.   DOMESTIC SUPPORT OBLIGATIONS: Prior to discharge, Debtor will pay all post-petition Domestic Support Obligations
          (as defined in § 101(14A)) directly to the holder(s) of such obligation(s), unless payment through the Plan as hereinafter
          provided is agreed to in writing by the respective holder(s) of the claim(s) or their agent(s). Pre-petition Domestic
          Support Obligations per Schedule "E" shall be paid the following monthly payments:

                    DSO CLAIMANT(S)                          SCHEDULED AMOUNT(S)             TERM (APPROXIMATE)           TREATMENT

C.   ATTORNEY FEES: TO            Herrin & Wright, PLLC         , TOTAL:  $3,500.00   ;
         $600.00    PRE-PETITION;     $2,900.00     THROUGH TRUSTEE. PRE-CONFIRMATION PAYMENTS TO
     DEBTOR'S ATTORNEY WILL BE PER THE AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS. POST-
     CONFIRMATION PAYMENTS TO DEBTOR'S ATTORNEY WILL BE MADE FROM FUNDS REMAINING AFTER PAYMENT
     OF ADMINISTRATIVE AND DSO CLAIMS AS PROVIDED ABOVE ('B') AND EACH SPECIFIED MONTHLY PLAN PAYMENT
     TO SECURED CREDITORS ('D' AND/OR 'E' BELOW) BEFORE ANY PAYMENT TO PRIORITY CREDITORS ('H' BELOW)
     OR UNSECURED CREDITORS ('I' AND 'J' BELOW).

D.   HOME MORTGAGE ARREARAGE:

                MORTGAGEE                         SCHED.             DATE              %      TERM (APPROXIMATE)          TREATMENT
                                                 ARR. AMT       ARR. THROUGH
Seterus Inc                                         $6,000.00                        0.00%         Month(s) 17-53                   Pro-Rata
Wells Fargo Bank Nv Na                                $600.00                        0.00%         Month(s) 17-53                   Pro-Rata




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If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will be reinstated according to its original terms, extinguishing any right of the Mortgagee or its
assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1) SECURED CREDITORS--PAID BY THE TRUSTEE

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

E.(2)(a) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--NO CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

E.(2)(b) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

TO THE EXTENT THE VALUE AMOUNT IN E.(2)(b) IS LESS THAN THE SCHEDULED AMOUNT IN E.(2)(b), THE CREDITOR
SHALL HAVE THE OPTION OF REQUIRING THE DEBTOR TO SURRENDER THE COLLATERAL BY OBJECTING TO THE
PROPOSED TREATMENT.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN PARAGRAPH E.(2)(b) THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR(S) LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED THEIR RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

THE VALUATION OF COLLATERAL AND INTEREST RATE TO BE PAID ON THE ABOVE SCHEDULED CLAIMS IN E(1) AND
E(2)(a) AND (b) WILL BE FINALLY DETERMINED AT CONFIRMATION. THE CLAIM AMOUNT WILL BE DETERMINED
BASED ON A TIMELY FILED PROOF OF CLAIM AND THE TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS
("TRCC".)

EXCEPT FOR "VALUATION" AND "INTEREST RATE," CONFIRMATION HEREOF SHALL BE WITHOUT PREJUDICE TO THE
DEBTOR'S, THE TRUSTEE'S, OR ANY SECURED CREDITOR'S RIGHT TO A LATER DETERMINATION OF THE ALLOWED
AMOUNT OF ANY CREDITOR'S SECURED CLAIM. TO THE EXTENT SUCH CLAIM IS ALLOWED FOR AN AMOUNT
GREATER OR LESSER THAN THE "SCHEDULED AMOUNT" PROVIDED FOR ABOVE, AFTER THE TRCC IS FINAL,
DEBTOR WILL MODIFY THE PLAN TO FULLY PROVIDE FOR SUCH ALLOWED SECURED CLAIM.

F.   SECURED CREDITORS--COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL

The Automatic Stay will terminate as to Collateral listed in this paragraph F. upon filing hereof but nothing in this Plan shall be
deemed to abrogate any applicable non-bankruptcy law contract rights of the Debtor(s).

G. SECURED CREDITORS--PAID DIRECT BY DEBTOR

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL
Seterus Inc                                                               $116,032.00        $135,290.00
Homestead

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Us Bank Home Mortgage                                       $48,992.00          $75,000.00
2220 Bellaire
Wells Fargo Bank Nv Na                                      $25,431.00          $19,258.00
Homestead

H.   PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                              CREDITOR                            SCHED. AMT.    TERM (APPROXIMATE)   TREATMENT

I.   SPECIAL CLASS:

                             CREDITOR /                           SCHED. AMT.    TERM (APPROXIMATE)   TREATMENT
                            JUSTIFICATION

J.   UNSECURED CREDITORS

                       CREDITOR                  SCHED. AMT.                            COMMENT
Capital 1 Bank                                        $832.00
Chase                                                $6,070.00
Citibank Sd, Na                                      $4,771.00
Comenity Bank/vctrssec                                 $40.00
Escallate Llc                                         $781.00
GECRB / HH Gregg                                     $2,273.00
M.a.r.s.inc                                           $175.00
Victoria's Secret                                         $0.00
TOTAL SCHEDULED UNSECURED:                          $14,942.00
UNSECURED CREDITORS ARE NOT GUARANTEED A DIVIDEND WHEN A PLAN IS CONFIRMED, SEE GENERAL ORDER
2010-01. ALLOWED GENERAL UNSECURED CLAIMS MAY RECEIVE A PRO-RATA SHARE OF THE UNSECURED
CREDITORS' POOL, BUT NOT LESS THAN THE SECTION 1325(a)(4) AMOUNT SHOWN IN SECTION I "A" ABOVE LESS
ALLOWED ADMINISTRATIVE AND PRIORITY CLAIMS, AFTER THE TRCC BECOMES FINAL. A PROOF OF CLAIM MUST BE
TIMELY FILED TO BE ALLOWED.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                    § 365 PARTY             ASSUME/REJECT    CURE AMOUNT         TERM (APPROXIMATE)   TREATMENT

L.   CLAIMS TO BE PAID:
'TERM (APPROXIMATE)' SHOWN HEREIN GIVES THE ESTIMATED NUMBER OF MONTHS FROM THE PETITION DATE REQUIRED
TO FULLY PAY THE ALLOWED CLAIM. IF ADEQUATE PROTECTION PAYMENTS HAVE BEEN AUTHORIZED AND MADE, THEY
WILL BE APPLIED TO PRINCIPAL AS TO UNDER-SECURED CLAIMS AND ALLOCATED BETWEEN INTEREST AND PRINCIPAL
AS TO OVER-SECURED CLAIMS. PAYMENT PURSUANT TO THIS PLAN WILL ONLY BE MADE TO SECURED,
ADMINISTRATIVE, PRIORITY AND UNSECURED CLAIMS THAT HAVE BEEN ALLOWED OR THAT THE DEBTOR HAS
AUTHORIZED IN AN ADEQUATE PROTECTION AUTHORIZATION. GENERAL UNSECURED CLAIMS WILL NOT RECEIVE ANY
PAYMENT UNTIL AFTER THE TRCC BECOMES FINAL.

THE "SCHED. AMT." SHOWN IN THIS PLAN SHALL NOT DETERMINE THE "ALLOWED AMOUNT" OF ANY CLAIM.


M. ADDITIONAL PLAN PROVISIONS:

SEE SECTION IV ON LAST PAGE FOR ADDITIONAL PLAN PROVISIONS, IF ANY.




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                                                       SECTION II
                                   DEBTOR'S(S') CHAPTER 13 PLAN--GENERAL PROVISIONS
                                                 FORM REVISED 11-4-2012

A.   SUBMISSION OF DISPOSABLE INCOME

Debtor(s) hereby submits such portion of future earnings or other future income as herein provided to the supervision and
control of the Trustee as necessary for the execution of the Plan as herein provided.

Debtor proposes to PAY TO THE TRUSTEE the Base Amount indicated in Section I, Part "A" hereof. If applicable, cause exists
for payment over a period of more than three (3) years.

If the Plan does not pay 100% to all creditors, the Base Amount shall not be less than the sum of the allowed administrative
expenses plus the allowed priority and secured claims (with interest if applicable) plus the greater of the unsecured creditors'
pool, or the 11 USC 1325(a)(4) amount (Best Interest Test).
Payment of any claim against the Debtor may be made from the property of the estate or property of the Debtor(s), as herein
provided.

B.   ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY FEES AND NOTICING FEES
The Administrative Expenses of the Trustee shall be paid in full pursuant to 11 U.S.C. Sec 105(a), 503(b), 1326(b)(2), and 28
U.S.C. Sec 586(e)(1)(B). The Trustee's Fees & Expenses, not to exceed ten percent (10%) allowed pursuant to 28 U.S.C. Sec
586(e)(1)(B), shall be deducted from each payment. Additionally, the Trustee is authorized to charge and collect Noticing Fees
as indicated in Section I, Part "B" hereof, pursuant to local rule. No Trustee fee will be collected on Noticing Fees.

Debtor will pay in full all Domestic Support Obligations that are due before discharge, including section 507(a)(1) Priority claims
due before the petition was filed, but only to the extent provided for in this Plan.

C.   ATTORNEY FEES
Debtor's(s') Attorney Fees totaling the amount indicated in Section I Part "C", shall be paid by the Trustee in the amount shown
as "through Trustee", pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection Disbursements.

D.   PRINCIPAL RESIDENCE ARREARAGES (HOME MORTGAGE)

Arrearage on claims secured only by a security interest in the Debtor's(s') principal residence shall be paid by the Trustee in the
allowed pre-petition arrearage amount, and at the Annual Percentage rate of interest indicated in Section I, Part "D" herein. To
the extent interest is provided, interest will be calculated from the date of the Petition. The principal balance owing upon
confirmation of the Plan on the allowed pre-petition arrearage amount shall be reduced by the total of adequate protection paid
less any interest (if applicable) made to the respective creditor by the Trustee. Unless otherwise provided, post-petition
payments may be paid "Direct" by Debtor(s), beginning with the first payment due after the 'ARR. THROUGH' date in Section I,
Part "D". Such creditors shall retain their liens. To the extent an arrearage claim is allowed in an amount in excess of the
Sched. Arr. Amt., the Debtor will promptly Modify the Plan to provide for full payment of the allowed amount, or for surrender of the
collateral, at Debtor's election. If Debtor elects to surrender the collateral, the creditor may retain all pre-surrender payments
received pursuant hereto.

If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will thereupon be reinstated according to its original terms, extinguishing any right of the
Mortgagee or its assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE

The claims listed in Section I, Part "E(1)" shall be paid by the Trustee as "SECURED" to the extent of the lesser of the Claim
Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral, which will
be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as unsecured
as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the collateral
described in Section I, Part "E(1)" until the earlier of the payment of the underlying debt determined under non-bankruptcy law or
discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the date of confirmation
hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the amount by which the claim
is over-secured. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by
the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.




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E.(2)(a) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN
Claims in Section I, Part "E(2)(a)" are either debts incurred within 910 days of the Petition date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor or debts incurred within one year of the petition
date secured by any other thing of value.

The claims listed in Section I, Part "E(2)(a)" shall be paid by the Trustee as "SECURED" to the extent of the "ALLOWED
AMOUNT" (per timely filed Proof of Claim not objected to by a party in interest.) Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(a)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of the Petition. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced
by the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.

E.(2)(b) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--CRAM DOWN

The claims listed in Section I, Part "E(2)(b)" shall be paid by the Trustee as "SECURED" to the extent of the LESSER OF the
Claim Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral,
which will be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as
unsecured as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(b)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of confirmation hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the
amount by which the claim is over-secured.

IF THE "VALUE" SHOWN IN "E(2)(b)" ABOVE IS LESS THAN THE "SCHED. AMT." SHOWN, THE "ALLOWED AMOUNT" OF
THE SECURED PORTION OF THE CLAIM SHALL NOT EXCEED THE "VALUE" DETERMINED AT CONFIRMATION.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN THIS PARAGRAPH, THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED ITS RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

To the extent a secured claim NOT provided for in Section I Part "D", "E(1)" or "E(2)" is allowed by the Court, Debtor(s) will pay the
claim 'DIRECT' per the contract.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL
The claims listed in Section I, Part "F" shall be satisfied as 'SECURED' to the extent of the VALUE of the collateral, as shown, by
SURRENDER of the collateral by the Debtor(s) on or before Confirmation. Any amount claimed in excess of the value of the
collateral as shown, to the extent it is allowed, shall be automatically "split" and treated as indicated in Section I, Part "H" or "J"
per 11 U.S.C. Sec 506(a).

Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S)
All secured claims listed in Section I, Part "G" shall be paid 'DIRECT' by the Debtor(s) in accordance with the terms of their
agreement, unless otherwise provided in Section IV.

Each secured claim shall constitute a separate class.




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H.   PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS
All allowed claims (i.e., those for which a Proof of Claim is timely filed and not objected to by a party in interest) entitled to priority
under Section 507(a) of the Bankruptcy Code, other than Section 507(a)(1) Domestic Support Obligations, will be paid in full
(except as provided in Section 1322(a)(4)) in deferred installments, unless the holder of such claim agrees to a different
treatment of such claim. Failure to object to confirmation of this Plan shall not be deemed "acceptance" of the "SCHED AMT."
shown in Section I Part "H" hereof. The claims listed in Section I, Part "H" shall be paid their allowed amount by the Trustee in
full as Priority without interest at the monthly amount indicated or pro rata.

Priority claims for taxes are unsecured and shall not accrue interest or penalty subsequent to the filing, and such interest or
penalty as might otherwise accrue thereafter shall be discharged upon completion of the Plan.

I.   CLASSIFIED UNSECURED CLAIMS

Classified unsecured claims shall be treated as allowed by the Court.
J.   GENERAL UNSECURED CLAIMS TIMELY FILED

All other claims not otherwise provided for herein shall be designated general unsecured claims. Payments, if any, to general
unsecured claims will be on a pro rata basis. All allowed general unsecured claims shall be paid in an amount under the Plan
which is not less than the amount that would be paid on such claims if the estate of the Debtor(s) were liquidated under
Chapter 7 of the Bankruptcy Code on the date of filing of the Petition herein.

Any delinquencies under the Plan on allowed secured claims, allowed priority claims and allowed classified unsecured claims
must be brought current before any payments are made on general unsecured claims.

General unsecured claims may be paid concurrently with secured, priority and classified unsecured claims so long as each
secured, priority, and classified unsecured creditor is receiving not less than its monthly installment as provided herein. If the
indicated monthly amount is insufficient to fully pay the monthly payment provided for such allowed secured, priority or classified
unsecured claim(s) respectively, the Trustee shall pay in the following order: each classification of such allowed secured
claim(s), priority claim(s) and classified unsecured claim(s) pro rata until all such payments within each subclass are current,
prior to any other payments to allowed general unsecured claims.

General unsecured claims totaling the amount indicated in Section I Part "J", shall be paid by the Trustee, a PRO RATA share of
the unsecured creditors' pool estimated in Section I, Part "A" but not less than the amount indicated pursuant to
Section 1325(a)(4) less allowed administrative and priority claims, or the estimated % (if any) shown above.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

As provided in Section 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assumes or rejects the executory contracts or unexpired
leases with the parties so indicated in Section I, Part "K".

Assumed lease and executory contract arrearage amounts shall be paid by the Trustee as indicated in Section I Part "K".

L.   CLAIMS TO BE PAID

See Section I, Part "L" of the Plan.

M. ADDITIONAL PLAN PROVISIONS
The provisions set forth in Section IV are additional Plan provisions not otherwise referred to herein.

N.   POST-PETITION CLAIMS

Claims filed under Section 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor will modify
this Plan.

O. LATE FILED CLAIMS AND CLAIMS NOT FILED
Late filed unsecured claims on pre-petition debt shall be paid pro rata, only after all other timely filed unsecured claims are paid
in full. Such payment shall be before any payment on pre-petition non-pecuniary penalties. Late filed claims on priority pre-
petition claims shall be paid in full before any payment on late filed general unsecured pre-petition claims. Late filed secured
claims shall be paid in full before any payment on late filed priority claims.

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.


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P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR PUNITIVE
     DAMAGES

Any unsecured claim for non-pecuniary penalty, fines, forfeitures, multiple, exemplary or punitive damages, expressly including
IRS penalty to date of petition on unsecured and/or priority claims, shall be paid only a pro rata share of any funds remaining
after all other unsecured claims including late filed claims, shall have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R.   BUSINESS CASE OPERATING REPORTS
Upon confirmation, business debtors are no longer required to file operating reports with the Trustee, unless the Trustee
requests otherwise. However, a final operating report through the date of confirmation is required if operating reports were
previously required. Confirmation hereof shall terminate the Trustee's duties to investigate or monitor the debtor's business
affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRECONFIRMATION OPERATIONS

The Trustee shall not be liable for any claim arising from the post-confirmation operation of Debtor's business. Any claims
against the Trustee arising from the pre-confirmation operation of the Debtor's business must be filed with the Bankruptcy Court
within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation hereof, or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY AND TRUSTEE PAYMENTS UPON POST CONFIRMATION
     CONVERSION OR DISMISSAL

Debtor shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior to
discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Upon conversion or dismissal of the case post confirmation, the Trustee shall disburse all funds on hand in accordance with
this Plan.

U.   ORDER OF PAYMENT

All claims shown in Section I, will be paid in the following order from each disbursement, to the extent allowed:
     1st --    Administrative Fees and DSO claims in "B"
     2nd --    Assumed lease and executory contract arrearage claims in "K"
     3rd --    Specified monthly dollar amounts to secured claims in "D", "E(1)", and "E(2)"
     4th --    Pro-rata among attorney fees in "C"
     5th --    Pro-rata among secured claims in "D", "E(1)" and "E(2)"
     6th --    Specified monthly dollar amounts to priority claims in "H"
     7th --    Pro-rata among priority claims in "H"
     8th --    Specified monthly dollar amounts to special class claims in "I"
     9th --    Pro-rata among special class claims in "I"
     10th --   Pro-rata among claims in "J" other than late filed and penalty claims
     11th --   Pro-rata among late filed priority claims in "H"
     12th --   Pro-rata among late filed general unsecured claims in "J"
     13th --   Pro-rata among penalty claims in "J".




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Case No:     14-30153-HDH-13
Debtor(s):   Cheryl Lynn DeClouet


V.   TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE
Pursuant to General Order 2010-01, Paragraph 8, as soon as practicable after the governmental claims bar date, the Trustee
shall prepare and serve on Debtor's counsel, all creditors who were scheduled, all creditors who filed claims and any party that
has filed a Notice of Appearance, a Trustee's Recommendation Concerning Claims ("TRCC") and Notice of Hearing and Pre-
Hearing Conference thereon. The TRCC may be deemed in part to be an Objection to Claims. Objections to the TRCC shall be
filed within thirty (30) days from the date of service of the TRCC. Unless an objection is timely filed as to the treatment of any
claim, the claim will be allowed or approved only as described in the TRCC, and such treatment will be binding on all parties
without further order of the court. All unresolved objections to the TRCC shall be deemed waived if not timely filed or if the
proponent of any such objection fails to attend the Trustee's Pre-Hearing Conference or give the Trustee prior written notice that
a hearing is necessary. To the extent secured and/or priority claims being paid through the Plan by the Trustee are allowed for
amounts in excess of the amounts provided for in this Plan, the Debtor(s) will promptly modify the Plan to provide for full payment
of the allowed amount. After the TRCC becomes final, should the Plan then become infeasible and/or "insufficient", the Trustee
shall be permitted to move the Court to dismiss the case for such reason.


                                                          SECTION III
                                                     MOTION FOR VALUATION
Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. Sec 506(a) and § 1325(a)(5) and for purposes of determination of
the amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby moves the Court to
value the collateral described in Section I, Part "E" and Part "F", as the LESSER of the value set forth therein, or any value
claimed on the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's
pre-hearing conference regarding Confirmation, or be deemed waived.




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Case No:     14-30153-HDH-13
Debtor(s):   Cheryl Lynn DeClouet


                                                  SECTION IV
                                          ADDITIONAL PLAN PROVISIONS
Additional (non-standard) Plan provisions, if any, CAPITALIZED, BOLD AND UNDERSCORED ARE AS FOLLOWS:
None.
Respectfully submitted,                                Case No.: 14-30153-HDH-13

/s/ C. Daniel Herrin
C. Daniel Herrin, Debtor's(s') Attorney

24065409
State Bar Number




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Herrin & Wright, PLLC
4925 Greenville Avenue
Suite 200
Dallas, TX 75206

Bar Number: 24065409
Phone: (214) 810-5294
                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF TEXAS
                                                                  DALLAS DIVISION
                                                                            Revised 11-1-05

IN RE:                                                                               §
Cheryl Lynn DeClouet                                                                 §       CASE NO: 14-30153-HDH-13
                                                                                     §
                                                                                     §
Debtor(s)
                                                                                     §


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                                            1/13/2014
                                                                                                                        DATED:________________.
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed in
accordance with General Order 2005-05, as indicated below:

 Periodic Payment Amount                                                                                                                                  $200.00

 Disbursements                                                                                                        First (1)                 Second (2) (Other)
 Account Balance Reserve                                                                                                 $5.00                              $0.00
 Trustee Fee                                                                                                           $19.50                              $20.00

 Filing Fee                                                                                                              $0.00                              $0.00
 Noticing Fee                                                                                                          $16.80                               $0.00
 Subtotal Expenses/Fees                                                                                                $41.30                              $20.00
 Available for Adequate Protection, Attorney Fees and Undisputed
 Priority Claims:                                                                                                     $158.70                             $180.00


SECURED CREDITORS:
                                                                                                                                   Adequate              Adequate
                                                                                             Scheduled             Value of        Protection           Protection
 Name                                          Collateral                                      Amount             Collateral      Percentage       Payment Amount

                                                            Total Adequate Protection Payments for Secured Creditors:                                       $0.00

SPECIAL CLASS CREDITORS:
                                                                                                                                   Adequate              Adequate
                                                                                             Scheduled             Value of        Protection           Protection
 Name                                          Collateral                                      Amount             Collateral      Percentage       Payment Amount

                                                      Total Adequate Protection Payments for Special Class Creditors:                                       $0.00

                                                                                         Total Adequate Protection Payments:                                $0.00

                                                            Funds Available For Debtor's Attorney First Disbursement:                                     $158.70
                                                         Funds Available For Debtor's Attorney Future Disbursements:                                      $180.00

                                                             Available For Secured Creditors as Authorized by the Plan:                                 $180.00**




** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas - (210) 561-5300.
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  (H) Cheryl Lynn DeClouet                  AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                   Page 2
 (W)
(C#) 14-30153-HDH-13




DATED:________________________
        1/16/2014

  /s/ C. Daniel Herrin
Attorney for Debtor(s)                                                                     Trustee, Attorney for Trustee or Trustee's Representative




** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
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                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

  IN RE: Cheryl Lynn DeClouet                                                  CASE NO.    14-30153-HDH-13
                                    Debtor


                                                                              CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


    I, the undersigned, hereby certify that on January 20, 2014, a copy of the attached Chapter 13 Plan, with any
attachments, was served on each party in interest listed below, by placing each copy in an envelope properly addressed,
postage fully prepaid in compliance with Local Rule 9013 (g).



                                 /s/ C. Daniel Herrin
                                 C. Daniel Herrin
                                 Bar ID:24065409
                                 Herrin & Wright, PLLC
                                 4925 Greenville Avenue
                                 Suite 200
                                 Dallas, TX 75206
                                 (214) 810-5294



Attorney General of Texas                    Cheryl Lynn DeClouet                      GECRB / HH Gregg
Collections Div Bankruptcy Sec               1328 Clearwater Drive                     xxxxxxxxxxxx8290
P.O. Box 12548                               Grand Prairie, TX 75052                   Attn: Bankruptcy
Austin, TX 78711-2548                                                                  PO Box 103104
                                                                                       Roswell, GA 30076


Bank of America                              Citibank Sd, Na                           Internal Revenue Service
xxxx8865                                     xxxxxxxxxxxx8740                          Department of the Treasury
Attn: Correspondence Unit/CA6-919-02-        Attn: Centralized Bankruptcy              P.O. Box 7346
41                                           PO Box 20363                              Philadelphia, PA 19101-7
PO Box 5170                                  Kansas City, MO 64195
Simi Valley, CA 93062

Capital 1 Bank                               Comenity Bank/vctrssec                    Linebarger Goggan Blair & Sampson,
xxxxxxxxxxxx6491                             xxxxx5407                                 LLP
Attn: Bankruptcy Dept.                                                                 2323 Bryan Street, Ste 1600
PO Box 30285                                                                           Dallas, Texas 75201
Salt Lake City, UT 84130


Chase                                        Escallate Llc                             M.a.r.s.inc
xxxxxxxxxxxx8834                             xxxx2565                                  xxx1744
Po Box 15298                                 5200 Stoneham Rd                          5810 E Skelly Dr
Wilmington, DE 19850                         North Canton, OH 44720                    Tulsa, OK 74135
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                                               DALLAS DIVISION

  IN RE: Cheryl Lynn DeClouet                                                 CASE NO.   14-30153-HDH-13
                                    Debtor


                                                                              CHAPTER    13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE
                                                    (Continuation Sheet #1)

Marinosci Law Group                          Victoria's Secret
xx-xx963-1                                   xxxxx7344
14643 Dallas Parkway, Suite 750              Attention: Bankruptcy
Dallas, TX 75254                             PO Box 182125
                                             Columbus, OH 43218


Seterus Inc                                  Wells Fargo Bank Nv Na
xxx5223                                      xxxxxxxxxxxxx0001
14523 Sw Millikan Way St                     Attn: Deposits Bankruptcy MAC#
Beaverton, OR 97005                          P6103-05K
                                             PO Box 3908
                                             Portland, OR 97208

Seterus Inc                                  Wells Fargo Bank Nv Na
14523 Sw Millikan Way St                     Attn: Deposits Bankruptcy MAC#
Beaverton, OR 97005                          P6103-05K
                                             PO Box 3908
                                             Portland, OR 97208


TEXAS COMPTROLLER OF PUBLIC
ACCOUNTS
REVENUE ACCOUNTING DIV -
BANKRUPTCY SECT
P.O. Box 13528
Austin, TX 78711-3528

TEXAS EMPLOYMENT COMMISSION
TEC BUILDING - BANKRUPTCY
101 E. 15th Street
Austin, TX 78778-0001



United States Trustee
1100 Commerce Street
Room 976
Dallas, Texas 75242-1496



Us Bank Home Mortgage
xxxxxxxxx6043
4801 Frederica St
Owensboro, KY 42301
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  BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP                              BDFTE# 00000004317111
  15000 SURVEYOR BLVD SUITE 100
  ADDISON, TX 75001
  (972) 341-0500

  Attorney for FEDERAL NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”), CREDITOR C/O
  SETERUS, INC. ITS ASSIGNS AND/OR SUCCESSORS IN INTEREST


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 IN RE:                                             § CASE NO. 14-30153-HDH-13
                                                    §
 CHERYL LYNN DECLOUET,                              §
    Debtor                                          § CHAPTER 13


           NOTICE OF APPEARANCE AND REQUEST FOR DUPLICATE
       NOTICE COMBINED WITH REQUEST FOR ALL COPIES PURSUANT TO
          BANKRUPTCY RULE 2002(a), (b) AND PLEADINGS PURSUANT
                  TO BANKRUPTCY RULES 3017(a) AND 9007

          Comes now BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP pursuant to

  Bankruptcy Rules 9010 (b), 2002 (a), (b), 3017 (a), 9007, and files this Notice of Appearance

  and Demand for Service of Papers as Counsel for FEDERAL NATIONAL MORTGAGE

  ASSOCIATION (“FANNIE MAE”), CREDITOR C/O SETERUS, INC. ITS ASSIGNS

  AND/OR SUCCESSORS IN INTEREST, party in interest in the captioned proceedings.

          Request is hereby made that all notices given or required to be given in this case and in

  any cases consolidated herewith, and all papers served or required to be served in this case and

  in any cases consolidated herewith, be given to and served upon the undersigned attorneys at

  the address and telephone number as follows:

                   BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
                           15000 SURVEYOR BLVD SUITE 100
                                  ADDISON, TX 75001
                                    (972) 341-0500



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          This request encompasses all notices and pleadings including, without limitation,

  notices of any orders, motions, pleadings or requests, formal or informal applications,

  disclosure statement or plan of reorganization or any other documents brought before this

  Court in this case.

              This Notice of Appearance shall not be construed as authorization to serve counsel

  for FEDERAL NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”), CREDITOR

  C/O SETERUS, INC. ITS ASSIGNS AND/OR SUCCESSORS IN INTEREST with any

  summons and complaint or any service of process under Bankruptcy Rule 7001, et. seg. The

  undersigned firm will not accept service of process in any adversary case for FEDERAL

  NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”), CREDITOR C/O

  SETERUS, INC. ITS ASSIGNS AND/OR SUCCESSORS IN INTEREST.

          BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP, additionally requests that

  the Debtor and the Clerk of the Court place the name and address of the undersigned attorney

  on any mailing matrix to be prepared or existing in the above-numbered case, and on any list

  of creditors to be prepared or existing in the above-numbered bankruptcy case.


                                          BARRETT DAFFIN FRAPPIER
                                          TURNER & ENGEL, LLP


                                    BY: /s/ STEVE TURNER                           4/2/2014
                                        STEVE TURNER
                                        TX NO. 20341700
                                        15000 SURVEYOR BLVD SUITE 100
                                        ADDISON, TX 75001
                                        Telephone: (972) 341-0500
                                        Facsimile: (972) 341-0502
                                        E-mail: NDECF@BDFGROUP.COM
                                        ATTORNEY FOR CLAIMANT




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on April 02, 2014, a true and correct copy of the Notice of Appearance

 and Request for Duplicate Notice was served via electronic means as listed on the Court's ECF

 noticing system or by regular first class mail to the parties listed on the attatched list.



                                            Respectfully submitted,

                                            BARRETT DAFFIN FRAPPIER
                                            TURNER & ENGEL, LLP


                                            BY: /s/ STEVE TURNER                               4/2/2014
                                                STEVE TURNER
                                                TX NO. 20341700
                                                15000 SURVEYOR BLVD SUITE 100
                                                ADDISON, TX 75001
                                                Telephone: (972) 341-0500
                                                Facsimile: (972) 341-0502
                                                E-mail: NDECF@BDFGROUP.COM
                                                ATTORNEY FOR CLAIMANT




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 BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

 DEBTOR:
 CHERYL LYNN DECLOUET
 1328 CLEARWATER DRIVE
 GRAND PRAIRIE, TX 75052

 DEBTOR'S ATTORNEY:
 C. DANIEL HERRIN
 4925 GREENVILLE AVE
 SUITE 200
 DALLAS, TX 75206

 TRUSTEE:
 THOMAS D. POWERS
 125 E. JOHN CARPENTER FRWY.
 SUITE 1100
 IRVING, TX 75062-2288




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                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION

IN RE:                                                               Case No:     14-30153-HDH-13
Cheryl Lynn DeClouet, xxx-xx-1883                                    DATED:       4/15/2014
1328 Clearwater Drive                                                Chapter:     13
Grand Prairie, TX 75052                                              EIN:
Attorney Phone No:     (214) 810-5294                                Judge:




                               DEBTOR'S(S') CHAPTER 13 PLAN AND MOTION FOR VALUATION
                                                      SECTION I
                                 DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                               FORM REVISED 11-4-2012

This Plan contains non-standard provisions in Section IV (last page):       yes      no

A.   DEBTOR PAYMENTS           DEBTOR(S) PROPOSES TO PAY TO THE TRUSTEE THE SUM OF:

                               MONTHS 1 TO 12                      $200.00 PER MONTH
                               MONTHS 13 TO 60                     $425.00 PER MONTH

                               FOR A TOTAL OF         $22,800.00        ("BASE AMOUNT").                .

                               FIRST PAYMENT IS DUE             2/5/2014      .

                               THE ESTIMATED UNSECURED CREDITORS POOL IS
                                    $0.00          calculated as:      $0.00        (Disposable
                               income per § 1325(b)(2)) x      36 months      (Applicable
                               Commitment Period per § 1325(b)(4)), but not less than
                               Debtor's equity in non-exempt property:    $10,793.36
                               pursuant to § 1325(a)(4).

B.   ADMINISTRATIVE AND DSO CLAIMS:

     1.   CLERK'S FILING FEE: Total filing fees paid through the plan, if any, are         $0.00        and shall be paid in full
          prior to disbursements to any other creditor.

     2.   TRUSTEE FEES AND NOTICING FEES: Trustee fees and any noticing fees shall be paid first out of each disbursement
          and as provided in General Order 2010-01.

     3.   DOMESTIC SUPPORT OBLIGATIONS: Prior to discharge, Debtor will pay all post-petition Domestic Support Obligations
          (as defined in § 101(14A)) directly to the holder(s) of such obligation(s), unless payment through the Plan as hereinafter
          provided is agreed to in writing by the respective holder(s) of the claim(s) or their agent(s). Pre-petition Domestic
          Support Obligations per Schedule "E" shall be paid the following monthly payments:

                    DSO CLAIMANT(S)                          SCHEDULED AMOUNT(S)             TERM (APPROXIMATE)           TREATMENT

C.   ATTORNEY FEES: TO            Herrin & Wright, PLLC         , TOTAL:  $3,500.00   ;
         $600.00    PRE-PETITION;     $2,900.00     THROUGH TRUSTEE. PRE-CONFIRMATION PAYMENTS TO
     DEBTOR'S ATTORNEY WILL BE PER THE AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS. POST-
     CONFIRMATION PAYMENTS TO DEBTOR'S ATTORNEY WILL BE MADE FROM FUNDS REMAINING AFTER PAYMENT
     OF ADMINISTRATIVE AND DSO CLAIMS AS PROVIDED ABOVE ('B') AND EACH SPECIFIED MONTHLY PLAN PAYMENT
     TO SECURED CREDITORS ('D' AND/OR 'E' BELOW) BEFORE ANY PAYMENT TO PRIORITY CREDITORS ('H' BELOW)
     OR UNSECURED CREDITORS ('I' AND 'J' BELOW).

D.   HOME MORTGAGE ARREARAGE:

                MORTGAGEE                         SCHED.              DATE             %      TERM (APPROXIMATE)          TREATMENT
                                                 ARR. AMT        ARR. THROUGH
Seterus Inc                                         $6,000.00                        0.00%         Month(s) 1-32                    Pro-Rata
Wells Fargo Bank Nv Na                                $600.00                        0.00%         Month(s) 1-32                    Pro-Rata


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Debtor(s):   Cheryl Lynn DeClouet



If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will be reinstated according to its original terms, extinguishing any right of the Mortgagee or its
assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1) SECURED CREDITORS--PAID BY THE TRUSTEE

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

E.(2)(a) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--NO CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

E.(2)(b) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

TO THE EXTENT THE VALUE AMOUNT IN E.(2)(b) IS LESS THAN THE SCHEDULED AMOUNT IN E.(2)(b), THE CREDITOR
SHALL HAVE THE OPTION OF REQUIRING THE DEBTOR TO SURRENDER THE COLLATERAL BY OBJECTING TO THE
PROPOSED TREATMENT.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN PARAGRAPH E.(2)(b) THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR(S) LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED THEIR RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

THE VALUATION OF COLLATERAL AND INTEREST RATE TO BE PAID ON THE ABOVE SCHEDULED CLAIMS IN E(1) AND
E(2)(a) AND (b) WILL BE FINALLY DETERMINED AT CONFIRMATION. THE CLAIM AMOUNT WILL BE DETERMINED
BASED ON A TIMELY FILED PROOF OF CLAIM AND THE TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS
("TRCC".)

EXCEPT FOR "VALUATION" AND "INTEREST RATE," CONFIRMATION HEREOF SHALL BE WITHOUT PREJUDICE TO THE
DEBTOR'S, THE TRUSTEE'S, OR ANY SECURED CREDITOR'S RIGHT TO A LATER DETERMINATION OF THE ALLOWED
AMOUNT OF ANY CREDITOR'S SECURED CLAIM. TO THE EXTENT SUCH CLAIM IS ALLOWED FOR AN AMOUNT
GREATER OR LESSER THAN THE "SCHEDULED AMOUNT" PROVIDED FOR ABOVE, AFTER THE TRCC IS FINAL,
DEBTOR WILL MODIFY THE PLAN TO FULLY PROVIDE FOR SUCH ALLOWED SECURED CLAIM.

F.   SECURED CREDITORS--COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL

The Automatic Stay will terminate as to Collateral listed in this paragraph F. upon filing hereof but nothing in this Plan shall be
deemed to abrogate any applicable non-bankruptcy law contract rights of the Debtor(s).
G. SECURED CREDITORS--PAID DIRECT BY DEBTOR

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL
Seterus Inc                                                               $116,032.00        $135,290.00
Homestead


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Us Bank Home Mortgage                                           $48,992.00          $70,000.00
2220 Bellaire
Wells Fargo Bank Nv Na                                          $25,431.00          $19,258.00
Homestead

H.   PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                              CREDITOR                                SCHED. AMT.    TERM (APPROXIMATE)   TREATMENT

I.   SPECIAL CLASS:

                             CREDITOR /                               SCHED. AMT.    TERM (APPROXIMATE)   TREATMENT
                            JUSTIFICATION

J.   UNSECURED CREDITORS

                       CREDITOR                     SCHED. AMT.                             COMMENT
Capital 1 Bank                                            $832.00
Chase                                                   $6,070.00
Citibank Sd, Na                                         $4,771.00
Comenity Bank/vctrssec                                     $40.00
Escallate Llc                                             $781.00
GECRB / HH Gregg                                        $2,273.00
M.a.r.s.inc                                               $175.00
Victoria's Secret                                             $0.00
TOTAL SCHEDULED UNSECURED:                             $14,942.00

UNSECURED CREDITORS ARE NOT GUARANTEED A DIVIDEND WHEN A PLAN IS CONFIRMED, SEE GENERAL ORDER
2010-01. ALLOWED GENERAL UNSECURED CLAIMS MAY RECEIVE A PRO-RATA SHARE OF THE UNSECURED
CREDITORS' POOL, BUT NOT LESS THAN THE SECTION 1325(a)(4) AMOUNT SHOWN IN SECTION I "A" ABOVE LESS
ALLOWED ADMINISTRATIVE AND PRIORITY CLAIMS, AFTER THE TRCC BECOMES FINAL. A PROOF OF CLAIM MUST BE
TIMELY FILED TO BE ALLOWED.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                    § 365 PARTY             ASSUME/REJECT        CURE AMOUNT         TERM (APPROXIMATE)   TREATMENT

L.   CLAIMS TO BE PAID:

'TERM (APPROXIMATE)' SHOWN HEREIN GIVES THE ESTIMATED NUMBER OF MONTHS FROM THE PETITION DATE REQUIRED
TO FULLY PAY THE ALLOWED CLAIM. IF ADEQUATE PROTECTION PAYMENTS HAVE BEEN AUTHORIZED AND MADE, THEY
WILL BE APPLIED TO PRINCIPAL AS TO UNDER-SECURED CLAIMS AND ALLOCATED BETWEEN INTEREST AND PRINCIPAL
AS TO OVER-SECURED CLAIMS. PAYMENT PURSUANT TO THIS PLAN WILL ONLY BE MADE TO SECURED,
ADMINISTRATIVE, PRIORITY AND UNSECURED CLAIMS THAT HAVE BEEN ALLOWED OR THAT THE DEBTOR HAS
AUTHORIZED IN AN ADEQUATE PROTECTION AUTHORIZATION. GENERAL UNSECURED CLAIMS WILL NOT RECEIVE ANY
PAYMENT UNTIL AFTER THE TRCC BECOMES FINAL.

THE "SCHED. AMT." SHOWN IN THIS PLAN SHALL NOT DETERMINE THE "ALLOWED AMOUNT" OF ANY CLAIM.


M. ADDITIONAL PLAN PROVISIONS:
SEE SECTION IV ON LAST PAGE FOR ADDITIONAL PLAN PROVISIONS, IF ANY.




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                                                       SECTION II
                                   DEBTOR'S(S') CHAPTER 13 PLAN--GENERAL PROVISIONS
                                                 FORM REVISED 11-4-2012

A.   SUBMISSION OF DISPOSABLE INCOME

Debtor(s) hereby submits such portion of future earnings or other future income as herein provided to the supervision and
control of the Trustee as necessary for the execution of the Plan as herein provided.

Debtor proposes to PAY TO THE TRUSTEE the Base Amount indicated in Section I, Part "A" hereof. If applicable, cause exists
for payment over a period of more than three (3) years.

If the Plan does not pay 100% to all creditors, the Base Amount shall not be less than the sum of the allowed administrative
expenses plus the allowed priority and secured claims (with interest if applicable) plus the greater of the unsecured creditors'
pool, or the 11 USC 1325(a)(4) amount (Best Interest Test).
Payment of any claim against the Debtor may be made from the property of the estate or property of the Debtor(s), as herein
provided.

B.   ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY FEES AND NOTICING FEES

The Administrative Expenses of the Trustee shall be paid in full pursuant to 11 U.S.C. Sec 105(a), 503(b), 1326(b)(2), and 28
U.S.C. Sec 586(e)(1)(B). The Trustee's Fees & Expenses, not to exceed ten percent (10%) allowed pursuant to 28 U.S.C. Sec
586(e)(1)(B), shall be deducted from each payment. Additionally, the Trustee is authorized to charge and collect Noticing Fees
as indicated in Section I, Part "B" hereof, pursuant to local rule. No Trustee fee will be collected on Noticing Fees.

Debtor will pay in full all Domestic Support Obligations that are due before discharge, including section 507(a)(1) Priority claims
due before the petition was filed, but only to the extent provided for in this Plan.

C.   ATTORNEY FEES
Debtor's(s') Attorney Fees totaling the amount indicated in Section I Part "C", shall be paid by the Trustee in the amount shown
as "through Trustee", pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection Disbursements.

D.   PRINCIPAL RESIDENCE ARREARAGES (HOME MORTGAGE)

Arrearage on claims secured only by a security interest in the Debtor's(s') principal residence shall be paid by the Trustee in the
allowed pre-petition arrearage amount, and at the Annual Percentage rate of interest indicated in Section I, Part "D" herein. To
the extent interest is provided, interest will be calculated from the date of the Petition. The principal balance owing upon
confirmation of the Plan on the allowed pre-petition arrearage amount shall be reduced by the total of adequate protection paid
less any interest (if applicable) made to the respective creditor by the Trustee. Unless otherwise provided, post-petition
payments may be paid "Direct" by Debtor(s), beginning with the first payment due after the 'ARR. THROUGH' date in Section I,
Part "D". Such creditors shall retain their liens. To the extent an arrearage claim is allowed in an amount in excess of the
Sched. Arr. Amt., the Debtor will promptly Modify the Plan to provide for full payment of the allowed amount, or for surrender of the
collateral, at Debtor's election. If Debtor elects to surrender the collateral, the creditor may retain all pre-surrender payments
received pursuant hereto.

If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will thereupon be reinstated according to its original terms, extinguishing any right of the
Mortgagee or its assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1)   SECURED CLAIMS TO BE PAID BY TRUSTEE

The claims listed in Section I, Part "E(1)" shall be paid by the Trustee as "SECURED" to the extent of the lesser of the Claim
Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral, which will
be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as unsecured
as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the collateral
described in Section I, Part "E(1)" until the earlier of the payment of the underlying debt determined under non-bankruptcy law or
discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the date of confirmation
hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the amount by which the claim
is over-secured. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by
the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.




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E.(2)(a) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN
Claims in Section I, Part "E(2)(a)" are either debts incurred within 910 days of the Petition date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor or debts incurred within one year of the petition
date secured by any other thing of value.

The claims listed in Section I, Part "E(2)(a)" shall be paid by the Trustee as "SECURED" to the extent of the "ALLOWED
AMOUNT" (per timely filed Proof of Claim not objected to by a party in interest.) Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(a)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of the Petition. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced
by the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.

E.(2)(b) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--CRAM DOWN

The claims listed in Section I, Part "E(2)(b)" shall be paid by the Trustee as "SECURED" to the extent of the LESSER OF the
Claim Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral,
which will be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as
unsecured as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(b)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of confirmation hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the
amount by which the claim is over-secured.

IF THE "VALUE" SHOWN IN "E(2)(b)" ABOVE IS LESS THAN THE "SCHED. AMT." SHOWN, THE "ALLOWED AMOUNT" OF
THE SECURED PORTION OF THE CLAIM SHALL NOT EXCEED THE "VALUE" DETERMINED AT CONFIRMATION.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN THIS PARAGRAPH, THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED ITS RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

To the extent a secured claim NOT provided for in Section I Part "D", "E(1)" or "E(2)" is allowed by the Court, Debtor(s) will pay the
claim 'DIRECT' per the contract.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL

The claims listed in Section I, Part "F" shall be satisfied as 'SECURED' to the extent of the VALUE of the collateral, as shown, by
SURRENDER of the collateral by the Debtor(s) on or before Confirmation. Any amount claimed in excess of the value of the
collateral as shown, to the extent it is allowed, shall be automatically "split" and treated as indicated in Section I, Part "H" or "J"
per 11 U.S.C. Sec 506(a).

Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S)
All secured claims listed in Section I, Part "G" shall be paid 'DIRECT' by the Debtor(s) in accordance with the terms of their
agreement, unless otherwise provided in Section IV.

Each secured claim shall constitute a separate class.




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H.   PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS
All allowed claims (i.e., those for which a Proof of Claim is timely filed and not objected to by a party in interest) entitled to priority
under Section 507(a) of the Bankruptcy Code, other than Section 507(a)(1) Domestic Support Obligations, will be paid in full
(except as provided in Section 1322(a)(4)) in deferred installments, unless the holder of such claim agrees to a different
treatment of such claim. Failure to object to confirmation of this Plan shall not be deemed "acceptance" of the "SCHED AMT."
shown in Section I Part "H" hereof. The claims listed in Section I, Part "H" shall be paid their allowed amount by the Trustee in
full as Priority without interest at the monthly amount indicated or pro rata.

Priority claims for taxes are unsecured and shall not accrue interest or penalty subsequent to the filing, and such interest or
penalty as might otherwise accrue thereafter shall be discharged upon completion of the Plan.

I.   CLASSIFIED UNSECURED CLAIMS

Classified unsecured claims shall be treated as allowed by the Court.

J.   GENERAL UNSECURED CLAIMS TIMELY FILED
All other claims not otherwise provided for herein shall be designated general unsecured claims. Payments, if any, to general
unsecured claims will be on a pro rata basis. All allowed general unsecured claims shall be paid in an amount under the Plan
which is not less than the amount that would be paid on such claims if the estate of the Debtor(s) were liquidated under
Chapter 7 of the Bankruptcy Code on the date of filing of the Petition herein.

Any delinquencies under the Plan on allowed secured claims, allowed priority claims and allowed classified unsecured claims
must be brought current before any payments are made on general unsecured claims.

General unsecured claims may be paid concurrently with secured, priority and classified unsecured claims so long as each
secured, priority, and classified unsecured creditor is receiving not less than its monthly installment as provided herein. If the
indicated monthly amount is insufficient to fully pay the monthly payment provided for such allowed secured, priority or classified
unsecured claim(s) respectively, the Trustee shall pay in the following order: each classification of such allowed secured
claim(s), priority claim(s) and classified unsecured claim(s) pro rata until all such payments within each subclass are current,
prior to any other payments to allowed general unsecured claims.

General unsecured claims totaling the amount indicated in Section I Part "J", shall be paid by the Trustee, a PRO RATA share of
the unsecured creditors' pool estimated in Section I, Part "A" but not less than the amount indicated pursuant to
Section 1325(a)(4) less allowed administrative and priority claims, or the estimated % (if any) shown above.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

As provided in Section 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assumes or rejects the executory contracts or unexpired
leases with the parties so indicated in Section I, Part "K".

Assumed lease and executory contract arrearage amounts shall be paid by the Trustee as indicated in Section I Part "K".

L.   CLAIMS TO BE PAID

See Section I, Part "L" of the Plan.

M. ADDITIONAL PLAN PROVISIONS

The provisions set forth in Section IV are additional Plan provisions not otherwise referred to herein.

N.   POST-PETITION CLAIMS

Claims filed under Section 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor will modify
this Plan.

O. LATE FILED CLAIMS AND CLAIMS NOT FILED

Late filed unsecured claims on pre-petition debt shall be paid pro rata, only after all other timely filed unsecured claims are paid
in full. Such payment shall be before any payment on pre-petition non-pecuniary penalties. Late filed claims on priority pre-
petition claims shall be paid in full before any payment on late filed general unsecured pre-petition claims. Late filed secured
claims shall be paid in full before any payment on late filed priority claims.

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.


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P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR PUNITIVE
     DAMAGES

Any unsecured claim for non-pecuniary penalty, fines, forfeitures, multiple, exemplary or punitive damages, expressly including
IRS penalty to date of petition on unsecured and/or priority claims, shall be paid only a pro rata share of any funds remaining
after all other unsecured claims including late filed claims, shall have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R.   BUSINESS CASE OPERATING REPORTS

Upon confirmation, business debtors are no longer required to file operating reports with the Trustee, unless the Trustee
requests otherwise. However, a final operating report through the date of confirmation is required if operating reports were
previously required. Confirmation hereof shall terminate the Trustee's duties to investigate or monitor the debtor's business
affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRECONFIRMATION OPERATIONS

The Trustee shall not be liable for any claim arising from the post-confirmation operation of Debtor's business. Any claims
against the Trustee arising from the pre-confirmation operation of the Debtor's business must be filed with the Bankruptcy Court
within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation hereof, or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY AND TRUSTEE PAYMENTS UPON POST CONFIRMATION
     CONVERSION OR DISMISSAL

Debtor shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior to
discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Upon conversion or dismissal of the case post confirmation, the Trustee shall disburse all funds on hand in accordance with
this Plan.

U.   ORDER OF PAYMENT

All claims shown in Section I, will be paid in the following order from each disbursement, to the extent allowed:

     1st --    Administrative Fees and DSO claims in "B"
     2nd --    Assumed lease and executory contract arrearage claims in "K"
     3rd --    Specified monthly dollar amounts to secured claims in "D", "E(1)", and "E(2)"
     4th --    Pro-rata among attorney fees in "C"
     5th --    Pro-rata among secured claims in "D", "E(1)" and "E(2)"
     6th --    Specified monthly dollar amounts to priority claims in "H"
     7th --    Pro-rata among priority claims in "H"
     8th --    Specified monthly dollar amounts to special class claims in "I"
     9th --    Pro-rata among special class claims in "I"
     10th --   Pro-rata among claims in "J" other than late filed and penalty claims
     11th --   Pro-rata among late filed priority claims in "H"
     12th --   Pro-rata among late filed general unsecured claims in "J"
     13th --   Pro-rata among penalty claims in "J".




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V.   TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE
Pursuant to General Order 2010-01, Paragraph 8, as soon as practicable after the governmental claims bar date, the Trustee
shall prepare and serve on Debtor's counsel, all creditors who were scheduled, all creditors who filed claims and any party that
has filed a Notice of Appearance, a Trustee's Recommendation Concerning Claims ("TRCC") and Notice of Hearing and Pre-
Hearing Conference thereon. The TRCC may be deemed in part to be an Objection to Claims. Objections to the TRCC shall be
filed within thirty (30) days from the date of service of the TRCC. Unless an objection is timely filed as to the treatment of any
claim, the claim will be allowed or approved only as described in the TRCC, and such treatment will be binding on all parties
without further order of the court. All unresolved objections to the TRCC shall be deemed waived if not timely filed or if the
proponent of any such objection fails to attend the Trustee's Pre-Hearing Conference or give the Trustee prior written notice that
a hearing is necessary. To the extent secured and/or priority claims being paid through the Plan by the Trustee are allowed for
amounts in excess of the amounts provided for in this Plan, the Debtor(s) will promptly modify the Plan to provide for full payment
of the allowed amount. After the TRCC becomes final, should the Plan then become infeasible and/or "insufficient", the Trustee
shall be permitted to move the Court to dismiss the case for such reason.


                                                          SECTION III
                                                     MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. Sec 506(a) and § 1325(a)(5) and for purposes of determination of
the amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby moves the Court to
value the collateral described in Section I, Part "E" and Part "F", as the LESSER of the value set forth therein, or any value
claimed on the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's
pre-hearing conference regarding Confirmation, or be deemed waived.




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                                                  SECTION IV
                                          ADDITIONAL PLAN PROVISIONS

Additional (non-standard) Plan provisions, if any, CAPITALIZED, BOLD AND UNDERSCORED ARE AS FOLLOWS:
None.

Respectfully submitted,                                Case No.: 14-30153-HDH-13

/s/ C. Daniel Herrin
C. Daniel Herrin, Debtor's(s') Attorney

24065409
State Bar Number




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Herrin & Wright, PLLC
4925 Greenville Avenue
Suite 200
Dallas, TX 75206

Bar Number: 24065409
Phone: (214) 810-5294
                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF TEXAS
                                                                  DALLAS DIVISION
                                                                            Revised 11-1-05

IN RE:                                                                               §
Cheryl Lynn DeClouet                                                                 §       CASE NO: 14-30153-HDH-13
                                                                                     §
                                                                                     §
Debtor(s)
                                                                                     §


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                                            4/15/2014
                                                                                                                        DATED:________________.
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed in
accordance with General Order 2005-05, as indicated below:

 Periodic Payment Amount                                                                     Variable Plan Payments. See Monthly Schedule below.*

 Disbursements                                                                                                        First (1)                 Second (2) (Other)

 Account Balance Reserve                                                                                                 $5.00                         See below*

 Trustee Fee                                                                                                           $19.50                          See below*
 Filing Fee                                                                                                              $0.00                         See below*

 Noticing Fee                                                                                                          $16.80                          See below*

 Subtotal Expenses/Fees                                                                                                $41.30                         See below*
 Available for Adequate Protection, Attorney Fees and Undisputed
 Priority Claims:                                                                                                     $158.70                         See below*


SECURED CREDITORS:
                                                                                                                                   Adequate              Adequate
                                                                                             Scheduled             Value of        Protection           Protection
 Name                                          Collateral                                      Amount             Collateral      Percentage       Payment Amount

                                                            Total Adequate Protection Payments for Secured Creditors:                                       $0.00

SPECIAL CLASS CREDITORS:
                                                                                                                                   Adequate              Adequate
                                                                                             Scheduled             Value of        Protection           Protection
 Name                                          Collateral                                      Amount             Collateral      Percentage       Payment Amount

                                                      Total Adequate Protection Payments for Special Class Creditors:                                       $0.00

                                                                                         Total Adequate Protection Payments:                                $0.00

                                                            Funds Available For Debtor's Attorney First Disbursement:                                    $158.70
                                                         Funds Available For Debtor's Attorney Future Disbursements:                                  See below*

                                                             Available For Secured Creditors as Authorized by the Plan:                                 $382.50**




** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas - (210) 561-5300.
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*Monthly Schedule

                                    Account            Related                                              Subtotal                                  Available
                     Plan           Balance           Expense              Filing        Noticing         Expenses/                       Available          for
  Month           Payment           Reserve         to Trustee             Fees            Fees               Fees            Available    for APD     Attorney
     1            $200.00              $5.00           $19.50             $0.00           $16.80             $41.30           $158.70       $0.00     $158.70
     2            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
     3            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
     4            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
     5            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
     6            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
     7            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
     8            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
     9            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
    10            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
    11            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
    12            $200.00                              $20.00                                                $20.00           $180.00       $0.00     $180.00
    13            $425.00                              $42.50                                                $42.50           $382.50       $0.00     $382.50
    14            $425.00                              $42.50                                                $42.50           $382.50       $0.00     $382.50




 DATED:________________________
         4/15/2014

  /s/ C. Daniel Herrin
 Attorney for Debtor(s)                                                                     Trustee, Attorney for Trustee or Trustee's Representative




 ** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
 Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas - (210) 561-5300.
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           20-03002-hdh Doc 1-227Filed
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

  IN RE: Cheryl Lynn DeClouet                                                   CASE NO.     14-30153-HDH-13
                                     Debtor


                                                                                CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on April 15, 2014, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).



                                 /s/ C. Daniel Herrin
                                 C. Daniel Herrin
                                 Bar ID:24065409
                                 Herrin & Wright, PLLC
                                 4925 Greenville Avenue
                                 Suite 200
                                 Dallas, TX 75206
                                 (214) 810-5294



Attorney General of Texas                     Cheryl Lynn DeClouet                       GECRB / HH Gregg
Collections Div Bankruptcy Sec                1328 Clearwater Drive                      xxxxxxxxxxxx8290
P.O. Box 12548                                Grand Prairie, TX 75052                    Attn: Bankruptcy
Austin, TX 78711-2548                                                                    PO Box 103104
                                                                                         Roswell, GA 30076


Bank of America                               Citibank Sd, Na                            Internal Revenue Service
xxxx8865                                      xxxxxxxxxxxx8740                           Department of the Treasury
Attn: Correspondence Unit/CA6-919-02-         Attn: Centralized Bankruptcy               P.O. Box 7346
41                                            PO Box 20363                               Philadelphia, PA 19101-7
PO Box 5170                                   Kansas City, MO 64195
Simi Valley, CA 93062

Capital 1 Bank                                Comenity Bank/vctrssec                     Linebarger Goggan Blair & Sampson,
xxxxxxxxxxxx6491                              xxxxx5407                                  LLP
Attn: Bankruptcy Dept.                                                                   2323 Bryan Street, Ste 1600
PO Box 30285                                                                             Dallas, Texas 75201
Salt Lake City, UT 84130


Chase                                         Escallate Llc                              M.a.r.s.inc
xxxxxxxxxxxx8834                              xxxx2565                                   xxx1744
Po Box 15298                                  5200 Stoneham Rd                           5810 E Skelly Dr
Wilmington, DE 19850                          North Canton, OH 44720                     Tulsa, OK 74135




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

  IN RE: Cheryl Lynn DeClouet                                                   CASE NO.   14-30153-HDH-13
                                    Debtor


                                                                                CHAPTER    13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE
                                                    (Continuation Sheet #1)

Marinosci Law Group                          Victoria's Secret
xx-xx963-1                                   xxxxx7344
14643 Dallas Parkway, Suite 750              Attention: Bankruptcy
Dallas, TX 75254                             PO Box 182125
                                             Columbus, OH 43218


Seterus Inc                                  Wells Fargo Bank Nv Na
xxx5223                                      xxxxxxxxxxxxx0001
14523 Sw Millikan Way St                     Attn: Deposits Bankruptcy MAC#
Beaverton, OR 97005                          P6103-05K
                                             PO Box 3908
                                             Portland, OR 97208

Seterus Inc                                  Wells Fargo Bank Nv Na
14523 Sw Millikan Way St                     Attn: Deposits Bankruptcy MAC#
Beaverton, OR 97005                          P6103-05K
                                             PO Box 3908
                                             Portland, OR 97208


TEXAS COMPTROLLER OF PUBLIC
ACCOUNTS
REVENUE ACCOUNTING DIV -
BANKRUPTCY SECT
P.O. Box 13528
Austin, TX 78711-3528

TEXAS EMPLOYMENT COMMISSION
TEC BUILDING - BANKRUPTCY
101 E. 15th Street
Austin, TX 78778-0001



United States Trustee
1100 Commerce Street
Room 976
Dallas, Texas 75242-1496



Us Bank Home Mortgage
xxxxxxxxx6043
4801 Frederica St
Owensboro, KY 42301



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 B10 (Official Form 10) (04/13)
 UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF TEXAS                                                                                      PROOF OF CLAIM
 Name of Debtor:                                                                               Case Number
 CHERYL LYNN DECLOUET                                                                          14-30153-HDH-13



  NOTE: Do not use this form to make a claim for an administrative expense that arises after the bankruptcy filing. You
               may file a request for payment of an administrative expense according to11 U.S.C. § 503.
 Name of Creditor (the person or other entity to whom the debtor owes money or property):
 SETERUS INC., AS AUTHORIZED SUBSERVICER FOR FEDERAL NATIONAL MORTGAGE
 ASSOCIATION (“FANNIE MAE”), CREDITOR C/O SETERUS, INC.
                                                                                                                                              COURT USE ONLY
 Name and address where notices should be sent:                                                                                      Check this box if this claim amends a
 SETERUS, INC. F/K/A IBM LENDER BUSINESS PROCESS SERVICES, INC.                                                                   previously filed claim.
 P.O. BOX 2008                                                                                                                    Court Claim Number: _____________
 GRAND RAPIDS, MI 49501-2008                                                                                                       (If known)
 Telephone number:                               email:                                                                           Filed on :
 Name and address where payment should be sent (if different from above):                                                             Check this box if you are aware that
 SETERUS, INC.                                                                                                                    anyone else has filed a proof of claim
 P.O. BOX 2206                                                                                                                    relating to your claim. Attach a copy of
 GRAND RAPIDS, MI 49501-2206                                                                                                      statement giving particulars.
 Telephone number:                               email:
 1. Amount of Claim as of Date Case Filed:                   $116,815.44

 If all or part of the claim is secured, complete item 4.

 If all or part of the claim is entitled to priority, complete item 5.

 X Check this box if the claim includes interest or other charges in addition to the principal amount of the claim. Attach a statement that itemizes interest or charges.

 2. Basis for Claim: Mortgage Note
   (See instruction #2)

 3. Last four digits of any number             3a. Debtor may have scheduled account as:         3b. Uniform Claim Identifier (optional):
 by which creditor identifies debtor:
      5 ___
      ___  2 ___
               2 ___
                   3                           Seterus Inc.
                                               __________________________                        __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
                                               (See instruction #3a)                             (See instruction #3b)
 4. Secured Claim (See instruction #4)                                                          Amount of arrearage and other charges, as of the time case was filed,
 Check the appropriate box if the claim is secured by a lien on property or a right of          included in secured claim, if any:
 setoff, attach required redacted documents, and provide the requested information.                                              $ 7,331.15
 Nature of property or right of setoff: X Real Estate Motor Vehicle                Other        Basis for perfection: Deed of Trust
 Describe: 1328 CLEARWATER DRIVE, GRAND PRAIRIE, TX 75052
 Value of Property: $                                                                           Amount of Secured Claim:         $ 116,815.44

 Annual Interest Rate 7.375           % X Fixed or        Variable                              Amount Unsecured:                $
 (when case was filed)

 5. Amount of Claim Entitled to Priority under 11 U.S.C. §507(a). If any part of the claim falls into one of the following categories, check the box specifying
 the priority and state the amount.

   Domestic support obligations under 11              Wages, salaries, or commissions (up to $12,475*)          Contributions to an
 U.S.C. §507(a)(1)(A) or (a)(1)(B).                earned within 180 days before the case was filed or the   employee benefit plan -
                                                   debtor’s business ceased, whichever is earlier -          11 U.S.C. §507 (a)(5).
                                                   11 U.S.C. §507 (a)(4).                                                                       Amount entitled to priority:

   Up to $2,775* of deposits toward                  Taxes or penalties owed to                                 Other - Specify                 $
purchase, lease, or rental of property or          governmental units -                                      applicable paragraph of
services for personal, family, or                  11 U.S.C. §507 (a)(8).                                    11 U.S.C. §507 (a)(__).
household
use - 11 U.S.C. §507 (a)(7).

 *Amounts are subject to adjustment on 4/01/16 and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.

  6. Credits. The amount of all payments on this claim has been credited for the purpose of making this proof of claim. (See instruction #6)




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 B10 (Official Form 10) (04/13)
  7. Documents: Attached are redacted copies of any documents that support the claim, such as promissory notes, purchase order, invoices, itemized statements of
  running accounts, contracts, judgments, mortgages, security agreements, or, in the case of a claim based on an open-end or revolving consumer credit agreement, a
  statement providing the information required by FRBP 3001(c)(3)(A). If the claim is secured, box 4 has been completed, and redacted copies of documents providing
  evidence of perfection of a security interest are attached. If the claim is secured by the debtor's principal residence, the Mortgage Proof of Claim Attachment is being filed
  with this claim. (See instruction #7, and the definition of “redacted”.)

  DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER SCANNING.
  If the documents are not available, please explain:

  8. Signature: (See instruction #8)

  Check the appropriate box.

     I am the creditor.        I am the creditor’s authorized agent.        I am the trustee, or the debtor,        I am a guarantor, surety, indorser, or other codebtor.
                                                                        or their authorized agent.               (See Bankruptcy Rule 3005.)
                                                                        (See Bankruptcy Rule 3004.)

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

  Print Name: DONNA WILKINSON
  Title:      Attorney for SETERUS INC., AS AUTHORIZED SUBSERVICER FOR
                FEDERAL NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”),
                CREDITOR C/O SETERUS, INC.
  Company: BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP                                  /s/ DONNA WILKINSON                       05/13/2014
                                                                                        ___________________________________________________________________
  Address and telephone number (if different from notice address above):                 (Signature)                             (Date)
  15000 SURVEYOR BLVD SUITE 100
  ADDISON, TX 75001

  Telephone number (972) 386-5040 email: NDECF@BDFGROUP.COM
                Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.




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        B 10A (Attachment A) (12/11)




        If you file a claim secured by a security interest in the debtor’s principal residence, you must use this form as an
        attachment to your proof of claim. See Bankruptcy Rule 3001(c)(2).


         Name of debtor:     CHERYL LYNN DECLOUET                                     Case number:                           14-30153-HDH-13
                           SETERUS INC., AS AUTHORIZED SUBSERVICER
         Name of creditor: FOR FEDERAL NATIONAL MORTGAGE                              Last four digits of any number you       5    2        2     3
                           ASSOCIATION (“FANNIE MAE”), CREDITOR C/O                   use to identify the debtor’s account
                           SETERUS, INC.


        Part 1: Statement of Principal and Interest Due as of the Petition Date
        Itemize the principal and interest due on the claim as of the petition date (included in the Amount of Claim listed in Item 1 on your Proof
        of Claim form).
          1. Principal due                                                                                                          (1)      $   111,979.96
                                         Interest rate      From                 To              Amount
          2. Interest due                                   mm/dd/yyyy           mm/dd/yyyy
                                            7.375
                                         _________%          08 01 2013
                                                             __/__/____          01 06 2014
                                                                                 __/__/____          3,619.14
                                                                                                 $ ________

                                         _________%          __/__/____          __/__/____      $ ________

                                         _________%          __/__/____          __/__/____ + $ ________

                                         Total interest due as of the petition date              $ ________
                                                                                                     3,619.14   Copy total here ►   (2) + $          3,619.14
          3. Total principal and
             interest due                                                                                                           (3)      $   115,599.10
        Part 2: Statement of Prepetition Fees, Expenses, and Charges
        Itemize the fees, expenses, and charges due on the claim as of the petition date (included in the Amount of Claim listed in Item 1 on the
        Proof of Claim form).

            Description                                                         Dates incurred                                            Amount

        1. Late charges                               0816/2013 - 10/16/2013                                                         (1) $           128.43

        2. Non-sufficient funds (NSF) fees            10/04/2013                                                                     (2) $             25.00

        3. Attorney's fees                                                                                                           (3) $

        4. Filing fees and court costs                                                                                               (4) $

        5. Advertisement costs                                                                                                       (5) $

        6. Sheriff/auctioneer fees                                                                                                   (6) $

        7. Title costs                                                                                                               (7) $

        8. Recording fees                                                                                                            (8) $

        9. Appraisal/broker’s price opinion fees                                                                                     (9) $

       10. Property inspection fees                   11/14/2013 - 12/31/2013                                                       (10) $             45.00

       11. Tax advances (non-escrow)                                                                                                (11) $

       12. Insurance advances (non-escrow)                                                                                          (12) $

       13. Escrow shortage or deficiency (Do not include amounts that are See Attached Escrow Analysis                              (13) $           462.95
           part of any installment payment listed in Part 3.)

       14. Property preservation expenses. Specify:                                                                                 (14) $

       15. Other. Specify: Speed Pay Charges                                    09/30/2013                                          (15) $             10.00
       16. Other. Specify:                                                                                                          (16) $

       17. Other. Specify:                                                                                                          (17) $

          Total prepetition fees, expenses, and charges. Add all of the amounts listed above.                                       (18) $          671.38




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        B 10A (Attachment A) (12/11)



        Part 3. Statement of Amount Necessary to Cure Default as of the Petition Date
          Does the installment payment amount include an escrow deposit?

               No
           X   Yes. Attach to the Proof of Claim form an escrow account statement prepared as of the petition date in a form consistent with
                    applicable nonbankruptcy law.


         1. Installment payments       Date last payment received by creditor              08/26/2013
                                                                                           __ __ ____
            due

                                        Number of installment payments due
                                                                                     (1)                5

         2. Amount of installment            2 installments @     1,353.02                 $   2,706.04
            payments due
                                             3 installments @     1,317.91                 $   3,953.73

                                               installments @                          +$

                                       Total installment payments due as of
                                                                                           $   6,659.77             Copy total here ► (2)   $      6,659.77
                                       the petition date
         3. Calculation of cure                                                                                     Copy total from
            amount                     Add total prepetition fees, expenses, and charges
                                                                                                                    Part 2 here ►      +    $        671.38


                                       Subtract total of unapplied funds (funds received but not credited                              -    $           0.00
                                       to account)


                                       Subtract amounts for which debtor is entitled to a refund                                       -    $           0.00



                                       Total amount necessary to cure default as of the petition date
                                                                                                                                      (3) $        7,331.15

                                                                                                                                      Copy total onto Item 4
                                                                                                                                      of Proof of Claim form




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                                                   CERTIFICATE OF SERVICE


                  I hereby certify that on May 13, 2014, a true and correct copy of the Proof of Claim was served

            via electronic means as listed on the Court's ECF noticing system or by regular first class mail to the

            parties listed on the attached list.

                                                         Respectfully submitted,

                                                         BARRETT DAFFIN FRAPPIER
                                                         TURNER & ENGEL, LLP


                                                          BY: /s/ DONNA WILKINSON                          05/13/2014
                                                              DONNA WILKINSON
                                                              TX NO. 24084098
                                                              15000 SURVEYOR BLVD SUITE 100
                                                              ADDISON, TX 75001
                                                              Telephone: (972) 386-5040
                                                              E-mail: NDECF@BDFGROUP.COM
                                                              ATTORNEY FOR CLAIMANT




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            BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

            DEBTOR:
            CHERYL LYNN DECLOUET
            1328 CLEARWATER DRIVE
            GRAND PRAIRIE, TX 75052

            DEBTOR'S ATTORNEY:
            C. DANIEL HERRIN
            4925 GREENVILLE AVE
            SUITE 200
            DALLAS, TX 75206

            TRUSTEE:
            THOMAS D. POWERS
            125 E. JOHN CARPENTER FRWY.
            SUITE 1100
            IRVING, TX 75062-2288




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                       Claim
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                  Doc 1-2
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      14-30153-hdh13
                  Doc 1-2
                       Claim
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                       Claim
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                                                                                                 U.S. BANKRUPTCY COURT

                                                                                              NORTHERN DISTRICT OF TEXAS


                                                                                                  ENTERED
                                                                                              TAWANA C. MARSHALL, CLERK
                                                                                                  THE DATE OF ENTRY IS
                                                                                                 ON THE COURT'S DOCKET


The following constitutes the ruling of the court and has the force and effect therein described.



Signed June 6, 2014
                                           United States Bankruptcy Judge
 ______________________________________________________________________




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION


  IN RE:                                                                          CASE NO: 14-30153-HDH-13
  CHERYL LYNN DECLOUET
              DEBTOR



      Order Confirming Chapter 13 Plan, Valuing Collateral, Allowing Debtor's Attorney's Fees,
     Providing for a Trustee's Recommendation Concerning Claims, and Other Related Matters
                          (With Revisions to the Plan as Specified Herein)
  It having been determined after at least twenty-eight (28) days notice to all creditors, no hearing having been
  requested and no Objection to Confirmation or Valuation having been timely filed, or if filed, having been overruled or
  withdrawn:

  That the Debtor's Chapter 13 Plan ("Plan") complies with Chapter 13 and all applicable provisions of Title 11, United
  States Code;

  That any fee, charge or amount required under Chapter 13 of Title 28 of the United States Code or by the Plan, to be
  paid before Confirmation, has been paid.

  That the Plan has been proposed in good faith and not by any means forbidden by law;




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Order Confirming Chapter 13 Plan, Page 2
Case # 14-30153-HDH-13
CHERYL LYNN DECLOUET


That the value, as of the effective date of the Plan, of property to be distributed under the Plan on account of each
unsecured claim is not less than the amount that would be paid on such claim if the estate of the Debtor were
liquidated under Chapter 7 of Title 11 of the United States Code on such date;
That the Plan provides that the holders of secured claims who have not accepted the Plan shall retain their liens until
the earlier of the payment of the underlying debt determined under non-bankruptcy law or discharge under Section
1328; and if this case is dismissed or converted without completion of the Plan, such lien shall also be retained by
such holder to the extent recognized by applicable non-bankruptcy law; and the value, as of the effective date of the
Plan, of property to be distributed under the Plan on account of secured claims whose holders have not accepted the
Plan is not less than the allowed amount of those claims; and as to the holders of secured claims who have not
accepted the Plan, if property to be distributed pursuant to the Plan is in the form of        periodic payments, such
payments will be in equal monthly amounts; and if the holder of the claim is secured by personal property, the
amount of such payments will not be less than an amount sufficient to provide the holder of such claim adequate
protection during the period of the Plan; or the Debtor will surrender the property securing such claim to such holder;

That the action of the Debtor in filing the petition was in good faith;

That the Debtor Has paid all amounts that are required to be paid under a Domestic Support Obligation that first
became payable after the date of the filing of the petition, if the Debtor Is required by a judicial or administrative order
or by statute, to pay such Domestic Support Obligation;

That the Debtor has filed all applicable Federal, State, and Local Tax Returns as required by Section 1308 of Title 11
of the United States Code;

That no Objection to Confirmation has been filed by the Trustee or any unsecured creditor, or if so, that the Debtor
will pay under the Plan, all Debtor's projected disposable income for the applicable commitment period, to be applied
to payments to unsecured creditors under the Plan;

That Confirmation of Debtor's Plan and the Valuation set forth therein have been recommended by the Standing
Chapter 13 Trustee; and

That no further operating reports are necessary or required to be filed with the Standing Chapter 13 Trustee.

IT IS THEREFORE ORDERED that the Debtor's Chapter 13 Plan filed 04/15/2014 is confirmed.

IT IS FURTHER ORDERED that the Debtor's shall pay a total plan base of $22,800.00 over 60 months (not to
exceed 60) by making monthly payments commencing on 02/05/2014 in accordance with the following payment
schedule:

                               Due Date         Amount Due          Number of Payments
                                2/5/14           $200.00                 2 months
                                4/5/14           $200.00                10 months
                                2/5/15           $425.00                end of plan




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Order Confirming Chapter 13 Plan, Page 3
Case # 14-30153-HDH-13
CHERYL LYNN DECLOUET

IT IS FURTHER ORDERED that the Debtor's Plan complies with 11 U.S.C. 1325(a)(4) and 1325(b)(1)(B) in that it
provides for total payments at least equal to a minimum base of $7,200.00.

IT IS FURTHER ORDERED that the allowed unsecured claims will be paid pro-rata from the non-exempt property of
$10,793.00.

IT IS FURTHER ORDERED that the Debtor's Attorney, HERRIN & WRIGHT PLLC, is allowed a total fee not to
exceed $3,500.00 with $2,900.00 to be paid through the plan by the Trustee, unless a greater amount is approved
by separate Order of the Court after hearing on a fee application.

IT IS FURTHER ORDERED that for purposes of distribution under the Plan, Section 506 and Section 1325 (a),(5) of
the Bankruptcy Code, the value of collateral securing any claim herein and treatment of the claim secured thereby is
as set forth in Section I, Paragraphs "E", "F" and "G" of the Debtor's(s') Chapter 13 Plan and Motion for Valuation
herein confirmed, EXCEPT:

No Changes

IT IS FURTHER ORDERED that if the Claim is not paid during the term (Approximate) shown in Section I,
Paragraphs D, E, H and/or I of the Plan, the Trustee shall continue to pay the Claim until it is paid in full, as stated
in Section II, Paragraph U of the Plan;

IT IS FURTHER ORDERED that the Trustee is authorized to receive, endorse, and apply to any delinquent
payments under the Plan, any Income Tax Refund payable to debtor(s) during the pendency of this case, and apply
any IRS refund in excess of $2000 pro-rata to Debtor's allowed general unsecured creditors, per Paragraph 10 of
General Order 2010-01.

IT IS FURTHER ORDERED that Debtor shall provide a copy of their federal income tax return to the Trustee within
ten (10) days of filing such during the term of the Plan.

IT IS FURTHER ORDERED that the Debtor shall not dispose of or encumber any non-exempt property prior to
discharge without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

IT IS FURTHER ORDERED that the Standing Chapter 13 Trustee is hereby discharged from any liability from the
Debtor's operation of business and from any further duty to investigate the business of the Debtor or to require any
further operating reports from the Debtor.

IT IS FURTHER ORDERED that pursuant to General Order 2010-01, Paragraph 8, as soon as practicable after the
governmental claims bar date, the Trustee shall prepare and serve on Debtor's counsel, all creditors who were
scheduled, all creditors who filed claims and any party that has filed a Notice of Appearance, a Trustee's
Recommendation Concerning Claims ("TRCC") and notice of hearing and pre-hearing conference thereon. The TRCC
may be deemed in part to be an Objection to Claims. Objections to the TRCC shall be filed within thirty (30) days
from the date of service of the TRCC. Unless an objection is timely filed as to the treatment of any claim, the claim
will be allowed or approved only as described in the TRCC, and such treatment will be binding on all parties without
further order of the Court. All unresolved objections to the TRCC shall be deemed waived if not timely filed or if the
proponent of any such obligation fails to attend the Trustee's pre-hearing conference or give the Trustee prior written
notice that a hearing is necessary.




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Order Confirming Chapter 13 Plan, Page 4
Case # 14-30153-HDH-13
CHERYL LYNN DECLOUET


Approved by:

    /s/ Tom Powers




                                              ### End of Order ###
Office of the Standing Chapter 13 Trustee
125 E JOHN CARPENTER FREEWAY
SUITE 1100 11TH FLOOR
IRVING, TX 75062
(214) 855-9200




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Office of the Standing Chapter 13 Trustee
125 E John Carpenter Freeway
Suite 1100 11th Floor
Irving, TX 75062
(214) 855-9200 / (214) 965-0756 (Fax)


                                          IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION


IN RE:                                                                                 Case No: 14-30153-HDH-13
CHERYL LYNN DECLOUET
            Debtor                                                                     Hearing Date: September 25, 2014


                                    Notice of Pre-Hearing Conference and Hearing on
                      "Trustee's Recommendation Concerning Claims, Objection to Claims and Plan
                                                Modification (if required)"

TO:        ALL PARTIES IN INTEREST

A pre-hearing conference with the Chapter 13 Trustee concerning the Trustee's Recommendation Concerning Claims,
Objection to Claims and Plan Modification (if required) ("TRCC") will be held at 8:30 a.m. on September 25, 2014 at 125 E
John Carpenter Freeway, Suite 1100 11th Floor, Irving, TX 75062.

Any objection to the Pleading not resolved or defaulted at the Trustee's pre-hearing conference will be heard by the Court at
2:00 p.m. on the same day at 1100 Commerce Street, Fourteenth Floor, Dallas, Texas.

Pursuant to General Order 2010-01, unless an objection is timely filed as to the treatment of any claim or modification, the
claim or modification will be allowed or approved as described in the TRCC, and such treatment will be final and binding on all
parties.

TO BE CONSIDERED, ANY OBJECTION OR RESPONSE MUST BE MADE IN WRITING, FILED WITH THE COURT, AND
A COPY SERVED ON ANY AFFECTED CREDITORS AND ON THE FOLLOWING PARTIES NO LATER THAN 08/27/2014.


      Debtor:     CHERYL LYNN DECLOUET, 1328 CLEARWATER DRIVE, GRAND PRAIRIE, TX 75052
      Attorney:   HERRIN & WRIGHT PLLC, 4925 GREENVILLE AVENUE, SUITE 200, DALLAS, TX 75206
      Court:      CLERK'S OFFICE, US BANKRUPTCY COURT, 1100 COMMERCE ST., 12TH FLOOR, DALLAS, TEXAS, 75202

      Trustee:    TRUSTEE'S OFFICE, 125 E. JOHN CARPENTER FREEWAY, SUITE #1100, IRVING, TEXAS 75062




                                                                   By: /s/ Thomas D. Powers
                                                                   Thomas D. Powers, Chapter 13 Trustee
                                                                   State Bar No. 16218700




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CHERYL LYNN DECLOUET
Trustee's Recom m endation Concerning Claim s, Objection to Claim s and Plan Modification (if required)



                                                               Certificate of Service

I hereby certify that a copy of the foregoing "Notice of Hearing on Trustee's Recommendation Concerning Claims, Objection to
Claims and Plan Modification (if required)" and "Trustee's Recommendation Concerning Claims, Objection to Claims and Plan
Modification (if required)" was served on the following parties at the addresses listed below by United States First Class Mail or via
electronic mail.
Debtor:         Cheryl Lynn Declouet, 1328 Clearwater Drive, Grand Prairie, Tx 75052
Attorney:       Herrin & Wright Pllc, 4925 Greenville Avenue, Suite 200, Dallas, Tx 75206**
Creditor(s):    Altair Oh Xiii Llc, Co Weinstein Pinson And Riley Ps, 2001 Western Avenue Ste 400, Seattle, Wa 98121
                Altair Oh Xiii Llc, Co Weinstein Pinson And Riley Ps, Po Box 3978, Seattle, Wa 98124
                American Express Bank Fsb, Co Becket And Lee Llp, Po Box 3001, M alvern, Pa 19355-0701
                American Express Centurion, Becket And Lee Llp, Po Box 3001, M alvern, Pa 19355-0701**
                American Infosource Lp, M ethodist Health System, Po Box 248838, Oklahoma City, Ok 73124
                Attorney General Of Texas, Po Box 12548, Austin, Tx 78711-2548**
                Barrett Daffin Frappier Et Al, 15000 Surveyor Blvd Suite 100, Addison, Tx 75001**
                Butler & Hosch Pa, 13800 M ontfort Dr Ste 300, Dallas, Tx 75240
                Cach Llc, 4340 South M onaco St, 2Nd Floor, Denver, Co 80237
                Cavalry Spv I Llc, Cavalry Portfolio Services, 500 Summit Lake Drive Ste 400, Valhalla, Ny 10595
                Cavalry Spv I Llc, Po Box 27288, Tempe, Az 85282
                Chase, Po Box 15298, Wilmington, De 19850
                County Of Dallas, Co Linebarger Goggan Blair Et Al, 2777 N Stemmons Fwy Ste 1000, Dallas, Tx 75207**
                Escallate Llc, 5200 Stoneham Rd, North Canton, Oh 44720
                Internal Revenue Service, Po Box 7317, Philadelphia, Pa 19101-7317
                Internal Revenue Service, Po Box 7346, Philadelphia, Pa 19101-7346**
                M arsinc, 5810 E Skelly Dr, Tulsa, Ok 74135
                Portfolio Recovery Associates, By Pra Receivables M anagement, Po Box 12914, Norfolk, Va 23541
                Portfolio Recovery Associates, By Pra Receivables M anagement, Po Box 41067, Norfolk, Va 23541
                Quantum3 Group Llc, Po Box 788, Kirkland, Wa 98083-0788
                Seterus Inc, Po Box 2206, Grand Rapids, M i 49501-2206
                Seterus, Po Box 2008, Grand Rapids, M i 49501-2008
                Texas Comptroller Of Public Accounts, Revenue Accounting Div - Bankruptcy Sect, Po Box 13528, Austin, Tx
                78711-3528
                Us Bank Home M ortgage, 4801 Frederica Street, Owensboro, Ky 42301
                Victorias Secret, Attention: Bankruptcy, Po Box 182125, Columbus, Oh 43218
                Wells Fargo Bank Na, Home Equity Group, X2303 01A 1 Home Campus, Des M oines, Ia 50328-0001
                Wells Fargo Bank Na, Wells Fargo Operations Center, Po Box 31557 M ac B6955 01B, Billings, M t 59107
**Indicates party has elected to receive all notifications via electronic service and w as not served a copy via United States First Class Mail.



     Dated: 07/28/2014                                                       By: /s/ Thomas D. Powers
                                                                             Thomas D. Powers, Chapter 13 Trustee
                                                                             State Bar No. 16218700




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CHERYL LYNN DECLOUET
Trustee's Recom m endation Concerning Claim s, Objection to Claim s and Plan Modification (if required)




                                          IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION



IN RE:                                                                                  Case No: 14-30153-HDH-13
CHERYL LYNN DECLOUET
            Debtor                                                                      Hearing Date: September 25, 2014



                     Trustee's Recommendation Concerning Claims, Objection to Claims and
                                       Plan Modification (if required)

The Trustee hereby objects to the following claims for the reason(s) indicated, pursuant to Bankruptcy Rule 3007:

                                                                       I.

                                            OBJECTION -- NO PROOF OF CLAIM FILED

The following creditors were scheduled by the Debtor. No Proof of Claim has been filed by them or on their behalf, as required
by Bankruptcy Rule 3002(a). The "bar date" for filing claims pursuant to Bankruptcy Rule 3002(c) has passed. Therefore the
claims should be DISALLOWED.

            T'ee #                      Creditor's Name                           Sched Amount         Sched Amount
                 4       CHASE                                                   Unsecured                   $ 6,070.00
                 7       ESCALLATE LLC                                           Unsecured                     $ 781.00
                11       MARSINC                                                 Unsecured                     $ 175.00
                33       VICTORIAS SECRET                                        Unsecured                        $ 0.00


                                                                      II.

                                                    SPECIFIC OBJECTIONS

The Trustee hereby objects to the following claims, for the reason(s) indicated in Column 7. The claims should be
ALLOWED/DISALLOWED as indicated in Column 4 for the amount and class indicated in Columns 5 and 6 respectively.
                                                                            Column 4                         Column 7
 Column I                    Column 2                     Column 3           Allow /   Column 5   Column 6   Reason        Column 8
Pacer #                  Creditor Nam e                   Claim             Disallow   Am ount    Class      (See Below)   T'ee #


              *** NONE ***

                                              CODE: "REASON(S)" FOR CLAIM OBJECTION

              *** NONE ***

                                                                     III.

                             TRUSTEE'S RECOMMENDATIONS CONCERNING ALLOWED CLAIMS


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CHERYL LYNN DECLOUET
Trustee's Recom m endation Concerning Claim s, Objection to Claim s and Plan Modification (if required)



The Trustee hereby recommends the ALLOWANCE of the following claims for the amount and in the class listed below.

T'ee
Clm #        DSO Creditors                             Collateral                                Claim Am ount                Paid By
             *** NONE ***

T'ee         Secured 910 Creditors
Clm #        No Cram Dow n                    Collateral                       Claim Am ount     Value         %             Paid By

             *** NONE ***

T'ee
Clm #        Secured Creditors                Collateral                       Claim Am ount     Value           %             Paid By
    13       SETERUS INC                      1ST LN/HOME/ARREARS                  $ 7,331.15   $ 135,290.00     0.00    Trustee
    16       US BANK HOME MORTGAGE            2220 BELLAIRE                      $ 48,039.74     $ 70,000.00     0.00    Direct by   Debtor
    18       WELLS FARGO BANK NA              2ND LN/HOME/ARREARS                    $ 566.92    $ 19,258.00     0.00    Trustee
    21       SETERUS INC                      1ST LN/HOME/CURRENT               $ 116,815.44    $ 135,290.00     0.00    Direct by   Debtor
    22       WELLS FARGO BANK NA              2ND LN/HOME/CURRENT                $ 25,857.17     $ 19,258.00     0.00    Direct by   Debtor
    23       COUNTY OF DALLAS                 REAL PROPERTY                        $ 3,772.97   $ 135,290.00     0.00    Direct by   Debtor

 T'ee
 Clm #       Priority Creditors                        Com m ent                                  Claim Am ount                Paid By

             *** NONE ***

T'ee
Clm #        Unsecured - Special Class Creditors           Collateral                             Claim Am ount                Paid By
             *** NONE ***

T'ee
Clm #        Unexpired Leases                 Collateral                       Claim Am ount      Value          %             Paid By
             *** NONE ***


T'ee Clm #       Unsecured Creditors                             Com m ent                                              Claim Am ount
         3       PORTFOLIO RECOVERY ASSOCIATES                   CAPITAL ONE                                                         $ 883.63
         5       ALTAIR OH XIII LLC                              CITIBANK                                                       $ 4,771.03
         8       CAVALRY SPV I LLC                               GE RETAIL BANK/BASSETT FURNTIURE                               $ 2,273.32
      15         CACH LLC                                        MID AMERICA BANK                                                    $ 748.84
      17         QUANTUM3 GROUP LLC                              COMENITY BANK/VICTORIAS SECRET                                       $ 40.04
      27         AMERICAN EXPRESS CENTURION                                                                                     $ 2,130.59
      28         AMERICAN EXPRESS BANK FSB                                                                                           $ 543.77
      31         AMERICAN INFOSOURCE LP                          METHODIST CHARLTON MED CTR                                          $ 339.38
      32         AMERICAN INFOSOURCE LP                          METHODIST CHARLTON MED CTR                                           $ 16.40

                                                                 IV.

                                          PLAN MODIFICATION, subject to feasibility
Pursuant to 11 U.S.C. Section 1329, and in accordance with General Order 2010-01, the Trustee requests the following
Modification of the Debtor Confirmed Plan, subject to feasibility, herein:

    • Change monthly payment amount from $200.00 per month to $200.00 X 4; $444.00 X 50;. This payment change
    will begin with the payment due on 08/05/2014; and



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Case # 14-30153-HDH-13                                                                                                Page 5
CHERYL LYNN DECLOUET
Trustee's Recom m endation Concerning Claim s, Objection to Claim s and Plan Modification (if required)



    • The above change(s) will result in a new "BASE AMOUNT" of $24,200.00 (total due to Trustee under Plan, if all
    payments timely made).


                                                   Reason for Modification

The modification is requested for the following reason(s):
    • To cure an insufficient plan.




                                                                By: /s/ Thomas D. Powers
                                                                Thomas D. Powers, Chapter 13 Trustee
                                                                State Bar No. 16218700




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                                                                                               U.S. BANKRUPTCY COURT

                                                                                            NORTHERN DISTRICT OF TEXAS


                                                                                               ENTERED
                                                                                            TAWANA C. MARSHALL, CLERK
                                                                                                THE DATE OF ENTRY IS
                                                                                               ON THE COURT'S DOCKET


The following constitutes the ruling of the court and has the force and effect therein described.



Signed October 6, 2014
                                           United States Bankruptcy Judge
 ______________________________________________________________________




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION


  IN RE:                                                                        CASE NO: 14-30153-HDH-13
  CHERYL LYNN DECLOUET
              DEBTOR



                  Order on Trustee's Recommendation Concerning Claims, Objection to
                               Claims and Plan Modification (if required)

  At Dallas in said District:

  On this day came on for hearing the Trustee's Recommendation Concerning Claims, Objections to Claims and Plan
  Modification (if required) (hereinafter referred to as "TRCC") dated 7/28/14, and any responses filed thereto.

  After considering the pleadings, the evidence and stipulations, if any, and the argument of counsel, the Court finds
  that the following order should be entered:




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Order on Trustee's Recommendation Concerning Claims, Objection to Claims and Plan Modification (if required), Page 2
Case # 14-30153-HDH-13
CHERYL LYNN DECLOUET



IT IS THEREFORE ORDERED that all claims listed in Section I of the TRCC (No Proof of Claim Filed) are hereby
DISALLOWED except for the following, if any, which are ALLOWED:


No Changes

IT IS FURTHER ORDERED that all claims shown in Section II of the TRCC (Specific Objections) are hereby
ALLOWED or DISALLOWED as shown therein except as follows:

No Changes

IT IS FURTHER ORDERED that all claims shown in Section III of the TRCC (Recommendations) are hereby
ALLOWED as shown therein except as follows:

No Changes




IT IS FURTHER ORDERED that the Plan Modification show in Section IV of the TRCC is APPROVED except as
follows:

    Payments changed to:          The total amount due under the plan as of 07/05/2014 is $1,200.00; payments to
                                  resume 08/05/2014,

                                  $200.00 X 4; $444.00 X 50;

                                  Plan Base is $24,200.00

                                  Plan Term is 60 months.




Approved by:

    /s/ Tom Powers




                                                         ### End of Order ###
Office of the Standing Chapter 13 Trustee
125 E John Carpenter Freeway
Suite 1100 11th Floor
Irving, TX 75062
(214) 855-9200




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Office of the Standing Chapter 13 Trustee
125 E John Carpenter Freeway Suite 1100 11th Floor
Irving, TX 75062
Telephone: (214) 855-9200 Facsimile: (214) 965-0758
                                             IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE NORTHERN DISTRICT OF TEXAS
                                                          DALLAS DIVISION
 IN RE:
                                                                      Case No. 14-30153-HDH-13
                                                                      Hearing Date: 9/24/2015 8:30 AM
 CHERYL LYNN DECLOUET (xxx-xx-1883)

 1328 CLEARWATER DRIVE
 GRAND PRAIRIE, TX 75052
                                                                      CHAPTER 13
 Debtor

ATTENTION SETERUS INC, Court Claim No. 13
                                NOTICE OF AMOUNT DEEMED NECESSARY TO CURE MORTGAGE ARREARS
                         (per Local Bankruptcy Rule 3002-2 regarding Trustee's Mid Case Audit of Plan and Mortgage )


                                                      SCHEDULING ORDER

A Scheduling Order will be served by the Bankruptcy Clerk which will establish specific, important, and mandatory
dates and deadlines concerning this Notice. If there is any conflict between the Scheduling Order and this Notice, the
Scheduling Order will control.

                                                      RESPONSE REQUIRED

ON OR BEFORE 60 DAYS FROM THE SERVICE OF THIS NOTICE OF AMOUNT DEEMED NECESSARY TO CURE
MORTGAGE ARREARS, IF THE CREDITOR/HOLDER NAMED ABOVE DISPUTES THE INFORMATION IN THE NOTICE,
THE CREDITOR/HOLDER MUST FILE WITH THE CLERK OF THE COURT AT U.S. BANKRUPTCY COURT, 1100
COMMERCE ST 14TH FLOOR, DALLAS, TEXAS, 75242, A WRITTEN RESPONSE AND SERVE IT ON THE DEBTOR,
DEBTOR'S ATTORNEY, AND THE CHAPTER 13 TRUSTEE, PURSUANT TO LOCAL BANKRUPTCY RULE 3002 -2(c),
INDICATING WHETHER THE CREDITOR/HOLDER DISPUTES THE INFORMATION IN THIS NOTICE.

THE RESPONSE MUST ALSO ITEMIZE CURE AMOUNTS OR POST -PETITION ARREARS, IF ANY, THAT THE
CREDITOR/HOLDER CONTENDS EXIST AS OF THE DATE OF THE RESPONSE.

FAILURE BY CREDITOR/HOLDER NAMED ABOVE TO RESPOND TIMELY TO THIS NOTICE MAY RESULT IN THE ENTRY
OF A DEFAULT ORDER BY THE COURT DEEMING THE MORTGAGE TO BE CURRENT, OR DELINQUENT IN THE
AMOUNT(S) SET FORTH IN THIS NOTICE.

THE ENTRY OF SUCH AN ORDER MAY PRECLUDE THE CREDITOR/HOLDER OF THE CLAIM FROM ASSERTING
OTHER CURE AMOUNTS OR POST-PETITION ARREARS THAT ALLEGEDLY ACCRUED BEFORE THE DATE OF THIS
NOTICE IN ANY CONTESTED MATTER OR ADVERSARY PROCEEDING IN THE CASE OR IN ANY OTHER MATTER,
MANNER, OR FORUM AFTER DISCHARGE IN THIS CASE, UNLESS THE COURT DETERMINES, AFTER NOTICE AND
HEARING, THAT THE FAILURE WAS SUBSTANTIALLY JUSTIFIED OR IS HARMLESS.




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                                                                              Notice of Amount Deemed Necessary to Cure Mortgage Arrears
                                                                                                             CHERYL LYNN DECLOUET
                                                                                                                                 Page 2


                                                    NEGATIVE NOTICE
                                           (per Local Bankruptcy Rule 9007-1(c))

NO HEARING WILL BE CONDUCTED ON THIS "NOTICE OF AMOUNT DEEMED NECESSARY TO CURE MORTGAGE
ARREARAGE" UNLESS A WRITTEN RESPONSE BY THE CREDITOR/HOLDER NAMED ABOVE IS FILED BEFORE THE
CLOSE OF BUSINESS AT LEAST 60 DAYS FROM THE DATE OF SERVICE HEREOF, OR UNLESS A WRITTEN
RESPONSE BY THE DEBTOR IS FILED BEFORE THE CLOSE OF BUSINESS AT LEAST 90 DAYS FROM THE DATE OF
SERVICE HEREOF, WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT U.S. BANKRUPTCY COURT,
1100 COMMERCE ST 14TH FLOOR, DALLAS, TEXAS, 75242.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A COPY SHALL BE SERVED UPON THE
DEBTOR, COUNSEL FOR THE DEBTOR, IF ANY, THE CREDITOR/HOLDER, COUNSEL FOR THE CREDITOR/HOLDER, IF
ANY, AND THE CHAPTER 13 TRUSTEE.

IF A RESPONSE IS TIMELY FILED BY CREDITOR/HOLDER OR THE DEBTOR, A PRE -HEARING CONFERENCE WILL BE
HELD AT 8:30 AM ON 09/24/2015 AT THE OFFICE OF TOM POWERS, CHAPTER 13 TRUSTEE, 125 E JOHN CARPENTER
FREEWAY STE 1100, IRVING, TEXAS 75062. ANY MATTERS UNRESOLVED AT THE TRUSTEE'S PRE -HEARING
CONFERENCE WILL BE HEARD BY THE COURT AT 2:00 pm ON 09/24/2015.


IF NO RESPONSE IS TIMELY FILED, THE INFORMATION CONTAINED IN THIS NOTICE WILL BE DEEMED UNOPPOSED
AND/OR UNDISPUTED, AND THE COURT WILL ISSUE AN ORDER BY DEFAULT, FINDING THE MORTGAGE TO BE
CURRENT, OR DELINQUENT IN THE AMOUNT SET FORTH HEREIN, AS OF THE DATE OF THIS NOTICE.

Pursuant to Local Bankruptcy Rule 3002-2(b), the Chapter 13 Trustee, Tom Powers, files this Notice of Amount Deemed
Necessary to Cure Mortgage Arrears ("Notice").


                                                      PLAN ARREARAGE

To the Trustee's knowledge, the Debtor are current on their plan, or if not, the amount believed necessary to cure any default on
the plan is $313.77.




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                                                                            Notice of Amount Deemed Necessary to Cure Mortgage Arrears
                                                                                                           CHERYL LYNN DECLOUET
                                                                                                                               Page 3


                                    PRE-PETITION MORTGAGE ARREARAGE

The amount believed necessary to cure any pre-petition home mortgage arrearage claim(s) ("cure amount") is as follows

Name of Creditor: SETERUS INC
Claim Type: HOME MORTGAGE ARREARAGE

Court Claim #   Trustee Claim#     Account Number      Claim Amount             Claim Allowed                         Amount Paid

     13            13                    5223          $7,331.15                  $7,331.15                   Prinicpal +   $926.66
                                                                                                            Interest          $0.00

                                                                                                                            $926.66
Total Amount Paid By Trustee:
PRINCIPAL AMOUNT NECESSARY TO CURE PRE-PETITION MORTGAGE ARREARAGE CLAIM (TRUSTEE CLAIM #13)
TO BE PAID BY THE TRUSTEE, IF ANY: $6,404.49

                          ONGOING "CURRENT" MONTHLY MORTGAGE PAYMENTS



Name of Creditor: SETERUS INC
Claim Type: HOME MORTGAGE REGULAR PAYMENT

Court Claim #   Trustee Claim#     Account Number      Claim Amount             Claim Allowed


     13            21                    5223          $116,815.44               $116,815.44



Total Amount Paid By Trustee: - NONE




THE ONGOING "CURRENT" MONTHLY MORTGAGE PAYMENTS ARE, ACCORDING TO THE PLAN, TO BE PAID
DIRECT BY THE DEBTOR. THE TRUSTEE HAS NO KNOWLEDGE OF THE STATUS OF THOSE ONGOING PAYMENTS,
OR ANY POST-PETITION ARREARS THEREON, EXCEPT AS NOTED ABOVE. HOWEVER, THE HOLDER OF THE CLAIM
MUST ITEMIZE IN ITS RESPONSE ANY OTHER PRE-PETITION ARREARAGES OR ANY POST-PETITION ARREARS
THAT THE HOLDER CONTENDS EXIST AS OF THE DATE OF THE RESPONSE; OTHERWISE THE COURT WILL ISSUE
AN ORDER BY DEFAULT, FINDING THE MORTGAGE TO BE CURRENT AS OF THE DATE OF THIS NOTICE.

    Date: 06/12/2015                                            RESPECTFULLY SUBMITTED,

                                                                /s/ Thomas D. Powers
                                                                Thomas D. Powers, Trustee
                                                                State Bar No. 16218700
                                                                Office of the Standing Chapter 13 Trustee
                                                                125 E John Carpenter Freeway Suite 1100 11th Floor
                                                                Irving, TX 75062
                                                                Telephone: (214) 855-9200 Facsimile: (214) 965-0758




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                                                                                                     Notice of Amount Deemed Necessary to Cure Mortgage Arrears
                                                                                                                                    CHERYL LYNN DECLOUET
                                                                                                                                                        Page 4



                                                                  CERTIFICATE OF SERVICE

        The undersigned does hereby ceritfy that a true and correct copy of the foregoing was sent to all parties as listed below on
 June 12, 2015, either electronically or via U.S. First Class Mail.

Debtor:           Cheryl Lynn Declouet, 1328 Clearwater Drive, Grand Prairie, Tx 75052
Attorney:         Herrin & Wright Pllc, 4925 Greenville Avenue, Suite 130, Dallas, Tx 75206**
Creditor(s):      Barrett Daffin Frappier Et Al, 15000 Surveyor Blvd Suite 100, Addison, Tx 75001**
                  Butler & Hosch Pa, 13800 Montfort Dr Ste 300, Dallas, Tx 75240
                  County Of Dallas, Co Linebarger Goggan Blair Et Al, 2777 N Stemmons Fwy Ste 1000, Dallas, Tx 75207**
                  Seterus, Po Box 2008, Grand Rapids, Mi 49501-2008
**Indicates party has elected to receive all notifications via electronic service and was not served a copy via United States First Class Mail.

      Date: 06/12/2015                                                                 RESPECTFULLY SUBMITTED,

                                                                                       /s/ Thomas D. Powers
                                                                                       Thomas D. Powers, Trustee
                                                                                       State Bar No. 16218700
                                                                                       Office of the Standing Chapter 13 Trustee
                                                                                       125 E John Carpenter Freeway Suite 1100 11th Floor
                                                                                       Irving, TX 75062
                                                                                       Telephone: (214) 855-9200 Facsimile: (214) 965-0758




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BTXN 220 (03/14)
                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Cheryl Lynn DeClouet                                        §     Case No.: 14−30153−hdh13
                                                            §     Chapter No.: 13
                                         Debtor(s)          §


    SCHEDULING ORDER REGARDING MID−CASE NOTICE OF AMOUNT DEEMED
               NECESSARY TO CURE MORTGAGE ARREARAGE
On 6/12/15, the chapter 13 trustee filed and served a "Notice of Amount Deemed Necessary to Cure Mortgage
Arrearage" (the "Mortgage Notice" ). This scheduling order shall govern any disputes over the Mortgage Notice.

THE FOLLOWING DEADLINES APPLY IN THE CASE:

The Mortgage Notice is set for pre−hearing conference on 9/24/15 at 8:30 am at Thomas Powers, Ch. 13 Trustee,
125 E. John Carpenter Frwy., Suite 1100 Irving, TX 75062−2288. The trustee is not required to send a seperate
notice of the pre−hearing conference to any party.

If the lender disputes the information in the Mortgage Notice, the lender must file a response (the "Lender's
Response" ) on or before 8/11/15. The Lender's Response must be served on the chapter 13 trustee, the debtor and the
debtor's counsel, if the debtor has counsel. The Lender's Response must include an itemization of any cure amounts
or post−petition arrearages the lender contends existed as of the date of the Lender's Response. If the lender fails to
respond by the deadline provided herein or files a response stating that the lender agrees with the Mortgage Notice
and the debtor does not timely file a Debtor's Reply as described herein, the lender is not required to attend the
pre−hearing conference and the court will enter an order approving the amounts asserted in the Mortgage Notice.

If the debtor disputes the information in the Mortgage Notice or if the lender files a Lender's Response and the debtor
disputes the information in the Lender's Response, the debtor must file a reply (the "Debtor's Reply" ) on or before
9/10/15. The Debtor's Reply must admit or deny whether any pre− or post− petition delinquency exists and must
provide specific information to contest any delinquency asserted by the trustee in the Mortgage Notice and/or the
lender in the Lender's Response. If the debtor denies any asserted delinquency, a general denial will not suffice;
rather, the Debtor's Reply must provide specific facts in support of the denial, such as the date and amount of any
payment the debtor made that supports the debtor's denial of delinquency. If the Debtor's Reply does not contain such
specific information, the trustee may grant the debtor an additional 14 days to provide specific information. If the
debtor fails to provide the specific information within the 14−day period, the trustee may deem the Debtor's Reply to
be a default under the terms of the order. The Debtor's Reply must be served on the chapter 13 trustee, the lender and
the lender's counsel, if the lender has counsel. If the debtor fails to respond by the deadline provided herein or files a
response stating that the debtor agrees with the Mortgage Notice and the Lender's Response (if any), the debtor is not
required to attend the pre−hearing conference and the court will enter an order approving the amounts asserted in the
Mortgage Notice, except as follows: if a timely filed Lender's Response asserts a different post−petition arrearage
than that asserted in the Mortgage Notice, the post−petition arrearage in the Lender's Response shall control and be
set forth in the order regarding the Mortgage Notice.

At the time set for the pre−hearing conference, if there are any unresolved disputes raised in either the Lender's
Response or the Debtor's Reply, the disputing parties must attend the pre−hearing conference.

If the lender is a disputing party and the lender does not attend the pre−hearing conference and no timely Debtor's
Reply is filed, the court will enter an order approving the amounts asserted by the trustee in the Mortgage Notice. If a
Debtor's Reply is filed timely, the court will enter an order approving the amounts asserted in the Mortgage Notice
except as follows: if the debtor asserts a different post−petition arrearage in the Debtor's Reply on that part of the
mortgage claim being paid post−petition directly by the debtor to the mortgage holder, such post−petition arrearage
asserted in the Debtor's Reply shall control and be set forth in the order regarding the Mortgage Notice.

If the debtor is a disputing party and the debtor does not appear at the pre−hearing conference, the court will enter an
order approving the amounts asserted in the Mortgage Notice except as follows: if a timely filed Lender's Response
asserts a different post−petition arrearage than that asserted in the Mortgage Notice on that part of the mortgage claim
being paid post−petition directly by the debtor to the mortgage holder, such post−petition arrearage asserted in the
Lender's Response shall control and be set forth in the order regarding the Mortgage Notice.

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If the trustee is not a disputing party and the debtor and the lender are both disputing parties and neither the debtor
nor the lender appear at the pre−hearing conference, the court will enter an order approving the amounts asserted in
the Mortgage Notice except as follows: if the debtor asserts a different post−petition arrearage in a timely filed
Debtor's Reply on that part of the mortgage claim being paid post−petition directly by the debtor to the mortgage
holder, such post−petition arrearage asserted in the Debtor's Reply shall control and be set forth in the order regarding
the Mortgage Notice.

If the matter is not resolved as of the time of the pre−hearing conference, the trustee shall either set the matter on the
next regular chapter 13 court docket, or at the trustee's option, contact the courtroom deputy and obtain a special
setting for an evidentiary hearing. The court will use its best efforts to provide an evidentiary hearing within 30 to 45
days after the pre−hearing conference. All witness and exhibit lists must be filed and exhibits must be exchanged at
least three business days before the evidentiary hearing date.

Once the court enters an order on the Mortgage Notice, the debtor and the lender will be barred from contesting the
amounts set out in the order in any contested matter or adversary proceeding in this case, or in any other matter,
manner or forum after a discharge in the case, unless the court determines, after notice and a hearing, that the failure
to respond or the failure to attend the pre−hearing conference was substantially justified or is harmless.



DATED: 6/15/15                                   FOR THE COURT:
                                                 Tawana C. Marshall, Clerk of Court

                                                 by: /s/J. Calfee, Deputy Clerk




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                                                           Case No: 14-30153-HDH-13

                              UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                               Dallas Division
 In re:                CHERYL LYNN DECLOUET                                               Case No:             14-30153-HDH-13
                                                                                          Chapter:            13
 Property Address: 1328 CLEARWATER DRIVE, GRAND PRAIRIE, TX 75052
 Last four digits of any number you use to
 Identify the Debtor’s account:                        5223
 Court Claim No. (if known) 13

                  STATEMENT IN RESPONSE TO NOTICE OF FINAL CURE PAYMENT
            STATEMENT IN RESPONSE TO NOTICE OF AMOUNT DEEMED NECESSARY TO CURE
                            MORTGAGE ARREARS UNDER L.B.R. 3002-2

 FEDERAL NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”), CREDITOR C/O SETERUS, INC.
 (“Creditor”) hereby responds to that certain Statement in Response to Notice of Amount Deemed Necessary to Cure Mortgage
 Arrears (“Cure Notice”) dated June 12, 2015 and filed as Docket 36.



                                                          Pre-Petition Amounts
                                                                Received                        Applicable option is checked


     Agrees that the Trustee has paid the amounts listed on the Cure Notice towards the Creditor’s claim.
     Disagrees that the Trustee has paid the amounts listed on the Cure Notice towards Creditor’s claim. Creditor states that the
 total amount received as of the date of the Cure Notice is:

  Total Amount Due:       $0.00

 Attached is an itemized Statement of amounts paid through the date listed on the Statement.

                                                          Post-Petition Amounts
                                                                                                Applicable option is checked
                                                               Outstanding

    Agrees that Debtors are current with respect to all post-petition payments, fees and costs, whether paid directly to Creditor or
 being paid through Debtor’s Chapter 13 Plan as of the date of the Cure Notice.

     Disagrees that Debtors are current with respect to all post-petition payments, fees and costs as of the date of the Cure Notice
 and states that the total amount to cure the post-petition arrearage is:
  Total Amount Due:       $14,061.14                  *
 Attached is an itemized Statement of the post-petition arrearage due and owing through the date listed on the Statement. The
 outstanding amounts identified on the Statement do not reflect amounts that became or may become due after the date listed
 therein, including any fees that may have been incurred in the preparation, filing or prosecution of this Cure Notice.
 The outstanding amounts identified on the attached Statements may not, due to timing, reflect all payments sent to Creditor as of
 the date stated therein. In addition, the amounts due may include payments reflected on the Notice of Amount Deemed Necessary
 to Cure Mortgage Arrears but which have not yet been received and/or processed by Creditor.




bktxbk_NoticeDeemCurr.rpt-01 Northern/DALLAS/00000005454269                                                                    Page 1 of 4

                                                          Exhibit "J" - Page 1 of 6
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                                                         Case No: 14-30153-HDH-13

                              UNITED STATES BANKRUPTCY COURT

 X /s/ DONNA WILKINSON                                                      X       08/26/2015
           Signature                                                                         Date (MM/DD/YYYY)

 First Name: DONNA                               Middle Name:                         Last Name: WILKINSON
 Title:        Attorney
 Company       BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
 Address       15000 SURVEYOR BLVD SUITE 100
 City          ADDISON                           State: TX                             Zip: 75001
 Phone         (972) 386-5040




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                                                         Case No: 14-30153-HDH-13

                              UNITED STATES BANKRUPTCY COURT


                                                CERTIFICATE OF SERVICE


        I hereby certify that on August 26, 2015, a true and correct copy of the Statement in Response to

    Notice of Amount Deemed Necessary to Cure Mortgage Arrears Under L.B.R. 3002-2 was served

    via electronic means as listed on the Court's ECF noticing system or by regular first class mail to the

    parties listed on the attached list.



                                                              Respectfully submitted,

                                                              BARRETT DAFFIN FRAPPIER
                                                              TURNER & ENGEL, LLP


                                                              BY: /s/ DONNA WILKINSON                   08/26/2015
                                                                  DONNA WILKINSON
                                                                  TX NO. 24084098
                                                                  15000 SURVEYOR BLVD SUITE 100
                                                                  ADDISON, TX 75001
                                                                  Telephone: (972) 386-5040
                                                                  E-mail: NDECF@BDFGROUP.COM
                                                                  ATTORNEY FOR CLAIMANT




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                                                          Case No: 14-30153-HDH-13

                              UNITED STATES BANKRUPTCY COURT


                        BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:


    DEBTOR:
    CHERYL LYNN DECLOUET
    1328 CLEARWATER DRIVE
    GRAND PRAIRIE, TX 75052

    DEBTOR'S ATTORNEY:
    DANIEL HERRIN
    4925 GREENVILLE AVE
    SUITE 130
    DALLAS, TX 75206

    TRUSTEE:
    THOMAS POWERS
    125 E. JOHN CARPENTER FRWY
    SUITE 1100
    IRVING, TX 75062-2288

    UNITED STATES TRUSTEE:
    1100 COMMERCE STREET
    ROOM 976
    DALLAS, TX 75242




bktxbk_NoticeDeemCurr.rpt-01 Northern/DALLAS/00000005454269                                Page 4 of 4

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              Schedule of Amounts Outstanding Post-Petition Claim



                       Fee Description                              Fee Amount


PAYMENTS: 10/1/2014 – 8/1/2015 (11 payments) @ $1,317.91             $14,497.01


SUSPENSE:                                                            ($435.87)


TOTAL:                                                              $14,061.14




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The following constitutes the ruling of the court and has the force and effect therein described.



Signed January 25, 2016
                                            United States Bankruptcy Judge
  ______________________________________________________________________




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION


     IN RE:                                                             CASE NO. 14-30153

     CHERYL DECLOUET


     DEBTOR(S)                                                          JUDGE: HARLIN D. HALE



           AGREED ORDER FINDING, DEEMING AND DETERMINING MORTGAGE TO BE CURRENT, OR
       DELINQUENT IN THE AMOUNT SET FORTH IN TRUSTEE’S “NOTICE OF AMOUNT DEEMED NECESSARY
                                            TO CURE”

            Pursuant to Local Bankruptcy Rule 3002-2(b), the Chapter 13 Trustee filed and served his “Notice
     of Amount Deemed Necessary to Cure” (“Notice”) (Docket #36), on the below named mortgage creditor.
     Such Notice contained negative notice language as authorized by Local Bankruptcy Rule 9007-1, informing
     the mortgage creditor of their obligation to file and serve a Response within 60 days, or else the
     information contained in the Notice would be deemed unopposed and/or undisputed.




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         The below named mortgage creditor:

                -      Filed an untimely Response, disputing in whole or in part the amounts set forth in the
                       Notice, and appeared at the pre-hearing conference.

         The Debtor:

                -      Filed no Response, and has no opposition to the mortgage creditor’s response as
                       being untimely filed.

        IT IS ORDERED that as of the date of the notice, the Debtor(s) plan payment delinquency was
 $313.77

        IT IS FURTHER ORDERED that as of June 12, 2015, the principal amount due on any pre-petition
 and/or post-petition home mortgage claim by the below named mortgage creditor is as follows:

 Mortgage Creditor/Holder          Pre/Post        Court Claim # Trustee Claim #            Amount

 Seterus Inc.                      Pre-petition    13                  13                   $6,404.49

        IT IS FURTHER ORDERED that except as otherwise provided hereinabove, the HOME MORTGAGE
 REGULAR MONTHLY PAYMENT on the mortgage held by Seterus Inc., which is not being paid by the
 Chapter 13 Trustee is DELINQUENT in the amount of $14,061.14 as of August 26, 2015.

         IT IS FURTHER ORDERED that the above named creditor shall be precluded from asserting any
 other pre-petition (cure) amounts or post-petition arrearages that allegedly accrued before the date of
 the Notice, June 12, 2015, in any Contested Matter or Adversary Proceeding in this case, or in any other
 manner, matter, or forum after discharge in this case, except as hereinabove set forth.

                                           ### End of Order ###

 AGREED AS TO FORM:


 /s/ Tara Tankersley
 Tara Tankersley,
 State Bar No. 19636900
 Attorney For Tom Powers
 125 E John Carpenter Freeway
 Suite 1100 11th Floor
 Irving, TX 75062
 (214) 855-9200
 Fax: (214) 965-0758
 Email: tara.tankersley@dallasch13.com




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 /s/ Donna Wilkinson
 Donna Wilkinson
 Attorney for Wells Fargo Bank NA
 15000 Surveyor Blvd Suite 100
 Addison, Texas 75001
 State Bar No 24084098
 972-386-5040




 /s/ Paul Wright
 Herrin & Wright PLLC
 State Bar No. IL 6298791
 Attorney for Debtors
 1328 Clearwater Drive
 Grand Prairie, Texas 75052
 214-810-5294




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                                                                                   of 295
                                                                                      3
 Fill in this information to identify the case:

  Debtor 1      CHERYL LYNN DECLOUET
                ____________________________________________________________________

  Debtor 2       __________________________________________________________________
 (Spouse, if filing)

                                          Northern
  United States Bankruptcy Court for the: ______________________             Texas
                                                                 District of __________
                                                                          (State)
               14-30153-HDH-13
  Case number ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                  12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                           FEDERAL NATIONAL MORTGAGE ASSOCIATION
  Name of creditor: (“FANNIE MAE”), CREDITOR C/O SETERUS, INC.                            Court claim no. (if known): 13


  Last four digits of any number you use to
  identify the debtor’s account:                           5   2     2       3


  Does this notice supplement a prior notice of postpetition fees,
  expenses, and charges?
  q
  X       No
  q       Yes. Date of the last notice: ____ ____ ______

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                      Dates incurred                                             Amount

   1. Late charges                                                                                                          (1)   $
   2. Non-sufficient funds (NSF) fees                                                                                       (2)   $
   3. Attorney fees                                                      9/1/16                                             (3)   $        100.00

   4. Filing fees and court costs                                                                                           (4)   $
   5. Bankruptcy/Proof of claim fees                                                                                        (5)   $
   6. Appraisal/Broker’s price opinion fees                                                                                 (6)   $
   7. Property inspection fees                                           3/16/16, 4/13/16, 5/11/16, 6/15/16, 7/13/16, 8/1/1 (7)   $         90.00

   8. Tax advances (non-escrow)                                                                                             (8)   $
   9. Insurance advances (non-escrow)                                                                                       (9)   $
 10. Property preservation expenses. Specify:                                                                              (10)   $
 11. Other. Specify:                                                                                                       (11)   $
 12. Other. Specify:                                                                                                       (12)   $
 13. Other. Specify:                                                                                                       (13)   $
 14. Other. Specify:                                                                                                       (14)   $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                        Notice of Postpetition Mortgage Fees, Expenses, and Charges                                       page 1

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Debtor 1    CHERYL LYNN DECLOUET
            _______________________________________________________                                                       14-30153-HDH-13
                                                                                                   Case number (if known) _____________________________________
            First Name         Middle Name            Last Name




 Part 2: Sign Here


   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your ddress and
   telephone number.
   Check the appropriate box.

   q     I am the creditor.
   q     I am the creditor’s authorized agent.


   I declare under penalty of perjury that the information provided in this claim is true and correct to the best
   of my knowledge, information, and reasonable belief.



             /s/ JOHN R. CALLISON
                 Signature
                                                                                                        Date    0 9 /_____
                                                                                                                ____  0 2 / ________
                                                                                                                             2016




Print:            JOHN R.                                          CALLISON                             Title   ATTORNEY FOR CLAIMANT
                  First Name                 Middle Name                  Last Name



 Company          BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP


 Address          4004 BELTLINE RD. SUITE 100
                  Number                     Street
                  ADDISON, TEXAS 75001-4320
                  City                                            State               ZIP Code




 Contact phone ______ _____ _________                                                                   Email NDECF@BDFGROUP.COM




Official Form 410S2                                   Notice of Postpetition Mortgage Fees, Expenses, and Charges                                      page 2

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                                                CERTIFICATE OF SERVICE


            I hereby certify that on September 02, 2016, a true and correct copy of the Notice of Post

    Petition Mortgage Fees, Expenses and Charges was served via electronic means as listed on the

    Court's ECF noticing system or by regular first class mail to the parties listed on the attached list.

                                                         Respectfully submitted,

                                                         BARRETT DAFFIN FRAPPIER
                                                         TURNER & ENGEL, LLP


                                                          BY: /s/ JOHN R. CALLISON                       09/02/2016
                                                              JOHN R. CALLISON
                                                              TX NO. 24076295
                                                              4004 BELTLINE RD. SUITE 100
                                                              ADDISON, TX 75001-4320
                                                              Facsimile: (972) 661-7725
                                                              E-mail: NDECF@BDFGROUP.COM
                                                              ATTORNEY FOR CLAIMANT


    BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

     DEBTORS:
     CHERYL LYNN DECLOUET
     1328 CLEARWATER DRIVE
     GRAND PRAIRIE, TX 75052

     CHERYL LYNN DECLOUET
     1328 CLEARWATER DRIVE
     GRAND PRAIRIE, TX 75052

    DEBTOR'S ATTORNEY:
    C. DANIEL HERRIN
    4925 GREENVILLE AVE
    SUITE 130
    DALLAS, TX 75206

    TRUSTEE:
    THOMAS POWERS
    125 E. JOHN CARPENTER FRWY.
    SUITE 1100
    IRVING, TX 75062-2288


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                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
IN RE:                                                            §
                                                                  §      CASE NO. 14-30153-HDH-13
CHERYL LYNN DECLOUET                                              §
     DEBTOR                                                       §



                       TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
referenced in this evidence and notice.
                                                                         SETERUS INC., AS AUTHORIZED SUBSERVICER
Fay Servicing, LLC as servicing agent for PROF-2013-                     FOR FEDERAL NATIONAL MORTGAGE
M4 Legal Title Trust II, by U.S. Bank National                           ASSOCIATION (“FANNIE MAE”), CREDITOR C/O
Association, as Legal Title Trustee                                      SETERUS, INC.
                  Name of Transferee                                                   Name of Transferor


Name and Address where notices to transferee should                      Court Claim # (if known): 13-1
be sent:                                                                 Amount of Claim: $116,815.44
                                                                         Date Claim Filed: 05/13/2014
     Fay Servicing, LLC
     Bankruptcy Department
     939 W. North Avenue Suite 680
     Chicago, Illinois 60642
Phone: 312-780-0011                                                      Phone:
Last Four Digits of Acct #: xxxxxx8046                                   Last Four Digits of Acct.#: 5223
Name and Address where transferee payments should
be sent (if different from above):
     Fay Servicing, LLC
     Bankruptcy Department
     939 W. North Avenue Suite 680
     Chicago, Illinois 60642
Phone: 312-780-0011
Last Four Digits of Acct #: xxxxxx8046
I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge
and belief.
By: /s/ John J. Rafferty
    Transferee/Transferee's Agent                             Date:                        11/15/2016

    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




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                           CERTIFICATE OF SERVICE OF TRANSFER OF CLAIM
 I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
 interest on or before November 15, 2016 via electronic notice unless otherwise stated:


 Debtor           Via U.S. Mail
 Cheryl Lynn DeClouet
 1328 Clearwater Drive
 Grand Prairie, TX 75052


 Debtors' Attorney
 Daniel Herrin
 Herrin Law, PLLC
 4925 Greenville Ave
 Suite 130
 Dallas, TX 75206


 Chapter 13 Trustee
 Thomas Powers
 125 E. John Carpenter Frwy., Suite 1100
 Irving, TX 75062-2288


 U.S. Trustee
 United States Trustee
 1100 Commerce Street
 Room 976
 Dallas, TX 75242




                                                       Respectfully Submitted,
                                                       /s/ John J. Rafferty
                                                       John J. Rafferty




 TRANSFER OF CLAIM - CERTIFICATE OF SERVICE              1                                              POC_CertOfServ
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                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS




 In RE: CHERYL LYNN DECLOUET                                                   Case No. 14-30153




                                 NOTICE OF CREDITOR CHANGE OF ADDRESS

                   The creditor in the above entitled case hereby requests that the mailing address,
       pertaining to both notices and payments, listed in the above stated case be changed;




 FROM:                                                       TO:
 Fay Servicing, LLC
 ____________________________________                        Fay Servicing, LLC
                                                             _____________________________________
 939 W North Avenue,                                         440 S. LaSalle Street,
 ____________________________________                        _____________________________________
 Suite 680                                                   Suite 2000
 ____________________________________                        _____________________________________
 Chicago, IL 60642                                            Chicago, IL 60605
 ____________________________________                        _____________________________________




 Dated: 5/9/2017                                             /s/ Ashley Boswell
                                                             _____________________________________
                                                             Creditor's Authorized Agent for Fay Servicing LLC




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Office of the Standing Chapter 13 Trustee
125 E John Carpenter Freeway Suite 1100 11th Floor
Irving, TX 75062
Telephone: (214) 855-9200 Facsimile: (214) 965-0758
                                             IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE NORTHERN DISTRICT OF TEXAS
                                                          DALLAS DIVISION
 IN RE:
                                                                      Case No. 14-30153-HDH-13
                                                                      Hearing Date: 9/28/2017 8:30 AM
 CHERYL LYNN DECLOUET (xxx-xx-1883)

 1328 CLEARWATER DRIVE
 GRAND PRAIRIE, TX 75052
                                                                      CHAPTER 13
 Debtor

ATTENTION FAY SERVICING LLC, Court Claim No. 13
                                NOTICE OF AMOUNT DEEMED NECESSARY TO CURE MORTGAGE ARREARS
                         (per Local Bankruptcy Rule 3002-2 regarding Trustee's Mid Case Audit of Plan and Mortgage )


                                                      SCHEDULING ORDER

A Scheduling Order will be served by the Bankruptcy Clerk which will establish specific, important, and mandatory
dates and deadlines concerning this Notice. If there is any conflict between the Scheduling Order and this Notice, the
Scheduling Order will control.

                                                      RESPONSE REQUIRED

ON OR BEFORE 60 DAYS FROM THE SERVICE OF THIS NOTICE OF AMOUNT DEEMED NECESSARY TO CURE
MORTGAGE ARREARS, IF THE CREDITOR/HOLDER NAMED ABOVE DISPUTES THE INFORMATION IN THE NOTICE,
THE CREDITOR/HOLDER MUST FILE WITH THE CLERK OF THE COURT AT U.S. BANKRUPTCY COURT, 1100
COMMERCE ST 14TH FLOOR, DALLAS, TEXAS, 75242, A WRITTEN RESPONSE AND SERVE IT ON THE DEBTOR,
DEBTOR'S ATTORNEY, AND THE CHAPTER 13 TRUSTEE, PURSUANT TO LOCAL BANKRUPTCY RULE 3002 -2(c),
INDICATING WHETHER THE CREDITOR/HOLDER DISPUTES THE INFORMATION IN THIS NOTICE.

THE RESPONSE MUST ALSO ITEMIZE CURE AMOUNTS OR POST -PETITION ARREARS, IF ANY, THAT THE
CREDITOR/HOLDER CONTENDS EXIST AS OF THE DATE OF THE RESPONSE.

FAILURE BY CREDITOR/HOLDER NAMED ABOVE TO RESPOND TIMELY TO THIS NOTICE MAY RESULT IN THE ENTRY
OF A DEFAULT ORDER BY THE COURT DEEMING THE MORTGAGE TO BE CURRENT, OR DELINQUENT IN THE
AMOUNT(S) SET FORTH IN THIS NOTICE.

THE ENTRY OF SUCH AN ORDER MAY PRECLUDE THE CREDITOR/HOLDER OF THE CLAIM FROM ASSERTING
OTHER CURE AMOUNTS OR POST-PETITION ARREARS THAT ALLEGEDLY ACCRUED BEFORE THE DATE OF THIS
NOTICE IN ANY CONTESTED MATTER OR ADVERSARY PROCEEDING IN THE CASE OR IN ANY OTHER MATTER,
MANNER, OR FORUM AFTER DISCHARGE IN THIS CASE, UNLESS THE COURT DETERMINES, AFTER NOTICE AND
HEARING, THAT THE FAILURE WAS SUBSTANTIALLY JUSTIFIED OR IS HARMLESS.




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                                                                                  Notice of Amount Deemed Necessary to Cure Mortgage Arrears
                                                                                                                 CHERYL LYNN DECLOUET
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                                                    NEGATIVE NOTICE
                                           (per Local Bankruptcy Rule 9007-1(c))

NO HEARING WILL BE CONDUCTED ON THIS "NOTICE OF AMOUNT DEEMED NECESSARY TO CURE MORTGAGE
ARREARAGE" UNLESS A WRITTEN RESPONSE BY THE CREDITOR/HOLDER NAMED ABOVE IS FILED BEFORE THE
CLOSE OF BUSINESS AT LEAST 60 DAYS FROM THE DATE OF SERVICE HEREOF, OR UNLESS A WRITTEN
RESPONSE BY THE DEBTOR IS FILED BEFORE THE CLOSE OF BUSINESS AT LEAST 90 DAYS FROM THE DATE OF
SERVICE HEREOF, WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT U.S. BANKRUPTCY COURT,
1100 COMMERCE ST 14TH FLOOR, DALLAS, TEXAS, 75242.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A COPY SHALL BE SERVED UPON THE
DEBTOR, COUNSEL FOR THE DEBTOR, IF ANY, THE CREDITOR/HOLDER, COUNSEL FOR THE CREDITOR/HOLDER, IF
ANY, AND THE CHAPTER 13 TRUSTEE.

IF A RESPONSE IS TIMELY FILED BY CREDITOR/HOLDER OR THE DEBTOR, A PRE -HEARING CONFERENCE WILL BE
HELD AT 8:30 AM ON 09/28/2017 AT THE OFFICE OF TOM POWERS, CHAPTER 13 TRUSTEE, 125 E JOHN CARPENTER
FREEWAY STE 1100, IRVING, TEXAS 75062. ANY MATTERS UNRESOLVED AT THE TRUSTEE'S PRE -HEARING
CONFERENCE WILL BE HEARD BY THE COURT AT 2:00 pm ON 09/28/2017.


IF NO RESPONSE IS TIMELY FILED, THE INFORMATION CONTAINED IN THIS NOTICE WILL BE DEEMED UNOPPOSED
AND/OR UNDISPUTED, AND THE COURT WILL ISSUE AN ORDER BY DEFAULT, FINDING THE MORTGAGE TO BE
CURRENT, OR DELINQUENT IN THE AMOUNT SET FORTH HEREIN, AS OF THE DATE OF THIS NOTICE.

Pursuant to Local Bankruptcy Rule 3002-2(b), the Chapter 13 Trustee, Tom Powers, files this Notice of Amount Deemed
Necessary to Cure Mortgage Arrears ("Notice").


                                                      PLAN ARREARAGE

To the Trustee's knowledge, the Debtor are current on their plan, or if not, the amount believed necessary to cure any default on
the plan is $268.01.




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                                                                                Notice of Amount Deemed Necessary to Cure Mortgage Arrears
                                                                                                               CHERYL LYNN DECLOUET
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                                    PRE-PETITION MORTGAGE ARREARAGE

The amount believed necessary to cure any pre-petition home mortgage arrearage claim(s) ("cure amount") is as follows

Name of Creditor: FAY SERVICING LLC
Claim Type: HOME MORTGAGE ARREARAGE

Court Claim #   Trustee Claim#     Account Number      Claim Amount                Claim Allowed                          Amount Paid

     13            13                    8046          $7,331.15                     $7,331.15                  Principal +   $7,331.15
                                                                                                                Interest          $0.00

                                                                                                                              $7,331.15
Total Amount Paid By Trustee:
PRINCIPAL AMOUNT NECESSARY TO CURE PRE-PETITION MORTGAGE ARREARAGE CLAIM (TRUSTEE CLAIM #13)
TO BE PAID BY THE TRUSTEE, IF ANY: $0.00

                          ONGOING "CURRENT" MONTHLY MORTGAGE PAYMENTS



Name of Creditor: FAY SERVICING LLC
Claim Type: HOME MORTGAGE REGULAR PAYMENT

Court Claim #   Trustee Claim#     Account Number      Claim Amount                Claim Allowed


     13            21                    8046          $116,815.44                  $116,815.44



Total Amount Paid By Trustee: - NONE




THE ONGOING "CURRENT" MONTHLY MORTGAGE PAYMENTS ARE, ACCORDING TO THE PLAN, TO BE PAID
DIRECT BY THE DEBTOR. THE TRUSTEE HAS NO KNOWLEDGE OF THE STATUS OF THOSE ONGOING PAYMENTS,
OR ANY POST-PETITION ARREARS THEREON, EXCEPT AS NOTED ABOVE. HOWEVER, THE HOLDER OF THE CLAIM
MUST ITEMIZE IN ITS RESPONSE ANY OTHER PRE-PETITION ARREARAGES OR ANY POST-PETITION ARREARS
THAT THE HOLDER CONTENDS EXIST AS OF THE DATE OF THE RESPONSE; OTHERWISE THE COURT WILL ISSUE
AN ORDER BY DEFAULT, FINDING THE MORTGAGE TO BE CURRENT AS OF THE DATE OF THIS NOTICE.

    Date: 06/14/2017                                            RESPECTFULLY SUBMITTED,

                                                                /s/ Thomas D. Powers
                                                                Thomas D. Powers, Trustee
                                                                State Bar No. 16218700
                                                                Office of the Standing Chapter 13 Trustee
                                                                125 E John Carpenter Freeway Suite 1100 11th Floor
                                                                Irving, TX 75062
                                                                Telephone: (214) 855-9200 Facsimile: (214) 965-0758




                                                    Exhibit "P" - Page 3 of 4
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                                                                  CERTIFICATE OF SERVICE

        The undersigned does hereby ceritfy that a true and correct copy of the foregoing was sent to all parties as listed below on
 June 14, 2017, either electronically or via U.S. First Class Mail.

Debtor:           Cheryl Lynn Declouet, 1328 Clearwater Drive, Grand Prairie, Tx 75052
Attorney:         Herrin Law Pllc, 4925 Greenville Ave Suite 130, Dallas, Tx 75206**
Creditor(s):      Barrett Daffin Frappier Et Al, 15000 Surveyor Blvd Suite 100, Addison, Tx 75001**
                  Butler & Hosch Pa, 13800 Montfort Dr Ste 300, Dallas, Tx 75240**
                  County Of Dallas, Co Linebarger Goggan Blair Et Al, 2777 N Stemmons Fwy Ste 1000, Dallas, Tx 75207**
                  Fay Servicing Llc, 440 S Lasalle St Suite 2000, Chicago, Il 60605
                  Henry Oddo Austin And Fletcher Et Al, 1700 Pacific Ave Ste 2700, Dallas, Tx 75201**
**Indicates party has elected to receive all notifications via electronic service and was not served a copy via United States First Class Mail.

      Date: 06/14/2017                                                                 RESPECTFULLY SUBMITTED,

                                                                                       /s/ Thomas D. Powers
                                                                                       Thomas D. Powers, Trustee
                                                                                       State Bar No. 16218700
                                                                                       Office of the Standing Chapter 13 Trustee
                                                                                       125 E John Carpenter Freeway Suite 1100 11th Floor
                                                                                       Irving, TX 75062
                                                                                       Telephone: (214) 855-9200 Facsimile: (214) 965-0758




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BTXN 220 (03/14)
                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Cheryl Lynn DeClouet                                        §    Case No.: 14−30153−hdh13
                                                            §    Chapter No.: 13
                                         Debtor(s)          §


    SCHEDULING ORDER REGARDING MID−CASE NOTICE OF AMOUNT DEEMED
               NECESSARY TO CURE MORTGAGE ARREARAGE
On 6/14/17, the chapter 13 trustee filed and served a "Notice of Amount Deemed Necessary to Cure Mortgage
Arrearage" (the "Mortgage Notice" ). This scheduling order shall govern any disputes over the Mortgage Notice.

THE FOLLOWING DEADLINES APPLY IN THE CASE:

The Mortgage Notice is set for pre−hearing conference on 9/28/17 at 8:30 AM at Thomas Powers, Ch. 13 Trustee,
125 E. John Carpenter Frwy., Suite 1100 Irving, TX 75062−2288. The trustee is not required to send a seperate
notice of the pre−hearing conference to any party.

If the lender disputes the information in the Mortgage Notice, the lender must file a response (the "Lender's
Response" ) on or before 8/13/17. The Lender's Response must be served on the chapter 13 trustee, the debtor and the
debtor's counsel, if the debtor has counsel. The Lender's Response must include an itemization of any cure amounts
or post−petition arrearages the lender contends existed as of the date of the Lender's Response. If the lender fails to
respond by the deadline provided herein or files a response stating that the lender agrees with the Mortgage Notice
and the debtor does not timely file a Debtor's Reply as described herein, the lender is not required to attend the
pre−hearing conference and the court will enter an order approving the amounts asserted in the Mortgage Notice.

If the debtor disputes the information in the Mortgage Notice or if the lender files a Lender's Response and the debtor
disputes the information in the Lender's Response, the debtor must file a reply (the "Debtor's Reply" ) on or before
9/12/17. The Debtor's Reply must admit or deny whether any pre− or post− petition delinquency exists and must
provide specific information to contest any delinquency asserted by the trustee in the Mortgage Notice and/or the
lender in the Lender's Response. If the debtor denies any asserted delinquency, a general denial will not suffice;
rather, the Debtor's Reply must provide specific facts in support of the denial, such as the date and amount of any
payment the debtor made that supports the debtor's denial of delinquency. If the Debtor's Reply does not contain such
specific information, the trustee may grant the debtor an additional 14 days to provide specific information. If the
debtor fails to provide the specific information within the 14−day period, the trustee may deem the Debtor's Reply to
be a default under the terms of the order. The Debtor's Reply must be served on the chapter 13 trustee, the lender and
the lender's counsel, if the lender has counsel. If the debtor fails to respond by the deadline provided herein or files a
response stating that the debtor agrees with the Mortgage Notice and the Lender's Response (if any), the debtor is not
required to attend the pre−hearing conference and the court will enter an order approving the amounts asserted in the
Mortgage Notice, except as follows: if a timely filed Lender's Response asserts a different post−petition arrearage
than that asserted in the Mortgage Notice, the post−petition arrearage in the Lender's Response shall control and be
set forth in the order regarding the Mortgage Notice.

At the time set for the pre−hearing conference, if there are any unresolved disputes raised in either the Lender's
Response or the Debtor's Reply, the disputing parties must attend the pre−hearing conference.

If the lender is a disputing party and the lender does not attend the pre−hearing conference and no timely Debtor's
Reply is filed, the court will enter an order approving the amounts asserted by the trustee in the Mortgage Notice. If a
Debtor's Reply is filed timely, the court will enter an order approving the amounts asserted in the Mortgage Notice
except as follows: if the debtor asserts a different post−petition arrearage in the Debtor's Reply on that part of the
mortgage claim being paid post−petition directly by the debtor to the mortgage holder, such post−petition arrearage
asserted in the Debtor's Reply shall control and be set forth in the order regarding the Mortgage Notice.

If the debtor is a disputing party and the debtor does not appear at the pre−hearing conference, the court will enter an
order approving the amounts asserted in the Mortgage Notice except as follows: if a timely filed Lender's Response
asserts a different post−petition arrearage than that asserted in the Mortgage Notice on that part of the mortgage claim
being paid post−petition directly by the debtor to the mortgage holder, such post−petition arrearage asserted in the
Lender's Response shall control and be set forth in the order regarding the Mortgage Notice.


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If the trustee is not a disputing party and the debtor and the lender are both disputing parties and neither the debtor
nor the lender appear at the pre−hearing conference, the court will enter an order approving the amounts asserted in
the Mortgage Notice except as follows: if the debtor asserts a different post−petition arrearage in a timely filed
Debtor's Reply on that part of the mortgage claim being paid post−petition directly by the debtor to the mortgage
holder, such post−petition arrearage asserted in the Debtor's Reply shall control and be set forth in the order regarding
the Mortgage Notice.

If the matter is not resolved as of the time of the pre−hearing conference, the trustee shall either set the matter on the
next regular chapter 13 court docket, or at the trustee's option, contact the courtroom deputy and obtain a special
setting for an evidentiary hearing. The court will use its best efforts to provide an evidentiary hearing within 30 to 45
days after the pre−hearing conference. All witness and exhibit lists must be filed and exhibits must be exchanged at
least three business days before the evidentiary hearing date.

Once the court enters an order on the Mortgage Notice, the debtor and the lender will be barred from contesting the
amounts set out in the order in any contested matter or adversary proceeding in this case, or in any other matter,
manner or forum after a discharge in the case, unless the court determines, after notice and a hearing, that the failure
to respond or the failure to attend the pre−hearing conference was substantially justified or is harmless.



DATED: 6/15/17                                   FOR THE COURT:
                                                 Jed G. Weintraub, Clerk of Court

                                                 by: /s/Kara Hyden, Deputy Clerk




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 C. Daniel Herrin
 State Bar No. 24065409
 HERRIN LAW, PLLC
 4925 Greenville Avenue, Suite 130
 Dallas, Texas 75206
 (469) 607-8551 Phone
 (214) 722-0271 Fax
 ATTORNEY FOR DEBTOR

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE                                          §
                                                §       CASE NO. 14-30153-HDH
 CHERYL LYNN DECLOUET                           §
                                                §       CHAPTER 13
         Debtor                                 §

         MOTION TO OBTAIN APPROVAL MORTGAGE LOAN MODIFICATION

 NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE
 IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
 EARLE CABELL FEDERAL BUILDING, 1100 COMMERCE ST., RM. 1254, DALLAS,
 TX 75242-1496 BEFORE CLOSE OF BUSINESS ON AUGUST 28, 2017, WHICH IS AT
 LEAST 24 DAYS FROM THE DATE OF SERVICE HEREOF.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
 COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
 THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A
 HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
 RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
 MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
 ACTION MAY BE TAKEN.

 TO THE HONORABLE JUDGE OF THIS COURT:

         COMES NOW, Cheryl Lynn DeClouet, (hereinafter, "Debtor"), who files this Motion

 to Obtain Approval of Mortgage Loan Modification, (hereinafter, "Motion"), and would

 respectfully show the Court as follows:

 1.      This Court has jurisdiction over this matter pursuant to 11 U.S.C. §105(a), 28 U.S.C.




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        §157(b)(1), and 28 U.S.C. §1334. This matter constitutes a core proceeding as defined

        by 28 U.S.C. §157(b)(2)(D).

 2.     Debtor filed the current petition for relief under Chapter 13 on January 6, 2014.

 3.     Debtor has a mortgage with Fay Servicing, LLC.

 4.     Debtor and Fay Servicing, LLC have reached an agreement concerning the current

        Mortgage Loan which is attached hereto and incorporated herein as Exhibit "A". The

        Debtor was not charged any fees by Fay Servicing, LLC in association with modifying

        the Mortgage Loan.

 5.     Pursuant to the Mortgage Loan Modification, the mortgage arrears will be subsumed in

        the refinancing and a plan modification will be required to remove the arrears from the

        Debtor's Chapter 13 Plan.

 6.     Pursuant to Clerk's Notice 09-03, the Debtor has filed amended schedules I & J, attached

        hereto and incorporated herein as Exhibit "B".

 7.     This loan modification is in the Debtor's best interest. Debtor's prior mortgage contained

        an original principal balance of $123,950.00 financed over a term of 360 months with a

        fixed interest rate of 7.375%. The Debtor's prior mortgage payment totaled $1,326.84

        which consisted of a principal and interest payment of $856.10 and an additional escrow

        payment of $470.74. Under the new Mortgage Loan Modification, the principal balance

        will be $129,308.15 amortized over a term of 480 months, payable over a term of 232

        months, with a fixed interest rate of 7.000%. The Debtor's proposed new mortgage

        payment shall be $1,549.52 which contains a principal and interest payment of $850.94

        and an escrow payment of $698.58.




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        WHEREFORE, PREMISES CONSIDERED, Debtor respectfully request the Court to

 enter an order granting Debtor's Motion and award attorney fees to Debtor's counsel, Herrin

 Law, PLLC of two hundred and fifty dollars ($250.00) for services rendered in filing this motion,

 to be paid direct by the Debtor.


 Dated: August 2, 2017


                                                      Respectfully Submitted,

                                                      HERRIN LAW, PLLC

                                                      /s/ C. Daniel Herrin
                                                      C. Daniel Herrin
                                                      State Bar No. 24065409
                                                      4925 Greenville Avenue, Suite 130
                                                      Dallas, Texas 75206
                                                      (469) 607-8551 Phone
                                                      (214) 722-0271 Fax
                                                      ATTORNEY FOR DEBTOR




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                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on August 3, 2017, a true and correct copy of the

 foregoing was served on all parties in interest below and on the attached mailing matrix via

 electronic mail or first class mail.


 DEBTOR:
 Cheryl Lynn DeClouet
 1328 Clearwater Drive
 Grand Prairie, TX 75052

 STANDING CHAPTER 13 TRUSTEE:
 Thomas Powers
 123 E. John Carpenter Fwy., Suite 1100
 Irving, Texas 75062

 U.S. TRUSTEE
 Rm. 976
 1100 Commerce Street
 Dallas, TX 75242




                                                         By: /s/ C. Daniel Herrin
                                                         C. Daniel Herrin
                                                         State Bar No. 24065409




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                                        Exhibit "A"




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS

     IN RE:
                CHERYL LYNN DECLOUET
                                                                             Case no: 14-30153
                                                                             Chapter: 13

                  NOTICE OF TRANSFER OF SERVICING OR NAME CHANGE OR
                                  CHANGE OF ADDRESS

            PLEASE TAKE NOTICE that the servicing of the Mortgage Loan as set out in Proof of
     Claim No. 13       filed on 05/13/2014    in the amount of $116815.44      by Fay Servicing,
     LLC. (“Transferor”), with the address of 440 S. LaSalle St. Suite 2000 Chicago, IL 60605
     has been transferred OR the name of the Mortgage Lender has changed OR the address for
     payment has been changed. The new information is set out below:

     Servicer Name (if changed): Fay Servicing, LLC.


     Address: 3000 Kellway Dr. Ste 150 Carrollton, TX 75006

     Contact Person: Bankruptcy Department

     Telephone Number: 312-291-3781                                   Fax Number:

     E-mail: bkprocessing@fayservicing.com

     Effective Date: 08/29/2017

     Mortgage Lender name, address, and phone/fax

                                                               Date: 08/29/2017
 Fay Servicing, LLC
 3000 Kellway Dr. Ste 150 Carrollton, TX 75006
 312-291-3781



             /s/ Padma Vaghela
              [signature of authorized individual]
     Its:     Claims Processor
              [title of authorized individual]




                                                 Exhibit "T" - Page 1 of 1
    Case20-03002-hdh
   Case  14-30153-hdh13
                     Doc Doc 88 Filed
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                                   01/03/20      Entered 09/14/17
                                                      01/03/20    11:04:38Page
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The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 14, 2017
                                            United States Bankruptcy Judge
  ______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

      IN RE                                            §
                                                       §      CASE NO. 14-30153-HDH
      CHERYL LYNN DECLOUET                             §
                                                       §      CHAPTER 13
              Debtor                                   §

                        ORDER GRANTING DEBTOR'S MOTION TO
                  OBTAIN APPROVAL OF MORTGAGE LOAN MODIFICATION

              CAME ON BEFORE THE COURT, Debtor's Motion to Obtain Approval of Mortgage

     Loan Modification (the "Motion") filed on August 2, 2017 and having considered its merits the

     Court finds that good cause exists and the Motion should be granted. It is therefore:

              ORDERED, ADJUDGED, DECREED, that the Loan Modification between Debtor and

     Fay Servicing, LLC, as further detailed in the attached Exhibit "A" to the Motion              is

     APPROVED.




                                           Exhibit "U" - Page 1 of 2
 Case20-03002-hdh
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        IT IS FURTHER ORDERED, that Herrin Law, PLLC is awarded $400.00 in attorney

 fees to be paid direct by the Debtor.


                                     ### END OF ORDER ###

 Prepared and submitted by:


 /s/ C. Daniel Herrin
 C. Daniel Herrin
 State Bar No. 24065409
 HERRIN LAW, PLLC
 4925 Greenville Avenue, Suite 130
 Dallas, Texas 75206
 (469) 607-8551 Phone
 (214) 722-0271 Fax
 ATTORNEY FOR DEBTOR




                                         Exhibit "U" - Page 2 of 2
Case
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    B2100B (Form 2100B) (12/15)

                           United States Bankruptcy Court
                           _______________
                           NORTHERN        District Of _______________
                                                       TEXAS


          CHERYL LYNN DECLOUET
    In re ______________________________,                            14-30153-HDH-13
                                                            Case No. ________________




          NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
                13-1 (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
    Claim No. _____
    alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
                                                                   10/4/17 (date).
    Other than for Security in the clerk’s office of this court on ______



    Name of Alleged Transferor                                               Name of Transferee
     Fay Servicing, LLC as servicing agent for PROF-2013-                    U.S. Bank Trust National Association, as
     M4 Legal Title Trust II, by U.S. Bank National
     Association, as Legal Title Trustee                                     Trustee of the Igloo Series III Trust

    Address of Alleged Transferor:                                           Address of Transferee:
     c/o Fay Saervicing, LLC                                                  c/o BSI Financial Services
     939 W. North Avenue, Ste. 680                                            1425 Greenway Drive, Ste 400
     Chicago, IL 60642                                                        Irving, TX 75038

                                  ~~DEADLINE TO OBJECT TO TRANSFER~~
    The alleged transferor of the claim is hereby notified that objections must be filed with the court
    within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
    court, the transferee will be substituted as the original claimant without further order of the court.




    Date:_________                                                      ______________________________
                                                                          CLERK OF THE COURT




                                                Exhibit "V" - Page 1 of 1
      Case
       Case20-03002-hdh
            14-30153-hdh13
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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed October 4, 2017
                                              United States Bankruptcy Judge
    ______________________________________________________________________




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION

 In Re: CHERYL LYNN DECLOUET                                                       Case # 14-30153-HDH-13
                                                                                   Chapter 13

                                                                                   JUDGE HARLIN D. HALE
  Debtor



       ORDER FINDING, DEEMING AND DETERMINING MORTGAGE TO BE CURRENT, OR
                DELINQUENT IN THE AMOUNT SET FORTH IN TRUSTEE'S
                 "NOTICE OF AMOUNT DEEMED NECESSARY TO CURE"
    Pursuant to Local Bankruptcy Rule 3002-2(b), the Chapter 13 Trustee filed and served his "Notice of Amount Deemed
Necessary to Cure" ("Notice") (Docket# 68 ), on the below named mortgage creditor. Such Notice contained negative notice
language as authorized by Local Bankruptcy Rule 9007-1, informing the mortgage creditor of their obligation to file and serve
a Response within 60 days, or else the information contained in the Notice would be deemed unopposed and/or undisputed.


    The Mortgage Creditor:
         - Filed a timely Response, disputing in whole or in part the amounts set forth in the Trustee's Notice.


    The Debtor:
      - Did not file a Reply and is wholly defaulted. Therefore, the amounts set forth in the Creditor's Response are
deemed correct and the amounts are approved.




                                                  Exhibit "W" - Page 1 of 2
     Case
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           14-30153-hdh13
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   THEREFORE, IT IS ORDERED that as of 06/14/2017, the principal amount due on any pre-petition and/or post-petition
home mortgage arrearage claim by the below named mortgage creditor to be paid by the Trustee is as follows:

MORTGAGE CREDITOR/HOLDER          PRE/POST                                  COURT CLAIM #   TRUSTEE CLAIM #       AMOUNT

FAY SERVICING LLC                 PRE-PETITION MORTGAGE ARREARAGE                 13                13              $0.00


    IT IS FURTHER ORDERED that except as otherwise provided hereinabove, the HOME MORTGAGE REGULAR
MONTHLY PAYMENT on the mortgage held by FAY SERVICING LLC, which is not being paid by the Chapter 13 Trustee
is DELINQUENT $27,486.87 as of 08/14/2017.

     IT IS FURTHER ORDERED that the above named creditor shall be precluded from asserting any other pre -petition
(cure) amounts or post-petition arrearages that allegedly accrued before the date of the Notice, 06/14/2017, in any
Contested Matter or Adversary Proceeding in this case, or in any other manner, matter, or forum after a discharge in this
case, unless the Court determines, after notice and a hearing that the failure to timely file a Response was substantially
justified or is harmless.

   IT IS FURTHER ORDERED that as of Date of Notice the DEBTOR (S) PLAN PAYMENT DELINQUENCY WAS
$268.01.

                                                 ### End of Order ###


Approved by:

      /s/ Tom Powers
      Standing Chapter 13 Trustee
      State Bar No. 16218700
      125 E John Carpenter Freeway
      Suite 1100 11th Floor
      Irving, TX 75062
      (214) 855-9200
      Fax: (214) 965-0758
      Email: tomp@dallasch13.com




                                                Exhibit "W" - Page 2 of 2
Case
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     1                            UNITED STATES BANKRUPTCY COURT

     2                      NORTHERN DISTRICT OF TEXAS – (DALLAS) DIVISION

     3
         In Re:                                             ) Case No.: 14-30153
     4                                                      )
                                                            ) CHAPTER 13
         CHERYL LYNN DeCLOUET,                              )
     5
                                                            )
     6            Debtor.                                   ) REQUEST FOR NOTICE
                                                            )
     7                                                      )
                                                            )
                                                            )
     8                                                      )
                                                            )
     9                                                      )
                                                            )
    10

    11

    12

    13            REQUEST OF BSI FINANICAL SERVICES FOR SERVICE OF NOTICES

    14                           PURSUANT TO FED. R. BANKR. P. 2002(g)

    15   ____________________________________________________________________________

    16   TO:       UNITED STATES BANKRUPTCY JUDGE, THE DEBTORS, AND ALL

    17             INTERESTED PARTIES

    18             PLEASE TAKE NOTICE that BSI FINANCIAL SERVICES as servicer for U.S.

    19   Bank Trust National Association, as Trustee of the Igloo Series III Trust (“BSI”), a creditor in

    20   the above – captioned bankruptcy case, hereby requests notice of all events, pleadings, or

    21   documents filed in the above-referenced bankruptcy, including all pleadings or notices under

    22   Federal Rules of Bankruptcy Procedure, Rule 2002 and 9007, the commencement of any

    23   adversary proceedings, the filing of any requests for hearing, objections, and/or notices of

    24   motion, or any other auxiliary filings, as well as notice of all matters which must be noticed to

    25   creditors, creditors’ committees and parties-in-interest and other notices as required by the

    26   United States Bankruptcy Code and Rules and/or Local Rules of the above-referenced

    27   bankruptcy court.

    28
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                                                REQUEST FOR NOTICE
                                      Exhibit "X" - Page 1 of 4
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     1          BSI requests that for all notice purposes and for inclusion in the Master Mailing List in

     2   this case, the following address be used:

     3          PHYSICAL ADDRESS:                                    EMAIL ADDRESS:
                BSI Financial Services                               prpbk@bsifinancial.com
     4          1425 Greenway Drive, Ste. 400
     5          Irving, TX 75038

     6

     7

     8   Dated: October 09, 2017               By: /s/ Karin Murphy
                                                       Karin Murphy
     9                                                 c/o BSI Financial Services
                                                       Assistant Vice President, Foreclosure and
    10                                                 Bankruptcy
    11                                                 1425 Greenway Drive, Ste. 400
                                                       Irving, TX 75038
    12                                                 972.347.4350
                                                       prpbk@bsifinancial.com
    13

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 1                             UNITED STATES BANKRUPTCY COURT
 2                    NORTHERN DISTRICT OF TEXAS – (DALLAS) DIVISION
 3                                                         )
     In Re:                                                )   Case No.: 14-30153
 4                                                         )
 5   CHERYL LYNN DeCLOUET,                                 )   CHAPTER 13
                                                           )
 6                                                         )   CERTIFICATE OF SERVICE
              Debtors.                                     )
 7                                                         )
 8                                                         )
                                                           )
 9                                                         )
                                                           )
10                                                         )
11                                                         )

12
                                      CERTIFICATE OF SERVICE
13
14
              I am employed in the County of Orange, State of California. I am over the age of
15
     eighteen and not a party to the within action. My business address is: 5120 E. La Palma Ave.,
16
17   Ste. 206, Anaheim, CA 92807.

18            I am readily familiar with the business’s practice for collection and processing of
19   correspondence for mailing with the United States Postal Service; such correspondence would
20
     be deposited with the United States Postal Service the same day of deposit in the ordinary
21
     course of business.
22
23
24
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                                       CERTIFICATE OF SERVICE
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 1   On October 16, 2017 I served the following documents described as:
 2                         REQUEST FOR NOTICE
 3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
     envelope addressed as follows:
 5
 6   (Via United States Mail)
     Debtor                                               Chapter 13 Trustee
 7   Cheryl Lynn DeClouet                                 Thomas Powers
     1328 Clearwater Drive                                125 E. John Carpenter Frwy., Suite 1100
 8
     Grand Prairie, TX 75052                              Irving, TX 75062-2288
 9
     Debtor’s Counsel                                     U.S. Trustee
10   Daniel Herrin                                        United States Trustee
11   Herrin Law, PLLC                                     1100 Commerce Street
     4925 Greenville Avenue Suite 130                     Room 976
12   Dallas, TX 75206                                     Dallas, TX 75242
13   Michael Paul Wright
14   MP Wright Law Group, PLLC
     3500 Maple Ave, Ste 420
15   Dallas, TX 75219
16   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
17   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
18
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19   Eastern District of California
20
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
21   America that the foregoing is true and correct.
22
            Executed on October 16, 2017 at Anaheim, California
23
      /s/ Jennifer Londo
24   Jennifer Londo
25
26
27
28




                                                      2
                                      CERTIFICATE OF SERVICE
                                        Exhibit "X" - Page 4 of 4
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                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION DIVISION


 IN RE:                                                       CASE NO. 14-30153-HDH-13
                                                              CHAPTER 13
 CHERYL LYNN DECLOUET
                                                              JUDGE HARLIN D. HALE

          DEBTOR                                              NOTICE OF FINAL CURE PAYMENT


 Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Thomas D. Powers
 files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed below
 has been paid in full.

 Name of Creditor: US BANK TRUST NA




 Final Cure Amount

 Court   Account                                  Claim               Claim               Amount
 Claim # Number                                   Asserted            Allowed             Paid

    13     8046                                   $7,331.15           $7,331.15           $7,331.15

 Total Amount Paid by Trustee                                                             $7,331.15


 Monthly Ongoing Mortgage Payment

 Mortgage is Paid:

      Through the Chapter 13 Conduit                   X Direct by the Debtor


 Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
 Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the Chapter
 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor has paid
 in full the amount required to cure the default on the claim; and 2) whether the Debtor is otherwise current
 on all payments consistent with 11 U.S.C. § 1322(b)(5).

 The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
 remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
 holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.




                                          Exhibit "Y" - Page 1 of 2
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      14-30153-hdh13
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                                                                           CASE NO. 14-30153-HDH-13


                                     CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties
 listed below by ordinary U.S. Mail or served electronically through the Court’s ECF System at the e-mail
 address registered with the Court on this 26th day of October, 2017.


 CHERYL LYNN DECLOUET, 1328 CLEARWATER DRIVE, GRAND PRAIRIE, TX 75052


 ELECTRONIC SERVICE - HERRIN LAW PLLC, 4925 GREENVILLE AVE SUITE 130, DALLAS,
 TX 75206


 US BANK TRUST NA, CO BSI FINANCIAL SERVICES, 1425 GREENWAY DRIVE SUITE 400,
 IRVING, TX 75038


 ELECTRONIC SERVICE - United States Trustee


 Date: October 26, 2017                                       /s/ Thomas D. Powers
                                                              Thomas D. Powers
                                                              Chapter 13 Trustee
                                                              125 E John Carpenter Freeway
                                                              Suite 1100 11th Floor
                                                              Irving, TX 75062




                                         Exhibit "Y" - Page 2 of 2
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 Office of the Standing Chapter 13 Trustee
 125 E John Carpenter Freeway
 Suite 1100 11th Floor
 Irving, TX 75062
 (214) 855-9200


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION


 IN RE:                                                                    CASE NO: 14-30153-HDH-13
 CHERYL LYNN DECLOUET
           DEBTOR



                          Trustee's Certificate of Chapter 13 Plan Payment Completion


 TO THE HONORABLE HARLIN D. HALE, UNITED STATES BANKRUPTCY JUDGE;

    Comes now, Thomas D. Powers, Standing Chapter 13 Trustee, and would show unto the Court that the
 above referenced Debtor has completed all payments payable to the Trustee.




                                                           Respectfully submitted,
                                                           THOMAS D. POWERS, CHAPTER 13 TRUSTEE


                                                           By: /s/ Thomas D. Powers
                                                           Thomas D. Powers
                                                           State Bar No. 16218700
                                                           125 E John Carpenter Freeway
                                                           Suite 1100 11Th Floor
                                                           Irving, TX 75062
                                                           (214) 855-9200




                                         Exhibit "Z" - Page 1 of 2
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 Trustee's Certificate of Chapter 13 Plan Payment Completion
 Page 2
 Case # 14-30153-HDH-13
 CHERYL LYNN DECLOUET




                                                          Certificate of Service
 I hereby certify that copy of the foregoing "Trustee's Certificate of Chapter 13 Plan Payment Completion" has been
 served on the Debtor and Debtor's Counsel and on the other parties by United States First Class Mail or by
 electronic service.



  Debtor:             CHERYL LYNN DECLOUET, 1328 CLEARWATER DRIVE, GRAND PRAIRIE, TX 75052
  Attorney:           HERRIN LAW PLLC, 4925 GREENVILLE AVE SUITE 130, DALLAS, TX 75206**
  Notice Creditor(s): BARRETT DAFFIN FRAPPIER ET AL, 15000 SURVEYOR BLVD SUITE 100, ADDISON, TX
                      75001**
                      BSI FINANCIAL SERVICES, 1425 GREENWAY DR STE 400, IRVING, TX 75038
                      BUTLER & HOSCH PA, 13800 MONTFORT DR STE 300, DALLAS, TX 75240**
                       COUNTY OF DALLAS, CO LINEBARGER GOGGAN BLAIR ET AL, 2777 N STEMMONS FWY STE
                       1000, DALLAS, TX 75207**
                       HENRY ODDO AUSTIN AND FLETCHER ET AL, 1700 PACIFIC AVE STE 2700, DALLAS, TX
                       75201**



 **Indicates party has elected to receive all notifications via electronic service and was not served a copy via United States First Class Mail.



 Dated: 10/26/2017
                                                                            Respectfully submitted,
                                                                            THOMAS D. POWERS, CHAPTER 13 TRUSTEE


                                                                            By: /s/ Thomas D. Powers
                                                                            Thomas D. Powers
                                                                            State Bar No. 16218700
                                                                            125 E John Carpenter Freeway
                                                                            Suite 1100 11Th Floor
                                                                            Irving, TX 75062
                                                                            (214) 855-9200




                                                     Exhibit "Z" - Page 2 of 2
Case 20-03002-hdh Doc 1-2 Filed 01/03/20     Entered 01/03/20 18:12:25   Page 131 of 295




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Case 20-03002-hdh Doc 1-2 Filed 01/03/20     Entered 01/03/20 18:12:25   Page 132 of 295




                                Exhibit "AA" - Page 2 of 4
Case 20-03002-hdh Doc 1-2 Filed 01/03/20     Entered 01/03/20 18:12:25   Page 133 of 295




            11/17/2017




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                                              Certificate Number: 17572-TXN-DE-029736579
                                              Bankruptcy Case Number: 14-30153


                                                               17572-TXN-DE-029736579




               CERTIFICATE OF DEBTOR EDUCATION

  I CERTIFY that on August 15, 2017, at 4:01 o'clock PM PDT, Cheryl L Declouet
  completed a course on personal financial management given by internet by Dollar
  Learning Foundation, Inc., a provider approved pursuant to 11 U.S.C. § 111 to
  provide an instructional course concerning personal financial management in the
  Northern District of Texas.




  Date:   August 15, 2017                     By:       /s/Judy Alexander


                                              Name: Judy Alexander


                                              Title:    Counselor




                                       Exhibit "1"




                                  Exhibit "AA" - Page 4 of 4
   Case
    Case
 Fill in this 20-03002-hdh
              14-30153-hdh13
              information          Doc
                          to identify  Doc
                                      the 1-2106
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                                                                                                            10
B 10 (Supplement 2) (12/11)             (post publication draft)
 Debtor 1               Cheryl Lynn Declouet
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                 NORTHERN
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                        TEXAS
                                                                                                       (State)
 Case number
                        14-30153-HDH-13
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                   10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association, as Trustee of the Igloo Series III Trust                   Court claim no. (if known):
 Name of creditor:                ______________________________________
                                                                                                                                   _________________
                                                                                                                                   13-1

                                                                                                                   8 ____
                                                                                                                   ____ 0 ____
                                                                                                                          4 ____
                                                                                                                               6
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                1328 Clearwater Drive
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Grand Prairie                                TX
                                  ________________________________________________
                                                                                              75052
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                  $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                                         ____/_____/______
                                                                                                            MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                            (a)
                                                                                                                                                       29,860.98
                                                                                                                                                     $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                   +   (b)
                                                                                                                                                       0.00
                                                                                                                                                     $ __________

        c. Total. Add lines a and b.                                                                                                           (c)     29,860.98
                                                                                                                                                     $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                          03 01     2016
                                                                                                            ____/_____/______
        due on:                                                                                             MM / DD / YYYY


Form 4100R                                                              Response to Notice of Final Cure Payment                                          page 1
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Debtor 1
                 Cheryl Lynn Declouet
                _______________________________________________________
                                                                                                                    14-30153-hdh-13
                                                                                                Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.



                /s/ Brian Sindell
               8__________________________________________________                              Date
                                                                                                        11 27 2017
                                                                                                        ____/_____/________
                   Signature




 Print
                    Brian                                                Sindell
                   _________________________________________________________                    Title
                                                                                                        Assistant Vice President
                                                                                                        ___________________________________
                   First Name                      Middle Name           Last Name




 Company
                    BSI Financial Services
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:


                      1425 Greenway Drive, Suite 400
 Address           _________________________________________________________
                   Number                 Street


                    Irving
                   ___________________________________________________
                                                                         TX          75038
                   City                                                  State       ZIP Code



                     949 679 6696                                                                       mcampos@bsifinancial.com
 Contact phone     (______) _____– _________                                                    Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                         page 2
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PAGE : 1
ACCOUNT NUMBER                                                          QUOTE NUMBER                                1
QUOTE PURPOSE                                                     GOOD THROUGH DATE                        11/30/17
QUOTE TYPE    BANKRUPTCY                                               CREATED DATE                          11/27/17

PAYMENT          PRINCIPAL         ESCROW           CREDIT           ANCILLARY           PARTIAL       ADJUSTMENTS
ADJUSTED
DUE DATE         & INTEREST                INSURANCE                          PYMT SHRT                       TOTAL

03/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
04/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
05/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
06/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
07/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
08/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
09/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
10/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
11/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
12/01/16        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
01/01/17        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
02/01/17        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
03/01/17        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
04/01/17        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
05/01/17        856.10      470.74       0.00          0.00         0.00         0.00           1,326.84
06/01/17        856.10      803.63       0.00          0.00         0.00         0.00           1,659.73
07/01/17        856.10      803.63       0.00          0.00         0.00         0.00           1,659.73
08/01/17        856.10      803.63       0.00          0.00         0.00         0.00           1,659.73
09/01/17        856.10      803.63       0.00          0.00         0.00         0.00           1,659.73
10/01/17        856.10      803.63       0.00          0.00         0.00         0.00           1,659.73
11/01/17        856.10      803.63       0.00          0.00         0.00         0.00           1,659.73

   PRINCIPAL             ESCROW      CREDIT         ANCILLARY         PARTIAL           TOTAL         ADJUSTMENTS
ADJUSTED
   & INTEREST                 INSURANCE                  PYMT SHRT                                   TOTAL

    17,978.10 11,882.88           0.00    0.00        0.00        29,860.98             0.00      29,860.98
ADDITIONAL PAYMENTS:
GRAND TOTAL                                                   29,860.98           0.00         29,860.98




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                                                                                                              Payment Changes
                                                                             Date                    P&I                Escrow          Total
                                                                             POC                                                                      1317.91
                                                                             N/A




                   Loan Information
Loan #                                                                                               ‐ Need copy of prior servicers payment history to confirm application
Borrower               Declouet
Date Filed             1/6/2014, 14 30153
First Post Petition
Due Date               2/1/2014
POC Covers             8/1/13 ‐ 1/6/14

        Date                 Amount Rcvd                 Post Pet Due Date          Amt Due                Over/Short                      Suspense Debit       POC Arrears Credit     POC Debit   POC Suspense Balance POC Paid to Date
          3/31/2015                           $236.92                                                            $236.92                                                  $236.92                              $236.92            $236.92
          4/24/2015                           $344.87                                                            $581.79                                                  $344.87                              $344.87            $344.87
          5/22/2015                          $344.87                                                             $926.66                                                  $344.87                              $344.87            $581.79
          6/26/2015                          $347.68                                                           $1,274.34                                                  $347.68                              $347.68            $929.47
          7/24/2015                          $350.50                                                           $1,624.84                                                  $350.50                              $350.50          $1,279.97
          8/28/2015                          $529.48                                                           $2,154.32                                                  $529.48                              $529.48          $1,809.45
          9/25/2015                          $357.98                                                           $2,512.30                                                  $357.98                              $357.98          $2,167.43
         10/23/2015                           $350.11                                                          $2,862.41                                                  $350.11                              $350.11          $2,517.54
         11/20/2015                           $342.23                                                          $3,200.25                                                  $342.23                              $342.23          $2,859.77
         12/18/2015                           $342.24                                                          $4,518.25                                                  $342.24                              $342.24          $3,202.01
          1/22/2016                           $342.23                                                          $4,856.09                                                  $342.23                              $342.23          $3,544.24
          2/26/2016                           $513.35                                                          $6,174.09                                                  $513.35                              $513.35          $4,057.59
          3/25/2016                           $342.24                                                          $6,217.63                                                  $342.24                              $342.24          $4,399.83
          4/22/2016
           / /                                $342.23
                                              $                                                                $7,535.63
                                                                                                               $ ,                                                        $342.23
                                                                                                                                                                          $                                    $342.23
                                                                                                                                                                                                               $                $4,742.06
                                                                                                                                                                                                                                $  ,
          5/27/2016                           $342.24                                                          $8,853.63                                                  $342.24                              $342.24          $5,084.30
          6/24/2016                           $339.80                                                         $10,171.54                                                  $339.80                              $339.80          $5,424.10
          7/22/2016                           $337.37                                                         $11,489.45                                                  $337.37                              $337.37          $5,761.47
          8/26/2016                           $506.06                                                         $12,816.29                                                  $506.06                              $506.06          $6,267.53
          9/23/2016                           $337.37                                                         $14,143.13                                                  $337.37                              $337.37          $6,604.90
         10/14/2016                         $1,320.00        3/1/2015                    $1,317.91            $14,152.06                                $2.09                                                     $0.00         $6,604.90
         10/27/2016                           $337.84                                                         $14,528.83                                                     $337.37                           $337.37          $6,942.27
         11/28/2016                         $1,318.00        4/1/2015                    $1,317.91            $13,433.60                                $0.09                                                     $0.00         $6,942.27
         12/13/2016                           $337.84                                                         $14,983.60                                                     $337.84                           $337.84          $7,280.11
         12/28/2016                         $1,318.00        5/1/2015                    $1,317.91            $15,215.69                                $0.09                                                     $0.00         $7,280.11
          1/20/2017                             $43.54                                                        $15,215.69                                                      $43.54                             $43.54         $7,323.65
          1/31/2017                         $1,318.00       6/1/2015                     $1,317.91            $13,897.78                                $0.09                                                     $0.00         $7,323.65
           3/7/2017                         $1,318.00        7/1/2015                    $1,317.91            $12,579.87                                $0.09                                                     $0.00         $7,323.65
          3/30/2017                         $1,317.91        8/1/2015                    $1,317.91            $11,261.96                                                                                          $0.00         $7,323.65
          4/29/2017                         $1,317.91        9/1/2015                    $1,317.91             $9,944.05                                                                                          $0.00         $7,323.65
          5/30/2017                         $1,326.84       10/1/2015                    $1,317.91             $8,626.14                                                                                          $0.00         $7,323.65
          7/17/2017                         $1,326.84       11/1/2015                    $1,317.91             $7,308.23                                                                                          $0.00         $7,323.65
          8/16/2017                         $1,326.84       12/1/2015                    $1,317.91             $5,990.32                                                                                          $0.00         $7,323.65
          9/22/2017                           $376.77                                                          $5,990.32                             $376.77                                                      $0.00         $7,323.65
          9/22/2017                           $222.68                                                          $5,990.32                             $222.68                                                      $0.00         $7,323.65
          9/22/2017                         $1,550.00        1/1/2016                    $1,317.91             $4,672.41                             $223.16                                                      $0.00         $7,323.65
         10/17/2017                         $1,550.00        2/1/2016                    $1,317.91             $3,354.50                             $223.16                                                      $0.00         $7,323.65
                                                                                                               $3,354.50                                                                                          $0.00         $7,323.65
                                                                                                               $3,354.50                                                                                          $0.00         $7,323.65
                                                                                                               $3,354.50                                                                                          $0.00         $7,323.65



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                                CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing Response was served on the 28th day of
 November, 2017. Said Response was filed electronically. Service was accomplished by the
 method and to the following as indicated.


                                                  By: /s/ Richard Anderson
                                                     RICHARD E. ANDERSON




 BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL, POSTAGE PREPAID:

 DEBTOR
 Cheryl Lynn DeClouet
 1328 Clearwater Drive (Property)
 Grand Prairie, Texas 75052

 1328 Clearwater Drive (Mailing)
 Grand Prairie, Texas 75052

 DEBTOR’S ATTORNEY
 C. Daniel Herrin
 Herrin Law, PLLC
 4925 Greenville Avenue, Suite 130, ecf@herrinlaw.com
 Dallas, Texas 75206

 TRUSTEE
 Thomas Powers
 125 E. John Carpenter Frwy., Suite 1100
 Irving, Texas 75062

 U.S. TRUSTEE
 U.S. Trustee
 1000 Commerce Street, Room 976
 Dallas, Texas 75242




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 CREDITOR ATTORNEY



 Judd A. Austin, Jr.
 Henry, Oddo, Austin & Fletcher, PC
                                                           Grand Prairie Lakewood
 1700 Pacific Avenue
                                                           Homeowners Association, Inc
 Suite 2700
                                                           c/o SBB Management Company
 Dallas, TX 75201                          representing
                                                           8360 LBJ Freeway, Suite 300
 (214) 658-1900
                                                           Dallas, TX 75243
 (214) 658-1919 (fax)
                                                           (Creditor)
 jaamex@hoaf.com
   Assigned: 01/04/2017
 John R. Callison
 Barrett Daffin Frappier Turner &
 Engel
                                                           Federal National Mortgage
 15000 Surveyor Boulevard
                                                           Association -Fannie Mae, Creditor
 Addison, TX 75001                         representing
                                                           CO Seterus, Inc.
 (972) 386-5040
                                                           (Creditor)
 (972) 661-7725 (fax)
 ndecf@bdfgroup.com
  Assigned: 09/02/2016
 Alonzo Zachary Casas
 Aldridge Pite, LLP
 4375 Jutland Drive
 San Diego, CA 92117                                       WELLS FARGO BANK, N.A.
                                           representing
 (858) 750-7600                                            (Creditor)
 (619) 590-1385 (fax)
 ecftxnb@aldridgepite.com
  Assigned: 08/25/2017
 Craig Andrew Edelman
 Buckley Madole, P.C.
                                                           U.S. BANK NATIONAL
 PO Box 9013
                                                           ASSOCIATION
 Addison, TX 75001
                                           representing    14841 Dallas Parkway, Suite 300
 713-621-8673
                                                           Dallas, TX 75254
 972-661-7702 (fax)
                                                           (Creditor)
 Craig.Edelman@buckleymadole.com
  Assigned: 04/10/2015



 Andrew David Goldberg                                  Federal National Mortgage
 Rosicki Rosicki & Associates, P.C.                     Association -Fannie Mae, Creditor
                                           Representing
 51 East Bethpage Road                                  CO Seterus, Inc.
 Plainview, NY 11803                                    (Creditor)



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 516-741-2585
 (516) 873-7244 (fax)
 Bkmail@rosicki.com
  Assigned: 09/21/2015
 Gordon Green
 Aldridge Pite, LLP
 4375 Jutland Drive
 San Diego, CA 92117                                    WELLS FARGO BANK, N.A.
                                        representing
 (972) 499-8068                                         (Creditor)
 (858) 412-2683 (fax)
 ecftxnb@aldridgepite.com
  Assigned: 08/11/2017
 Beatrice Grevel
 Butler & Hosch, P.A.
                                                        U.S. Bank National Association
 13800 Montfort Drive, Suite 300
                                                        Butler & Hosch, PA
 Dallas, TX 75240
                                        representing    3185 S. Conway Rd., Suite E
 (972) 233-2500 x1354
                                                        Orlando, FL 32812
 (972) 716-2014 (fax)
                                                        (Creditor)
 beatriceg@butlerandhosch.com
  Assigned: 05/06/2014


 Jennine Hovell-Cox
 Codilis & Stawiarski, PC
 400 N. Sam Houston Parkway E., Sute                    Fay Servicing, LLC As Servicing
 900A                                                   agent for PROF-2013-M4 Legal Title
 Houston, TX 77060                      representing    Trust II, by U.S. Bank National
 (281) 925-5239                                         Association, as Legal Title Trustee
 (281) 925-5339 (fax)                                   (Creditor)
 jennine.hovell-cox@tx.cslegal.com
   Assigned: 08/14/2017




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 Sherrel K. Knighton
 Linebarger, Goggan, Blair & Sampson,                   Dallas County
 LLP                                                    Linebarger Goggan Blair &
 2777 N. Stemmons Frwy Ste 1000                         Sampson
 Dallas, TX 75207                          representing 2777 N. Stemmons Freeway
 (214)880-0089                                          ste. 1000
 469-221-5003 (fax)                                     Dallas, TX 75207
 Sherrel.Knighton@lgbs.com                              (Creditor)
  Assigned: 02/24/2014
 John Rafferty
 Buckley Madole, P.C.
                                                        U.S. BANK NATIONAL
 P.O. Box 9013
                                                        ASSOCIATION
 Addison, TX 75001
                                           representing 14841 Dallas Parkway, Suite 300
 (214) 550-3967
                                                        Dallas, TX 75254
 (214) 550-3967 (fax)
                                                        (Creditor)
 John.Rafferty@BuckleyMadole.com
  Assigned: 03/21/2017
  Assigned: 07/31/2017                                  U.S. BANK NATIONAL
                                                        ASSOCIATION
                                           representing 14841 Dallas Parkway, Suite 300
                                                        Dallas, TX 75254
                                                        (Creditor)
 LynAlise Tannery
 Buckley Madole, P.C.
                                                        U.S. BANK NATIONAL
 14841 Dallas Parkway, Suite 425
                                                        ASSOCIATION
 Dallas, TX 75254
                                           representing 14841 Dallas Parkway, Suite 300
 (214) 550-4124
                                                        Dallas, TX 75254
 (214) 550-4124 (fax)
                                                        (Creditor)
 lynalise.tannery@buckleymadole.com
  Assigned: 08/26/2016
  Assigned: 09/27/2016                                  U.S. Bank National Association
                                                        14841 Dallas Parkway, Suite 300
                                           representing
                                                        DALLAS, TX 75254
                                                        (Creditor)




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 Steve Turner
 Barrett Daffin Frappier Turner &
 Engel
 3809 Juniper Trace, Suite 205                 Federal National Mortgage Association -
 Austin, TX 78738                 representing Fannie Mae, Creditor CO Seterus, Inc.
 512-687-2500                                  (Creditor)
 512-477-1112 (fax)
 ndecf@BDFGROUP.com
  Assigned: 04/02/2014
 Donna Marie Wilkinson
 Barrett Daffin Frappier Turner &
 Engel
 15000 Surveyor Blvd.                          Federal National Mortgage Association -
 Addison, TX 75001                representing Fannie Mae, Creditor CO Seterus, Inc.
 (972) 341-3151                                (Creditor)
 (972) 341-0526 (fax)
 ndecf@bdfgroup.com
  Assigned: 08/26/2015




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 Richard E. Anderson
 Texas Bar No. 01209010
 4920 Westport Drive
 The Colony, Texas 75056
 Tel. (214) 276-1545
 Fax. (214) 276-1546
 RAnderson@AndersonVela.com
 ANDERSON VELA, LLP
 Attorney for Creditor


                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                             §
                                                    §   CASE NO. 14-30153-hdh 13
 Cheryl Lynn DeClouet                               §   CHAPTER 13
  Debtor,                                           §


                       NOTICE OF APPEARANCE AND REQUEST
                      FOR SERVICE OF NOTICES AND PLEADINGS

        PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

 U.S. Bank Trust National Association, as Trustee of the Igloo Series III Trust, secured creditor in

 the above-referenced proceedings. The undersigned hereby requests notice and copies of all

 motions notices, reports, briefs, applications, adversary proceedings, proposed orders, confirmed

 copies of orders, any proposed disclosure statement or plan of reorganization that has been filed

 with the court, any other documents or instruments filed in the above-referenced proceedings and

 any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy

 Rules 2002(a) and (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.




 ______________________________________________________________________________
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                                                   Respectfully submitted,

                                                   ANDERSON VELA, L.L.P.
                                                   4920 Westport Drive
                                                   The Colony, Texas 75056
                                                   214.276.1545 - Telephone
                                                   214.276.1546 - Fax
                                                   Email: randerson@AndersonVela.com
                                                   ATTORNEYS FOR MOVANT

                                                   By: /s/ Richard Anderson
                                                      RICHARD E. ANDERSON
                                                      State Bar No. 01209010




 ______________________________________________________________________________
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                                CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing Notice of Appearance was served on the 28th
 day of November, 2017. Said Notice was filed electronically. Service was accomplished by the
 method and to the following as indicated.


                                                  By: /s/ Richard Anderson
                                                     RICHARD E. ANDERSON




 BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL, POSTAGE PREPAID:

 DEBTOR
 Cheryl Lynn DeClouet
 1328 Clearwater Drive (Property)
 Grand Prairie, Texas 75052

 1328 Clearwater Drive (Mailing)
 Grand Prairie, Texas 75052

 DEBTOR’S ATTORNEY
 C. Daniel Herrin
 Herrin Law, PLLC
 4925 Greenville Avenue, Suite 130, ecf@herrinlaw.com
 Dallas, Texas 75206

 TRUSTEE
 Thomas Powers
 125 E. John Carpenter Frwy., Suite 1100
 Irving, Texas 75062

 U.S. TRUSTEE
 U.S. Trustee
 1000 Commerce Street, Room 976
 Dallas, Texas 75242




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 CREDITOR ATTORNEY



 Judd A. Austin, Jr.
 Henry, Oddo, Austin & Fletcher, PC
                                                           Grand Prairie Lakewood
 1700 Pacific Avenue
                                                           Homeowners Association, Inc
 Suite 2700
                                                           c/o SBB Management Company
 Dallas, TX 75201                         representing
                                                           8360 LBJ Freeway, Suite 300
 (214) 658-1900
                                                           Dallas, TX 75243
 (214) 658-1919 (fax)
                                                           (Creditor)
 jaamex@hoaf.com
   Assigned: 01/04/2017
 John R. Callison
 Barrett Daffin Frappier Turner &
 Engel
                                                           Federal National Mortgage
 15000 Surveyor Boulevard
                                                           Association -Fannie Mae, Creditor
 Addison, TX 75001                        representing
                                                           CO Seterus, Inc.
 (972) 386-5040
                                                           (Creditor)
 (972) 661-7725 (fax)
 ndecf@bdfgroup.com
  Assigned: 09/02/2016
 Alonzo Zachary Casas
 Aldridge Pite, LLP
 4375 Jutland Drive
 San Diego, CA 92117                                       WELLS FARGO BANK, N.A.
                                          representing
 (858) 750-7600                                            (Creditor)
 (619) 590-1385 (fax)
 ecftxnb@aldridgepite.com
  Assigned: 08/25/2017
 Craig Andrew Edelman
 Buckley Madole, P.C.
                                                           U.S. BANK NATIONAL
 PO Box 9013
                                                           ASSOCIATION
 Addison, TX 75001
                                          representing     14841 Dallas Parkway, Suite 300
 713-621-8673
                                                           Dallas, TX 75254
 972-661-7702 (fax)
                                                           (Creditor)
 Craig.Edelman@buckleymadole.com
  Assigned: 04/10/2015




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 Andrew David Goldberg                                 Federal National Mortgage
 Rosicki Rosicki & Associates, P.C.       Representing Association -Fannie Mae, Creditor
 51 East Bethpage Road                                 CO Seterus, Inc.
 Plainview, NY 11803                                   (Creditor)
 516-741-2585
 (516) 873-7244 (fax)
 Bkmail@rosicki.com
  Assigned: 09/21/2015
 Gordon Green
 Aldridge Pite, LLP
 4375 Jutland Drive
 San Diego, CA 92117                                       WELLS FARGO BANK, N.A.
                                          representing
 (972) 499-8068                                            (Creditor)
 (858) 412-2683 (fax)
 ecftxnb@aldridgepite.com
  Assigned: 08/11/2017
 Beatrice Grevel
 Butler & Hosch, P.A.
                                                           U.S. Bank National Association
 13800 Montfort Drive, Suite 300
                                                           Butler & Hosch, PA
 Dallas, TX 75240
                                          representing     3185 S. Conway Rd., Suite E
 (972) 233-2500 x1354
                                                           Orlando, FL 32812
 (972) 716-2014 (fax)
                                                           (Creditor)
 beatriceg@butlerandhosch.com
  Assigned: 05/06/2014


 Jennine Hovell-Cox
 Codilis & Stawiarski, PC
 400 N. Sam Houston Parkway E., Sute                       Fay Servicing, LLC As Servicing
 900A                                                      agent for PROF-2013-M4 Legal Title
 Houston, TX 77060                        representing     Trust II, by U.S. Bank National
 (281) 925-5239                                            Association, as Legal Title Trustee
 (281) 925-5339 (fax)                                      (Creditor)
 jennine.hovell-cox@tx.cslegal.com
   Assigned: 08/14/2017




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 Sherrel K. Knighton
 Linebarger, Goggan, Blair & Sampson,                   Dallas County
 LLP                                                    Linebarger Goggan Blair &
 2777 N. Stemmons Frwy Ste 1000                         Sampson
 Dallas, TX 75207                          representing 2777 N. Stemmons Freeway
 (214)880-0089                                          ste. 1000
 469-221-5003 (fax)                                     Dallas, TX 75207
 Sherrel.Knighton@lgbs.com                              (Creditor)
  Assigned: 02/24/2014
 John Rafferty
 Buckley Madole, P.C.
                                                        U.S. BANK NATIONAL
 P.O. Box 9013
                                                        ASSOCIATION
 Addison, TX 75001
                                           representing 14841 Dallas Parkway, Suite 300
 (214) 550-3967
                                                        Dallas, TX 75254
 (214) 550-3967 (fax)
                                                        (Creditor)
 John.Rafferty@BuckleyMadole.com
  Assigned: 03/21/2017
  Assigned: 07/31/2017                                  U.S. BANK NATIONAL
                                                        ASSOCIATION
                                           representing 14841 Dallas Parkway, Suite 300
                                                        Dallas, TX 75254
                                                        (Creditor)
 LynAlise Tannery
 Buckley Madole, P.C.
                                                        U.S. BANK NATIONAL
 14841 Dallas Parkway, Suite 425
                                                        ASSOCIATION
 Dallas, TX 75254
                                           representing 14841 Dallas Parkway, Suite 300
 (214) 550-4124
                                                        Dallas, TX 75254
 (214) 550-4124 (fax)
                                                        (Creditor)
 lynalise.tannery@buckleymadole.com
  Assigned: 08/26/2016
  Assigned: 09/27/2016                                  U.S. Bank National Association
                                                        14841 Dallas Parkway, Suite 300
                                           representing
                                                        DALLAS, TX 75254
                                                        (Creditor)




 ______________________________________________________________________________
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 Steve Turner
 Barrett Daffin Frappier Turner &
 Engel
 3809 Juniper Trace, Suite 205                 Federal National Mortgage Association -
 Austin, TX 78738                 representing Fannie Mae, Creditor CO Seterus, Inc.
 512-687-2500                                  (Creditor)
 512-477-1112 (fax)
 ndecf@BDFGROUP.com
  Assigned: 04/02/2014
 Donna Marie Wilkinson
 Barrett Daffin Frappier Turner &
 Engel
 15000 Surveyor Blvd.                          Federal National Mortgage Association -
 Addison, TX 75001                representing Fannie Mae, Creditor CO Seterus, Inc.
 (972) 341-3151                                (Creditor)
 (972) 341-0526 (fax)
 ndecf@bdfgroup.com
  Assigned: 08/26/2015




 ______________________________________________________________________________
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 Fill in this information to identify the case:

 Debtor 1              Cheryl Lynn DeClouet
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________              TX
                                                                District of __________
                                                                             (State)
 Case number            14-30153-hdh13
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                   US Bank Trust National Association as Trustee
                   of the Igloo Series III Trust.
 Name of creditor: _______________________________________                                                           13-1
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                            8 ____
                                                         ____  0 ____
                                                                  4 ____
                                                                      6                  Must be at least 21 days after date       01   01   2018
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1595.50
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.    Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             803.63
                   Current escrow payment: $ _______________                           New escrow payment:           739.40
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
       variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1

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Debtor 1         Cheryl Lynn DeClouet
                 _______________________________________________________                                               14-30153-hdh13
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

     
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 _____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    12 11 2017
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            The Law Offices of Michelle Ghidotti
                    _________________________________________________________



 Address            5120 E. La Palma Ave., Ste. 206
                    _________________________________________________________
                    Number                 Street

                    Anaheim Hills, CA 92807
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2601
                             354 _________                                                            mghidotti@ghidottilaw.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2

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                                                                           Annual Escrow Account
                                                                            Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                                ACCOUNT NUMBER:REDACTION
  1-800-327-7861
  https://myloanweb.com/BSI                                              004    1461138046_ESCROWDISC

                                                                                       DATE: 11/22/17

                                                   98
              CHERYL L DECLOUET                                                        PROPERTY ADDRESS
              1328 CLEARWATER DR                                                       1328 CLEARWATER DR
              GRAND PRAIRIE, TX 75052                                                  GRAND PRAIRIE, TX 75052



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 01/01/2018
THROUGH 12/31/2018.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 01/01/2018 TO 12/31/2018 ---------
HOMEOWNERS INS                                                 $2,298.62
COUNTY TAX                                                     $4,487.32
TOTAL PAYMENTS FROM ESCROW                                     $6,785.94
MONTHLY PAYMENT TO ESCROW                                         $565.49
          ------ ANTICIPATED ESCROW ACTIVITY 01/01/2018 TO 12/31/2018 ---------
                    ANTICIPATED PAYMENTS                                                             ESCROW BALANCE COMPARISON
MONTH         TO ESCROW              FROM ESCROW                  DESCRIPTION                 ANTICIPATED                  REQUIRED

                                                     STARTING BALANCE -->      $2,965.88                                  $5,052.81
JAN                $565.49                 $4,487.32 COUNTY TAX           L1->   $955.95-                            L2-> $1,130.98
FEB                $565.49                                                       $390.46-                                 $1,696.47
MAR                $565.49                                                       $175.03                                  $2,261.96
APR                $565.49                                                       $740.52                                  $2,827.45
MAY                $565.49                                                     $1,306.01                                  $3,392.94
JUN                $565.49                                                     $1,871.50                                  $3,958.43
JUL                $565.49                 $2,298.62 HOMEOWNERS INS              $138.37                                  $2,225.30
AUG                $565.49                                                       $703.86                                  $2,790.79
SEP                $565.49                                                     $1,269.35                                  $3,356.28
OCT                $565.49                                                     $1,834.84                                  $3,921.77
NOV                $565.49                                                     $2,400.33                                  $4,487.26
DEC                $565.49                                                     $2,965.82                                  $5,052.75
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS LESS THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SHORTAGE. YOUR ESCROW SHORTAGE IS $2,086.93.
                                               CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                            $856.10
ESCROW PAYMENT                                                                             $565.49
SHORTAGE PYMT                                                                              $173.91
NEW PAYMENT EFFECTIVE 01/01/2018                                                         $1,595.50
YOUR ESCROW CUSHION FOR THIS CYCLE IS $1,130.98.




                                          ********** Continued on reverse side ************

                                                                                           Escrow Payment Options
                                                                                  I understand that my taxes and/or insurance has increased and that
                                                                                  my escrow account is short $2,086.93. I have enclosed a check for:

                                                                                      Option 1: $2,086.93, the total shortage amount. I understand
Loan Number:              REDACTIO                                                    that if this is received by 01/01/2018 my monthly mortgage
Statement Date:           N 11/22/17                                                  payment will be $1,421.59 starting 01/01/2018.
Escrow Shortage:              $2,086.93
                                                                                       Option 2: $_____________ , part of the shortage. I understand
                                                                                       that the rest of the shortage will be divided evenly and added
        Important: Please return this coupon with your check.                          to my mortgage payment each month.
                                                                                       Option 3: You do not need to do anything if you want to
                                                                                       have all of your shortage divided evenly among the next
          BSI FINANCIAL SERVICES                                                       12 months.
          314 S. Franklin Street, 2nd Floor                                      Please make you check payable to: BSI FINANCIAL SERVICES and
          P.O. Box 517                                                           please include your loan number on your check.
          Titusville, PA 16354


Licensed as Servis One, Inc. dba BSI Financial Services. BSI Financial Services NMLS# 38078. Colorado Office Location: 13111 E. Briarwood Ave.,
Suite 340, Centennial, CO 80112 80112 (303) 309-3839. Licensed as a"DD"
                                                           Exhibit  Debt Collection
                                                                          - Page 3Agency
                                                                                    of 6 by the New York City Department of Consumer Affairs, (#
2001485-DCA). North Carolina Collection Agency Permit (# 105608).
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                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 01/01/2017 AND ENDING 12/31/2017. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 01/01/2017 IS:
   PRIN & INTEREST                                                                                                                        $856.10
   ESCROW PAYMENT                                                                                                                         $803.63
   BORROWER PAYMENT                                                                                                                     $1,659.73
                       PAYMENTS TO ESCROW                                       PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                     ACTUAL                     DESCRIPTION                  PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                                  $0.00                   $0.00
   AUG                 $0.00                  $10,662.11 *                                                                                                                          $0.00          A-> $10,662.11-
   SEP                 $0.00                     $470.74 *                                                                                                                          $0.00              $10,191.37-
   OCT                 $0.00
                  __________                     $470.74 *
                                              __________                     __________                   __________                                                                $0.00               $9,720.63-
                           $0.00                $9,720.63                             $0.00                        $0.00


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $0.00. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $10,662.11-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

  Determining your Shortage or Surplus
  Shortage:
   .
  Any shortage in your escrow account is usually caused by one the following items:
   . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
   . A projected increase in taxes for the upcoming year.
     The number of months elapsed from the time of these disbursements to the new payment effective date.
  Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
  shortage can be paid either partially or in full.
  Surplus:
   .
  A surplus in your escrow account is usually caused by one the following items:
   .  The insurance/taxes paid during the past year were lower than projected.
   .  A refund was received from the taxing authority or insurance carrier.
      Additional funds were applied to your escrow account.
  If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
  run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
  your escrow account.




If you have filed a bankruptcy petition and there is either an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we
may not and do not intend to pursue collection of that obligation from you personally. If these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally.
                                                                                           Exhibit "DD" - Page 4 of 6
Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired
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  Case
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 1   14Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Jennifer R. Bergh, Esq. (SBN 305219)
 2   LAW OFFICES OF MICHELLE GHIDOTTI
 3   5120 E. LaPalma Ave., Suite 206
     Anaheim, CA 92807
 4   Ph: (949) 354-2601
     Fax: (949) 200-4381
 5   mghidotti@ghidottilaw.com
 6
     Attorney for Creditor
 7   U.S. Bank Trust National Association, as
     Trustee of the Igloo Series III Trust
 8
 9
                               UNITED STATES BANKRUPTCY COURT
10
                         NORTHERN DISTRICT OF TEXAS –DALLAS DIVISION
11
12   In Re:                                               )   CASE NO.: 14-30153-hdh13
13                                                        )
     Cheryl Lynn DeClouet,                                )   CHAPTER 13
14                                                        )
              Debtors.                                    )   CERTIFICATE OF SERVICE
15                                                        )
16                                                        )
                                                          )
17                                                        )
                                                          )
18                                                        )
19                                                        )
                                                          )
20
21                                    CERTIFICATE OF SERVICE
22
23            I am employed in the County of Orange, State of California. I am over the age of

24   eighteen and not a party to the within action. My business address is: 5120 E. LaPalma Ave.,
25
     Ste. 206, Anaheim, CA 92807.
26
              I am readily familiar with the business’s practice for collection and processing of
27
     correspondence for mailing with the United States Postal Service; such correspondence would
28




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 1   be deposited with the United States Postal Service the same day of deposit in the ordinary
 2   course of business.
 3
     On December 11, 2017 I served the following documents described as:
 4
                   NOTICE OF MORTGAGE PAYMENT CHANGE
 5
 6   on the interested parties in this action by placing a true and correct copy thereof in a sealed

 7   envelope addressed as follows:
 8
     (Via United States Mail)
 9   Debtor                                               Chapter 13 Trustee
     Cheryl Lynn DeClouet                                 Thomas Powers
10   1328 Clearwater Drive                                125 E. John Carpenter Frwy., Suite 1100
11   Grand Prairie, TX 75052                              Irving, TX 75062-2288

12   Debtor’s Counsel                                     U.S. Trustee
     C. Daniel Herrin                                     United States Trustee
13   Herrin Law, PLLC                                     1100 Commerce Street
14   4925 Greenville Ave                                  Room 976
     Suite 130                                            Dallas, TX 75242
15   Dallas, TX 75206
16   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
17   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
18
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19   Eastern District of California
20
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
21   America that the foregoing is true and correct.
22
            Executed on December 11, 2017 at Anaheim, California
23
     /s/ Krystle Miller
24   Krystle Miller
25
26
27
28




                                                      2
                                      CERTIFICATE OF SERVICE
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B 10 (Supplement 2) (12/11)             (post publication draft)
 Debtor 1               Cheryl Lynn Declouet
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                 NORTHERN
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                        TEXAS
                                                                                                       (State)
 Case number
                        14-30153-HDH-13
                        ___________________________________________




Form 4100R Amends Response filed Doc. # 106
Amended Response to Notice of Final Cure                                                                                                                   10/15

Payment
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association, as Trustee of the Igloo Series III Trust                   Court claim no. (if known):
 Name of creditor:                ______________________________________
                                                                                                                                   _________________
                                                                                                                                   13-1

                                                                                                                   8 ____
                                                                                                                   ____ 0 ____
                                                                                                                          4 ____
                                                                                                                               6
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                1328 Clearwater Drive
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Grand Prairie                                TX
                                  ________________________________________________
                                                                                              75052
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                  $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:
                                                                                                            04    01 2018
                                                                                                            ____/_____/______
                                                                                                            MM / DD   / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                            (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                   +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                                           (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                         ____/_____/______
        due on:                                                                                             MM / DD / YYYY


Form 4100R                                                              Response to Notice of Final Cure Payment                                          page 1

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Debtor 1
                 Cheryl Lynn Declouet
                _______________________________________________________
                                                                                                                   14-30153-hdh-13
                                                                                               Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.



                /s/ Brian Sindell
               8__________________________________________________                             Date
                                                                                                       03 23 2018
                                                                                                       ____/_____/________
                   Signature




 Print
                    Brian                                                Sindell
                   _________________________________________________________                   Title
                                                                                                       Vice President
                                                                                                       ___________________________________
                   First Name                      Middle Name          Last Name




 Company
                    BSI Financial Services
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:


                      1425 Greenway Drive, Suite 400
 Address           _________________________________________________________
                   Number                 Street


                    Irving
                   ___________________________________________________
                                                                         TX         75038
                   City                                                 State       ZIP Code



                     888 738 5873                                                                      bankruptcy@bsifinancial.com
 Contact phone     (______) _____– _________                                                   Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                        page 2

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                                CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing amended response was served on the 28th
 day of March, 2018. Said Response was filed electronically. Service was accomplished by the
 method and to the following as indicated.


                                                  By: /s/ Richard Anderson
                                                     RICHARD E. ANDERSON




 BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL, POSTAGE PREPAID:

 DEBTOR
 Cheryl Lynn DeClouet
 1328 Clearwater Drive
 Grand Prairie, Texas 75052

 DEBTOR’S ATTORNEY
 C. Daniel Herrin
 Herrin Law, PLLC
 4925 Greenville Avenue, Suite 130, ecf@herrinlaw.com
 Dallas, Texas 75206

 TRUSTEE
 Thomas Powers
 125 E. John Carpenter Frwy., Suite 1100
 Irving, Texas 75062

 U.S. TRUSTEE
 U.S. Trustee
 1000 Commerce Street, Room 976
 Dallas, Texas 75242




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 CREDITOR ATTORNEY



 Judd A. Austin, Jr.
 Henry, Oddo, Austin & Fletcher, PC
                                                           Grand Prairie Lakewood
 1700 Pacific Avenue
                                                           Homeowners Association, Inc
 Suite 2700
                                                           c/o SBB Management Company
 Dallas, TX 75201                         representing
                                                           8360 LBJ Freeway, Suite 300
 (214) 658-1900
                                                           Dallas, TX 75243
 (214) 658-1919 (fax)
                                                           (Creditor)
 jaamex@hoaf.com
   Assigned: 01/04/2017
 John R. Callison
 Barrett Daffin Frappier Turner &
 Engel
                                                           Federal National Mortgage
 15000 Surveyor Boulevard
                                                           Association -Fannie Mae, Creditor
 Addison, TX 75001                        representing
                                                           CO Seterus, Inc.
 (972) 386-5040
                                                           (Creditor)
 (972) 661-7725 (fax)
 ndecf@bdfgroup.com
  Assigned: 09/02/2016
 Alonzo Zachary Casas
 Aldridge Pite, LLP
 4375 Jutland Drive
 San Diego, CA 92117                                       WELLS FARGO BANK, N.A.
                                          representing
 (858) 750-7600                                            (Creditor)
 (619) 590-1385 (fax)
 ecftxnb@aldridgepite.com
  Assigned: 08/25/2017
 Craig Andrew Edelman
 Buckley Madole, P.C.
                                                           U.S. BANK NATIONAL
 PO Box 9013
                                                           ASSOCIATION
 Addison, TX 75001
                                          representing     14841 Dallas Parkway, Suite 300
 713-621-8673
                                                           Dallas, TX 75254
 972-661-7702 (fax)
                                                           (Creditor)
 Craig.Edelman@buckleymadole.com
  Assigned: 04/10/2015



 Andrew David Goldberg                                 Federal National Mortgage
 Rosicki Rosicki & Associates, P.C.                    Association -Fannie Mae, Creditor
                                          Representing
 51 East Bethpage Road                                 CO Seterus, Inc.
 Plainview, NY 11803                                   (Creditor)




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 516-741-2585
 (516) 873-7244 (fax)
 Bkmail@rosicki.com
  Assigned: 09/21/2015
 Gordon Green
 Aldridge Pite, LLP
 4375 Jutland Drive
 San Diego, CA 92117                                    WELLS FARGO BANK, N.A.
                                       representing
 (972) 499-8068                                         (Creditor)
 (858) 412-2683 (fax)
 ecftxnb@aldridgepite.com
  Assigned: 08/11/2017
 Beatrice Grevel
 Butler & Hosch, P.A.
                                                        U.S. Bank National Association
 13800 Montfort Drive, Suite 300
                                                        Butler & Hosch, PA
 Dallas, TX 75240
                                       representing     3185 S. Conway Rd., Suite E
 (972) 233-2500 x1354
                                                        Orlando, FL 32812
 (972) 716-2014 (fax)
                                                        (Creditor)
 beatriceg@butlerandhosch.com
  Assigned: 05/06/2014


 Jennine Hovell-Cox
 Codilis & Stawiarski, PC
 400 N. Sam Houston Parkway E., Sute                    Fay Servicing, LLC As Servicing
 900A                                                   agent for PROF-2013-M4 Legal Title
 Houston, TX 77060                     representing     Trust II, by U.S. Bank National
 (281) 925-5239                                         Association, as Legal Title Trustee
 (281) 925-5339 (fax)                                   (Creditor)
 jennine.hovell-cox@tx.cslegal.com
   Assigned: 08/14/2017




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 Sherrel K. Knighton
 Linebarger, Goggan, Blair & Sampson,                    Dallas County
 LLP                                                     Linebarger Goggan Blair &
 2777 N. Stemmons Frwy Ste 1000                          Sampson
 Dallas, TX 75207                           representing 2777 N. Stemmons Freeway
 (214)880-0089                                           ste. 1000
 469-221-5003 (fax)                                      Dallas, TX 75207
 Sherrel.Knighton@lgbs.com                               (Creditor)
  Assigned: 02/24/2014
 John Rafferty
 Buckley Madole, P.C.
                                                         U.S. BANK NATIONAL
 P.O. Box 9013
                                                         ASSOCIATION
 Addison, TX 75001
                                            representing 14841 Dallas Parkway, Suite 300
 (214) 550-3967
                                                         Dallas, TX 75254
 (214) 550-3967 (fax)
                                                         (Creditor)
 John.Rafferty@BuckleyMadole.com
  Assigned: 03/21/2017
  Assigned: 07/31/2017                                   U.S. BANK NATIONAL
                                                         ASSOCIATION
                                            representing 14841 Dallas Parkway, Suite 300
                                                         Dallas, TX 75254
                                                         (Creditor)
 LynAlise Tannery
 Buckley Madole, P.C.
                                                         U.S. BANK NATIONAL
 14841 Dallas Parkway, Suite 425
                                                         ASSOCIATION
 Dallas, TX 75254
                                            representing 14841 Dallas Parkway, Suite 300
 (214) 550-4124
                                                         Dallas, TX 75254
 (214) 550-4124 (fax)
                                                         (Creditor)
 lynalise.tannery@buckleymadole.com
  Assigned: 08/26/2016
  Assigned: 09/27/2016                                   U.S. Bank National Association
                                                         14841 Dallas Parkway, Suite 300
                                            representing
                                                         DALLAS, TX 75254
                                                         (Creditor)




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 Steve Turner
 Barrett Daffin Frappier Turner &
 Engel
 3809 Juniper Trace, Suite 205                 Federal National Mortgage Association -
 Austin, TX 78738                 representing Fannie Mae, Creditor CO Seterus, Inc.
 512-687-2500                                  (Creditor)
 512-477-1112 (fax)
 ndecf@BDFGROUP.com
  Assigned: 04/02/2014
 Donna Marie Wilkinson
 Barrett Daffin Frappier Turner &
 Engel
 15000 Surveyor Blvd.                          Federal National Mortgage Association -
 Addison, TX 75001                representing Fannie Mae, Creditor CO Seterus, Inc.
 (972) 341-3151                                (Creditor)
 (972) 341-0526 (fax)
 ndecf@bdfgroup.com
  Assigned: 08/26/2015




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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed April 6, 2018
                                              United States Bankruptcy Judge
    ______________________________________________________________________




                                        IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE NORTHERN DISTRICT OF TEXAS
                                                     DALLAS DIVISION

 In Re: CHERYL LYNN DECLOUET                                                                              Case # 14-30153-HDH-13
 AKA:
 DBA:
 SSN:     Debtor 1 SSN: XXX-XX-1883*                                                                                       04/05/2018


                                DISCHARGE OF DEBTOR(S) AFTER COMPLETION
                                          OF CHAPTER 13 PLAN
It appearing that the Debtor(s) is/are entitled to a discharge,

IT IS ORDERED:

The Debtor(s) is/are granted a discharge under Section 1328 (a).

                                                       ### End of Order ###

                            SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
 *Setforth all names, including trade names, used by the debtor within the last 8 years. For joint debtors, set forth the last four
digits of both Social Security numbers or individual taxpayer-identification numbers.




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Thomas D. Powers
105 Decker Ct
Suite 1150 11th Floor
Irving, TX 75062
(214) 855-9200 / (214) 965-0758 (Fax)




                               EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 13 CASE

This court order grants a discharge to the person named as the debtor after the debtor has completed all payments under the
chapter 13 plan. It is not a dismissal of the case.

Collection of Discharged Debts Prohibited
The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a creditor is not
permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages or other property, or
to take any other action to collect a discharged debt from the debtor. (In a case involving community property: There are also
special rules that protect certain community property owned by the debtor's spouse, even if that spouse did not file a bankruptcy
case.) A creditor who violates this order can be required to pay damages and attorney's fees to the debtor.

However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the debtor's
property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a debtor may voluntarily
pay any debt that has been discharged.

Debts That Are Discharged
The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not all, types of
debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court pursuant to section 502 of
the Bankruptcy Code.

Debts That Are Not Discharged
Some of the common types of debts which are NOT discharged in a chapter 13 case are:

    a.    Domestic support obligations;

    b.    Debts for most student loans;

    c.    Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    d.    Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft while
          intoxicated;

    e.    Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or willful
          injury by the debtor that caused personal injury to an individual or death of an individual (in a case filed on
          or after October 17, 2005);

    f.    Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due after the
          date on which the final payment under the plan was due;

    g.    Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the trustee of
          the debtor's incurring the debt was practicable but was not obtained;

    h.    Debts for certain taxes to the extent not paid in full under the plan (in a case filed on or after October 17, 2005);

    i.    Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).

This information is only a general summary of the bankruptcy discharge. There are exceptions to these general rules.
Because the law is complicated, you may want to consult an attorney to determine the exact effect of the discharge
in this case.




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 October 17, 2018


 BSI Financial Services                                VIA CERTIFIED MAIL RRR
 ATTN: Qualified Written Request                       No. 7014 2870 0000 8992 4720 and
 1425 Greenway Drive, Suite 400                        VIA FIRST CLASS MAIL
 Irving, Texas 75038

        RE:     Debtor:                 Cheryl Lynn DeClouet
                Case No.:               14-30153-HDH
                Account No.:            1461138046
                Property Address:       1328 Clearwater Drive
                                        Grand Prairie, TX 75052


                              R.E.S.P.A.: NOTICE OF ERROR and
                        R.E.S.P.A.: QUALIFIED WRITTEN REQUEST


 Dear Sir or Madam:

 Please be advised that I represent the above-referenced borrower with respect to the mortgage loan you
 are servicing on the above-referenced property. My client has authorized me to send this request on
 his behalf. Specifically, my client is concerned with the following:

       Ms. DeClouet filed a petition for bankruptcy relief under Chapter 13 on January 6, 2014.
       The Chapter 13 Trustee filed his Notice of Plan Completion and Notice of Final Cure on June
        26, 2017.
       Ms. DeClouet filed her Certification and Motion for Entry of Discharge on November 17, 2017.
       A Notice of Mortgage Payment Change was filed by BSI Financial Services on December 11,
        2017 which stated that the mortgage payments would be $1,595.50 effective January 1, 2018.
       BSI Financial Services filed its Amended Response to Notice of Final Cure on March 28, 2018
        stating that Ms. DeClouet was current with all post-petition mortgage payments and the next
        post-petition payment due was April 1, 2018.
       Since that time, Ms. DeClouet has made payments totaling over $9,500 which is more than
        sufficient to cover the monthly mortgage payments due between April 1, 2018 through
        September 1, 2018. However, each monthly statement that is sent to Ms. DeClouet reflects a
        past due balance as well as over $2,000 in fees and costs assessed on the loan.




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       Furthermore, it appears from the statements that the payments applied have not been applied
        correctly for several months.

 BSI Financial needs to explain how it is possible for Ms. DeClouet to be delinquent on the mortgage
 payments and how there remain fees/costs on the mortgage loan after the Debtor received a Discharge
 from her Chapter 13 Case.


                                 R.E.S.P.A.: NOTICE OF ERROR


 As servicer of my client’s mortgage loan, please treat this letter as a “Notice of Error” under the Real
 Estate Settlement Procedures Act (RESPA), 12 C.F.R. §1024.35; and, as pursuant to the Real Estate
 Settlement Procedures Act, subject to the response period set out in Regulation X, Subpart C, 12 C.F.R.
 §1024.30 to 12 C.F.R. §1024.41.

 Pursuant to the Dodd-Frank Wall Street Reform and Consumer Protection and pursuant to 12 C.F.R.
 §1024.35(a) please respond to this written notice asserting the following errors:

    1. Failure to properly audit borrower’s account ensuring that all pre-petition payments are
       reconciled in accordance with the Chapter 13 Plan.

    2. Failure to credit a payment to a borrower’s mortgage loan account as of the date of receipt.

    3. Imposition of a fee or charge that the servicer lacks a reasonable basis to impose upon the
       borrower.

    4. Failure to provide an accurate reinstatement amount upon a borrower’s request.

    5. Failure to provide accurate information to a borrower regarding loss mitigation options and
       foreclosure.

    6. Failure to transfer accurate and timely information relating to the servicing of a borrower's
       mortgage loan account to a transferee servicer.

    7. Any other error relating to the servicing of a mortgage loan.

 Please provide your written responses, as required by law, to the address listed on the bottom of
 this letterhead within the statutory period allowed under 12 C.F.R. §1024.35(d) and 12 C.F.R.
 §1024.35(e).




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 You should be advised that within FIVE (5) DAYS, excluding legal public holidays and
 weekends, you must send us a letter stating that you received this letter. 12 C.F.R. §1024.35(d).
 After you have confirmed receipt, you should be aware of the time in which to respond to the
 notice: THIRTY (30) DAYS to fully respond as per the time frame mandated by Congress
 pursuant to 12 C.F.R. § 1024.35(e)(3)(c), generally; THIRTY (30) DAYS OR PRIOR TO THE
 FORECLOSURE DATE, WHICHEVER IS EARLIER if the asserted error falls under 12 C.F.R.
 §1024.35(b)(9)-(10); and within SEVEN (7) DAYS if the asserted error falls under 12 C.F.R.
 §1024.35(b)(6).

 You should also be advised that the borrower herein will seek the recovery of damages, costs,
 and reasonable legal fees for each failure to comply with the questions and requests herein. The
 borrower also reserves the right to seek statutory damages for each violation of any part of
 Section 2605 of Title 12 of the United States Code in the amount of $2,000.00 for each violation.


                        R.E.S.P.A.: QUALIFIED WRITTEN REQUEST


 As servicer of my client’s mortgage loan, please treat this letter as a “qualified written request”
 under the Federal Servicer Act, which is a part of the Real Estate Settlement Procedures Act
 (RESPA), 12 U.S.C. 2605(e); and, as a “request for information” pursuant to the Real Estate
 Settlement Procedures Act, subject to the response period set out in Regulation X, 12 C.F.R. §
 1024.36(d)(2)(i)(B).

 Pursuant to “Subtitle E Mortgage Servicing” of the Dodd-Frank Wall Street Reform and Consumer
 Protection Act and pursuant to 12 U.S.C. Section 2605(e)(1)(A) and Reg. X Section 3500.21(e)(1),
 please provide:

 1. A complete life of loan history from the date of the alleged note origination to the date of your
    response to this request, prepared by the Servicer from its own records using its own system
    and default servicing personnel. This transaction history should include the dates, amounts,
    and breakdown of the specific application of all transactions on the loan including applications
    to and from internal accounts (i.e. principal, interest, escrow, suspense, corporate advances,
    etc.).

 2. A copy of your Key Loan Transaction history, bankruptcy work form, XLS spreadsheet, or
    any other manually-prepared spreadsheet or record of all accounts associated with this loan
    (this would include both recoverable, non-recoverable, restricted and non-restricted accounts).

 3. Please identify the mortgage servicing software you use in connection with this loan (i.e. MSP,
    LSAMS, Fiserv, etc.).




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 4. A full and complete plain-English definitional dictionary of all transaction codes and other
    similar terms used in the records requested above or any of the other documents or records
    requested or referred to herein.

 5. A full and complete itemized statement of any and all advances or charges against the loan
    (this would include both recoverable, non-recoverable, restricted and non-restricted accounts)
    from the date of the alleged note origination to the date of your response to this request.

 6. Copies of any and all invoices and proof of payments by the servicer to any third party vendor
    or entity relating the advances or charges against the loan, from the date of the alleged note
    origination to the date of your response to this request.

 7. A full and complete itemized statement of any and all fees and costs charged against the loan
    or related to the loan in any way, from the date of the alleged note origination to the date of
    your response to this request. This should include payment dates, purpose of payments, and
    recipient of any and all foreclosure fees and costs that have been charged to the loan.

 8. Copies of any and all invoices and proof of payments by the servicer to any third party vendor
    or entity in relation to any fee or costs charged against the loan, from the date of the alleged
    note origination to the date of your response to this request.

 9. A full and complete itemized statement of any late charges added to the loan from the date of
    the alleged note origination to the date of your response to this request.

 10. A complete and itemized statement from the date of the alleged note origination to the date of
     your response to this request of any property inspection fees, property preservation fees, broker
     opinion fees, appraisal fees, bankruptcy monitoring fees, or other similar fees or expenses
     related in any way to this loan.

 11. Copies of any and all property inspection reports and appraisals, broker price opinions, and
     associated bills, invoices, and checks or wire transfers in payment thereof.

 12. A full and complete copy of any transaction reports indicating any charges for any "add on
     products" sold to the debtors in connection with this loan from the date of the alleged note
     origination to the date of your response to this request.

 13. A full and complete and itemized statement of any fees incurred to modify, extend, or amend
     the loan or to defer any payment or payments due under the terms of the loan, from the date of
     the alleged note origination to the date of your response to this request.




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 14. A statement/provision under the security instrument and/or note that authorizes charging any
     such fee against the loan.

 15. Copies of any and all notes, statements, correspondence or other written documentation
     regarding the force placed implementation of an escrow account on the loan. Said information
     should also provide an explanation regarding Servicer’s reason and justification for said
     implementation of an escrow account.

 16. A full and complete itemized statement of the escrow for this loan from the date of the alleged
     note origination to the date of your response to this request.

 17. Copies of any and all escrow statements, reviews, trial analyzes, or disclosures and any and all
     notices of shortage, deficiency, or surplus for this loan from the date of the alleged note
     origination to the date of your response to this request.

 18. Copies of any and all notes, statements, correspondence, or other written documentation
     regarding the calculation of the current escrow payment. This should include a written
     explanation regarding the calculations used to derive the escrow payment amount for any
     increases upon the escrow being analyzed on an annual basis.

 19. Please provide the current escrow analysis schedule for the loan, including the scheduled date
     that the annual analysis will be performed, together with the scheduled effective date of any
     payment changes.

 20. Copies of any and all invoices and copies of any and all checks or other proof of payments by
     the servicer for any and all escrow related items (i.e. county taxes, city taxes, insurance, etc.)
     in which the servicer has advanced funds on behalf of the borrower, from the alleged date of
     loan origination to the date of your response to this request.

 21. Have you purchased and charged to the account any Force-Placed Insurance?

 22. A complete and itemized statement from the date of the alleged loan origination to the date of
     your response to this letter of the amounts charged for any forced-placed insurance, the date of
     the charge, the name of the insurance company, the relation of the insurance company to you
     or a related company, the amount of commission you received for each force-placed insurance
     event, and an itemized statement of any other expenses related thereto.

 23. A full and complete itemized statement of the full amount needed to reinstate the loan as of
     the date of your response to this request. This should also include an itemized statement of the
     full amount necessary to satisfy in full the terms of the note obligation.




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 24. Copies of any and all collection notes, collection records, communication files or any other
     form of recorded data with respect to any default, acceleration of the note, or foreclosure
     regarding this property, from the date of the alleged note origination to the date of your
     response to this request.

 25. Copies of any and all loan servicing notes, including contacts with any previous server if this
     loan has been transferred to your company for servicing.

 26. Copies of any and all internal records and correspondence with the borrower regarding
     potential loss mitigation options, including the borrower’s application for a loan modification
     and any subsequent documents produced as a result of that application.

 27. Copies of all written or recorded communications between you and any non-lawyer third
     parties regarding this mortgage (including but not limited to LPS Desktop communiques,
     NewTrak communications, Newlnvoice transmittals, Newlmage transmittals, electronic
     communications by email or otherwise, collection notes, and any other form of written or
     electronic document related to the servicing of or ownership of this loan).

 28. Verification of any notification provided to me of a change in servicer.

 You should be advised that within FIVE (5) DAYS you must send us a letter stating that you
 received this letter. After that time you have THIRTY (30) DAYS to fully respond as per the
 time frame mandated by Congress, in “Subtitle ‘E’ Mortgage Servicing” of the ‘‘Dodd-
 Frank Wall Street Reform and Consumer Protection Act and pursuant to 12 U.S.C. Section
 2605(e)(1)(A) and Reg. X Section 3500.21(e)(1).

 You should also be advised that the borrower herein will seek the recovery of damages, costs,
 and reasonable legal fees for each failure to comply with the questions and requests herein.
 The borrower also reserves the right to seek statutory damages for each violation of any part
 of Section 2605 of Title 12 of the United States Code in the amount of $2,000.00 for each
 violation.




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                             TRUTH – IN-LENDING ACT § 131(f)(2)



 Pursuant to 15 U.S.C. § 1641 (f):

 Please provide the name, address and telephone number of the current owner(s) of the mortgage and
 the master servicer of the mortgage.

 You should be advised that Violations of this Section provide for statutory damages of up to
 $4,000 and reasonable legal fees. The amendments also clearly provide that the new notice rules
 are enforceable by private right of action. 15 USC 1641

 Kind regards,




 C. Daniel Herrin




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